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                  EXHIBIT AL@
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     1                  I                  I       D        A        DI         IC    C
                                                       DI       IC                   IDA
     2
                                CA          . 13-22500-CI -Altona a McAliley
     3

     4             A    A            D, M.D.,

     5                          lainti         ,

     6                 s.

     7         I            I             MIAMI,

     8                  De endant.

     9

    10

    11                                              ia oo
                                                   riday, A ril 1, 2022
    12                                             9:01 a. . - 5:13 . .

    13
                                     ID        A       D D           I I
    14
                                 A CA              D C MID -C               M
    15

    16

    17                      a en        e ore Mary Ann Collier, a Co rt                          e orter

    18      and        otary              lic       or t e           tate o          lorida at   ar e,

    19         rs ant to              otice o                a in          ideota ed De osition

    20        iled in t e a o e ca se.

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     1      A    A A C      :           ia   oo

     2                         MA , .Q.
                  ACQ    I  D      A IA ,  Q.
     3            t     a er oslid lo an oss & olaya
                  wo o t Biscayne Bo le ard,  ite 1600
     4           Mia i,    33131
                 305-614-1400
     5            slo an s slaw.co
                  n e al o t e lainti
     6
                   IC D. I IC    , Q.
     7           C I          M. A    I,  Q.
                 Isico    a at
     8           601 Bric ell ey Dri e,  ite 750
                 Mia i,    33131
     9           305-373-3232
                 isico   irlaw.co
    10            n e al o t e De endant and de onent

    11      A                   :

    12                A A              D, M.D.
                      MA              D , ideo ra er
    13           AI                 A D , eneral Co nsel,    o   M

    14

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     1                                I   D

     2        I                               AMI A I   B           A

     3        A CA          D C MID       M .      MA               5

     4                                    I B I

     5                AI    I                                           I.D.

     6            i   it   1                                            18
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     7            i   it   3                                            59
                  i   it   4                                            59
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                  i   it   6                                            66
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     1                              ID          A          :    ood        ornin .                 e re       oin

     2           on t e record at a                    ro i ately 9:01 a. . on

     3               riday, A ril 1st, 2022.                          e a dio and                   ideo

     4           recordin           will contin e to ta e                     lace             nless all

     5               arties a ree to                 o o       t e record.

     6                        is is t e             ideo recorded de osition o

     7               ascal     oldsc        idt, M.D.                 is de osition                   as

     8               een noticed           y t e law            ir     o      t            a        er,

     9               oslid,     lo an,              oss and      olaya, co nsel                      or t e

    10               lainti     , in t e              atter o          onat an             ord, M.D.,

    11               ers s     ni ersity o                 Mia i, case n               er

    12           13-22500-Ci .              It s           iled in t e            nited             tates

    13           District Co rt,                    o t ern District o                     lorida.

    14                        is de osition is                  ein        ta en      y a re ote

    15               ideo con erence.                 My na e is             o as          lender.              I

    16           a     t e certi ied le al                     ideo s ecialist.                           e

    17           co rt re orter is Mary Ann Collier                                   ro           Mary Ann

    18           Collier and Associates, Inc.

    19                   Co nsel will now state t eir a                               earances and

    20           a     iliations           or t e record,                  e innin             wit        t e

    21           noticin        attorney, and t en t e co rt re orter

    22           will swear t e witness in.

    23                   M .             MA :        ood       ornin .            e   rey            lo an

    24           and     ac     eline Der                  anesian on         e al             o     t e

    25               lainti     ,        onat an           ord, M.D.


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     1                     M . I IC            :      ood     ornin .            ric Isico            and

     2             C ris        ann      i, on        e al     o     t e witness and t e

     3             de endant,           ni ersity o           Mia i.           Also     resent is

     4             Aileen            alde, w o is t e              eneral co nsel o              t e

     5                 ni ersity o           Mia i.

     6           ere     on,

     7                                A CA           D C MID -C            M

     8      was called as a witness and,                       a in            een d ly sworn,

     9      testi ied as              ollows:

    10                                  DI     C       AMI A I

    11      B     M .          MA :

    12             Q.          ood     ornin , Dr.           oldsc        idt.         o ld yo

    13          lease state yo r               ll na e        or t e record.

    14             A.          es.     My na e is           ascal     oldsc           idt-Cler ont.

    15             Q.      And        e ore we        et started, Dr.                 oldsc     idt,

    16      we re        oin        to s ow yo        so et in        called a

    17      con identiality order and re er yo                             to     ara ra          i e.

    18      And I ll            st read it           or yo .        It s not only              or yo r

    19          ene it,         t     or t e        ene it o        t e        ideo ra        er and

    20      co rt re orter.

    21                     It says           Doc     ents desi nated as con idential

    22      s all        e s own only to t e attorneys, t e                             arties,

    23          arties     e        erts, act al        ro osed witnesses, co rt

    24      re orters,              ideo ra        ers and ot er           ersons w o           t e

    25      attorneys reasona ly dee                    necessary to re iew t e


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     1      doc     ents        or t e          rosec tion or de ense o                      t is

     2      laws it.            ac        erson w o is              er itted to see

     3      con idential in or ation s all                               irst        e s own a co y

     4      o     t is order and s all                    rt er              e ad ised o        t e

     5      o li ations              nder t e con identiality desi nation.

     6                     I don t          now w et er yo                    ll     e s own

     7      con idential in or ation,                       t I wanted to                   a e yo

     8      aware o        t at re          ire ent.                ay         Do yo        nderstand

     9      t at, sir

    10             A.      I do.

    11             Q.      Dr.        oldsc       idt,     a e yo              e er     ad yo r

    12      de osition ta en                e ore

    13             A.       es, I did.

    14             Q.           en yo       were a        iliated wit                 t e    ni ersity

    15      o     Mia i

    16             A.      Correct.

    17             Q.      All ri          t.      o t en yo                  nderstand        ow t ese

    18      de ositions              o.     o     need to           ro ide a di le answers.

    19          ead s a es don t                et transcri ed                 y t e co rt

    20      re orter.           And       eca se it s           y        oo , it s e en             ore

    21      i     ortant t at yo r answers                      e a di le as o                 osed to

    22      noddin        or s a in             yo r     ead.            o         nderstand

    23             A.      I do.

    24             Q.       o        re    sin     a la to               or t is de osition

    25      today


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     1                A.         es, I do.

     2                Q.             ose la to           are yo      sin

     3                A.     My own.

     4                Q.     Are t ere any doc                    ents or        ro ra s or

     5      a        lications o en on t e la to , ot er t an in t e

     6          oo     a    lication

     7                A.         ea .        B t I can -- it was                  st to    et on t e

     8      call.          I will ta e it o                 .

     9                Q.     I don t want yo                    to clic     o      t e    oo

    10      a        lication.

    11                A.         o, no.           I    et it.        ere s not in          else.

    12                Q.     I            st wanted to           a e s re t ere s no c at

    13      windows, te tin                   a       lications, e ail or ot er

    14      co         nication             ro ra s o en on t e co                  ter c rrently.

    15      Is t at correct

    16                A.             at s correct.

    17                Q.     I        now t at t ere was so e ody in t e

    18          ac     ro nd.               o s t e        erson t at s in t e

    19          ac     ro nd

    20                A.         ea .             at s     y wi e.          e s on t e         eloton.

    21          orry.            e s done.

    22                Q.         o         loc ed        er s      iciently.        It will        st

    23          e     etter.          A     o ent o        le ity.

    24                       And ri           t now, Dr.           oldsc        idt, yo    cannot

    25      see any c al                   oards or easels, enlar e ents o                      rinted


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      1      words or any si nals o                         any        ind.        Correct

      2             A.          o.

      3             Q.          ir, w ere do yo                   c rrently reside

      4             A.         16800           o t west 88 Co rt.

      5             Q.         Is t at Mia i-Dade Co nty,                                  lorida

      6             A.          es, it is.              It s in             al etto Bay.

      7             Q.              an     yo , sir.

      8             A.         33157.

      9             Q.         And I           now t at yo             re a cardiolo ist and a

     10           ysician.           Are yo           c rrently e             loyed             y any

     11      or ani ation

     12             A.         I a .

     13             Q.         And w o are yo                e     loyed           y

     14             A.          ennar Cor oration.                      I         t e c ie                 edical

     15      o     icer.        I        a e        een e    loyed           y t e              or         st a o t

     16      two years.              I     el ed t e             na i ate t ro                        t e

     17      C     ID-19        ande ic.

     18                         o        i e yo        a little             it o           a    ac        ro nd,

     19          ennar Cor oration is t e lar est                                  o e              ilder in t e

     20          nited        tates.            n t e 29t          o         e r ary,                ennar        ad

     21      one o        t e        irst si            eo le w o died o                        C     ID-19 in

     22      t e     . ., and t ey as ed                         e to        el        t e          wit     t e

     23      na i ation o                 t eir co          any t ro                   t e          ande ic,

     24      w ic        we     a e done              ery s ccess             lly.

     25             Q.         Aside           ro      ennar, are yo                   e       loyed


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      1      elsew ere

      2             A.          o.     I        a e a co          le o        contracts,              t I

      3      not e        loyed anyw ere else.

      4             Q.          arlier yo                 entioned           e ore we went on t e

      5      record t at yo                     ay       e interr        ted to attend to

      6          atient calls.              Is t at correct

      7             A.      Correct.                 I    t ere is so e ody w o is sic                         in

      8      t e co        any, t ey                 ay call       e     eca se o              edical

      9      iss es.

     10             Q.      Do yo           antici ate t at                   a       enin     today, sir

     11             A.      I        a e as ed              or    eo le to try to                   rotect     y

     12      ti e, so I              o e not.             B t it        ay        a    en, so I         st

     13      wanted to let yo                        now.

     14             Q.           ay.            ir, w at did yo                   do in       re aration

     15          or today s de osition

     16             A.          irst o           all, I tried to t in                        a o t t e

     17          eriod o        ti e t at, yo                    now,        ac        ord was wor in

     18      wit         s, wit            e,        ore s eci ically.

     19                     I don t re e                    er e actly w en                  e was

     20      recr ited at              M,            t I t in          it was in 2011.                And in

     21      2012 we wor ed to et er.                            And t e end o                 is

     22      e     loy ent was early 2013.                         And I was in a

     23      con ersation wit                        y lawyers.

     24             Q.      Is t at Mr.                   ann      i and Mr. Isico

     25             A.          es.


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      1            Q.           Did yo           re iew any           aterials, sir

      2            A.           I tried to              ind any        aterial t at I            a e,

      3      li e e ails.               I co ldn t              ind any.          And I     o nd one

      4      doc       ent t at I                e t, w ic           was a s ort note o            a

      5      disc ssion t at we                     ad.          at s all.

      6            Q.           And wo ld yo              -- can yo           tell     e w at t at

      7      s ort note said, and i                        it was dated.

      8            A.            es.        It was -- it was a note in                      cto er o

      9      2012.         And it was a note t at I recei ed                               ro     ac        to

     10      let       e    now t at              e was        ery      set at a ti e w ere

     11      t ere         ad     een a           etition si ned              y    ac lty and          e

     12        st e         ressed           is dis ay and disa                   oint ent wit             t e

     13      reaction.

     14                         M .          MA :        C ris, co ld yo               ro ide      s wit

     15            a co y o             t at, so t at we                 ay       e a le to as             Dr.

     16                oldsc          idt a         estion or two a o t it

     17                         M .     A           I:     I     a en t -- I           a en t seen

     18            t at note, so I                      a e to see w at it is                   irst and

     19            I        ess deter ine i                    it s res onsi e to so e

     20            re       est or so et in .

     21                         B t i        t e doctor wo ld send it to                        e on a

     22                rea , I               a     y to ta e a loo                at it.

     23                                 I           :     I will.

     24                         M .     A           I:     I         st don t        now w at      e s

     25            re errin             to in t e a stract.


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      1      B     M .          MA :

      2             Q.          o ot er t an -- so as              ar as I      nderstand

      3      it, it s a note t at yo                    wrote in yo r own            andwritin

      4      or is it an e ail or                    ow was it doc      ented, Dr.

      5          oldsc     idt

      6             A.              st     andwritin .

      7             Q.              ay.     And do yo     recall w y yo          e t it and

      8      w ere yo           stored it all t is -- it s               een

      9      a     ro i ately nine and a                 al     years

     10             A.          es.

     11             Q.              ere     a e yo     stored it, in yo r            o e

     12             A.      It was wit in              y doc     ents   ro      M.     I       e t a

     13          ew doc     ents.

     14             Q.          as t ere anyt in              else t at yo      re iewed in

     15      antici ation o                 today s de osition

     16             A.      I        a e not seen any o           t e doc      ents.       I     a e

     17      not seen any doc                 ent t at is related to t is

     18      disc ssion.

     19             Q.          a e yo , ot er t an t e doc                  ent t at yo

     20           st re erred to,              a e yo     re iewed any e ails d rin

     21      t e ti e t at Dr.                 ord was e        loyed at t e         ni ersity

     22      o     Mia i

     23             A.      I        a e not seen a sin le e ail a o t t at

     24      ti e.

     25             Q.          o        said yo      a e seen e ails at t at ti e


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      1                A.      I     a e not re iewed any e ails                ro        t at

      2      ti e, no.

      3                Q.           ay.    I      sorry.

      4                        And did yo          re iew any e ec ti e daily

      5           dates t at were                enerated at t at ti e

      6                A.          one o       t e .

      7                Q.           ay.    And w en I say e ec ti e daily

      8           dates, do yo                 nderstand w at I         tal in        a o t

      9                A.      I     yo    can     e s eci ic, it wo ld              el .

     10                Q.      I ll s ow yo             a co     le d rin   yo r

     11      e a ination and we can c at a o t t e                          t en.            ay

     12      Is t at           air

     13                A.      I     t ey were t e e ails t at we were

     14      e c an in              at t e ti e, no, I             a e not re iewed any o

     15      t e .

     16                Q.           ay.        a e yo     re iewed t e settle ent

     17      a ree ent t at was entered into                         etween t e           ni ersity

     18      o     Mia i and t e                nited     tates o     A erica

     19                A.      I re e          er seein        articles in t e        ress a o t

     20      it,            t t at s it.

     21                Q.           at do yo       re e        er a o t t e articles t at

     22      yo        re iewed

     23                A.           ere was a settle ent, i             I recall,           or 20

     24          l s        illion dollars             etween t e     ni ersity and t e

     25          o ern ent related to in esti ations t at                            ad     een


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      1          oin        on relati e to acti ities o                          o r la oratory at

      2      t e        ni ersity o              Mia i.

      3                Q.           eci ically t e IM

      4                A.           eci ically t e IM , yea .

      5                Q.      Dr.        oldsc        idt, w y don t yo                 tell          e a

      6      little           it a o t yo r ed cational                          ac     ro nd and we ll

      7          et to        now yo           a little        it d rin           t is       rocess and

      8      t en I ll as                 s eci ic           estions.

      9                A.           re.         o I      a nati e o              Bel i       .     I     eca e

     10      a citi en in 2002.                       I went to t e              ni ersity, t e                ree

     11          ni ersity o              Br ssels.                e     ree     eans non-C ristian

     12          ni ersity,           eca se           ews were not allowed at t e

     13          ni ersity o               o     ain, w ic              was t e ot er             ni ersity

     14      o        t e City o           Br ssels.           I        inis ed        edical sc ool

     15          irst o         y class.

     16                        A ter           edical sc ool, I did t e residency in

     17          edicine at t e Acade y                      os ital o            Br ssels.             I was

     18          ery i        ressed wit              so e     atients t at were co in

     19          ro     A rica w o              ad a     ery           n s al de iciency o                   t e

     20      i         ne syste .

     21                        My     ni ersity s                  ested to           e to       o to t e

     22          nited        tates to e              erience t e              re alence and t e

     23          ni     eness o           t is disease, w ic                    was     re alent in

     24      se eral cities o                    t e     nited           tates.

     25                        I initially ca e to                       an     rancisco and went to


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      1      t e der atolo y clinic, w ic                            is w ere           atients wit

      2      AID        were seen.          I re e           er t e        irst ti e I went,

      3      t ere was a line o                   75        en, a e 15 to 65, t at were

      4      waitin        to     e seen at t e clinic.                      All o           t is -- all

      5      o     t e c r es o             t e        ande ic were              oin

      6      e     onentially, incl din                       ortality and              or idity.           It

      7      was a        ery c allen in                ti e.

      8                          en     y    oss in t e              nited        tates went to

      9          eco e t e c air an o                   i      nolo y and              icro iolo y in

     10          o t     Carolina, so I went to                      o t     Carolina              or two

     11      years to do researc                   e cl si ely.

     12                        I was        ite s ccess              l, so I recei ed an

     13      o     er     ro     Dr.        o as        ollard, w o was t e c air o

     14      cell        iolo y at          o ns        o     ins     ni ersity.              I went to

     15      do a researc               ellows i             wit      i     and at t e sa e ti e

     16      I     ad to re eat two years o                         residency to              e     oard

     17      eli i le in t e                nited           tates in internal                 edicine.

     18                        A ain, I was             ery s ccess              l and was o           ered

     19      a     ellows i           in cardiolo y at                o ns        o     ins, w ic           I

     20      too ,        eca se at t e ti e we were startin                                  to treat

     21          atients wit           ac te       eart attac              wit        t ro        olytics,

     22      w ic        was a        ery e citin             ti e, and decided t at was

     23      t e t in           I wanted to do.                I did t ree years o

     24          ellows i .            inis ed          ery s ccess              lly.

     25                         ent on to          e on t e           ac lty           or si        years,


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      1      and t en I was recr ited                                   y so e ody w o                ad        een at

      2      t e     o ns        o        ins, Bernadine                    ealy.           o         ay        now        er.

      3           e was t e director o                              I     at one       oint, t e

      4       resident o                 t e           ed Cross.            ery       ni        e indi id al.

      5           e recr ited                 e to            ild a        eart and l n                researc

      6      instit te at t e                           io     tate        ni ersity.

      7                      e did a lot o                          wor .        I    ro         t t e           irst

      8      Da inci ro ot to t e                             nited        tates.          It is a o t

      9      250,000 ro otic s r eries t at are                                        ein           done e ery

     10      year at t is                 oint.              It was        ero       e ore we              ro         t t e

     11       irst instr                 ent.

     12                      e            ilt a              eart        os ital       or t e               io        tate

     13       ni ersity, w ic                           as     een i        ensely s ccess                      l,        ot

     14       or t e        ene it o                     atients in t at re ion,                                t also

     15       inancially                 or t e              ni ersity.

     16                     And t en I was recr ited                                  y D        e     ni ersity

     17      to     e c ie           o        cardiolo y.                   , I       ad        eco e c ie                 o

     18      cardiolo y in                     io.           I was recr ited                y        o ns        o        ins

     19      to     e t e c ie                 o        cardiolo y at D                e        ni ersity and

     20      a ter t ree years, t ey were e tre ely                                              leased wit                     y

     21      ser ice.        I           eca e c air an o                    t e de art ent o

     22       edicine, w ic                    is t e lar est and                      ost s ccess                    l

     23      de art ent o                 D        e     ni ersity.

     24             Q.      And was t at t e                             osition yo              ad        e ore yo

     25       oined t e              ni ersity o                    Mia i


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      1             A.     Correct, correct.                 I        inis ed -- I             inis ed

      2          y ten re at D             e as c air an.              I recei ed two t in s

      3      t at were             ery i     ortant to           e.      irst, a          oster

      4      si ned       y e ery           ac lty o        t e de art ent o                    edicine

      5      to t an           e     or e traordinary ser ices.                      And t en also

      6      I recei ed a             oo     at a l nc eon, w ic                   was dedicated

      7          y t e wo en          ac lty o           t e de art ent o                 edicine at

      8      D     e to t e c air an o                   t e wo en o          t e de art ent o

      9          edicine at D          e.

     10                            at was     ery i        ortant to          e,     eca se D           e

     11          ad a    it o        tendency to           e a        irl- oys cl          .     At t e

     12      ti e, wo en             ad a to             ti e to access leaders i

     13          ositions, and I recr ited a                      ew wo en in critical

     14          ositions.          And so t ere was a lot o                   reco nition              or

     15      t at on t e             art o         y     ac lty.

     16                    And t en I was recr ited                       y    resident            alala

     17      to co e to t e                ni ersity o           Mia i to          e dean o        t e

     18      Miller       c ool o           Medicine.

     19             Q.         o     ow did t at recr it ent ta e                         lace          ow

     20      were yo       recr ited           y        resident         alala        Did s e               st

     21      call yo                on t e         one       ow did t at wor

     22             A.     I        I recall, it was in 2005, I t in                            in t e

     23      winter o          2005, t ey were loo in                     or a new dean, and

     24      so e ow, yo              now, a           riend o         ine w o       ad        een at

     25      D     e and was wor in                at t e        ni ersity o          Mia i, Da id


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      1            ars y, told                e a o t t e              o , as ed           e i     I was

      2      interested.              I told          i        I was        ery     a     y wit        w at I

      3      was doin .

      4                     And t en I t in                      a     ont        later I recei ed an

      5      in itation to co e                      or a        isit.        I t o         t, yo         now,

      6      w y not.           And I ca e                or a        isit.        And I li ed w at I

      7      saw.        I t o            t it was an o                ort nity.

      8             Q.          ere yo          --        ad yo            laced yo r na e wit                 an

      9      e ec ti e recr itin                          ir     at t at ti e

     10             A.          o, not in             li e t at.

     11             Q.          o         e    eard o           e ec ti e recr itin                     ir s

     12          e ore.     Correct

     13             A.      Correct.

     14                     M .               MA :        In     act, let           e      st s ow yo

     15              lainti           s         i it                 er 1.

     16                              ere       on, t e doc                 ent was        ar ed as

     17                              i it 1          or identi ication.

     18      B     M .          MA :

     19             Q.              is is an e ail, Dr.                      oldsc        idt,     ro     a

     20      wo en na ed Bet                    ic s at              orn     erry to yo           on     an ary

     21      3, 2013.           Do yo          reco ni e or do yo                       recall t at

     22      e ail         Do yo              now w o Bet                  ic s is

     23             A.      I        now w o t e                erson is, yes.

     24             Q.      And w at was                   orn        erry s relations i                 wit

     25      t e     ni ersity o                Mia i


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      1             A.         It was t e or ani ation I was                                  sin     to        el

      2          e wit         any o        t e to        recr its.

      3             Q.         And is t at a ter Dr.                   ord was ter inated,

      4      did yo , in                act,      se     orn     erry to loo                    or anot er

      5      candidate to re lace Dr.                          ord

      6             A.          o.

      7             Q.              at did yo            se     orn    erry              or

      8             A.              ,    od.      I recr ited I t in                      20 new c airs

      9          or t e        ni ersity and ot er leaders.                               And I t in

     10      t at        orn        erry       ro a ly         el ed       e           or t ree            arters

     11      o     t ese recr it ents.

     12             Q.              en yo       were recr ited                 y        resident            alala,

     13      did yo            rin       alon      anyone        ro    D           e     ni ersity to

     14      assist yo              at t e        ni ersity o          Mia i

     15             A.          es.

     16             Q.         And w o was t at indi id al or indi id als

     17             A.         I recr ited             ro a ly a o t 70                       eo le        ro

     18      D     e.

     19             Q.          e en        ero

     20             A.          e en        ero, yea .

     21             Q.          as one o           t e         illia       Donelan

     22             A.          es.        Bill Donelan was t e                         irst one I

     23      recr ited, I                elie e.

     24             Q.         In       act, Dr.         ord s cceeded Mr. Donelan.

     25      Correct


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      1             A.      Correct.           B t Mr. Donelan is t e                       erson w o

      2      started t e           ealt        syste     at D        e     ni ersity.              An

      3      e tre ely s ccess                 l indi id al.               e was t e c ie

      4      o eratin        o     icer        nder     al          nyder an, w o was t e

      5      c ie        e ec ti e o           icer at D        e.

      6                     And I     elt        ery stron ly t at t e                       ni ersity

      7      o     Mia i needed           el     wit     t eir syste              and I        elt       e

      8      wo ld        e t e ideal           erson to        e        y c ie        o eration

      9      o     icer.         e ca e initially as a cons ltant and t en

     10          e switc ed to        eco e t e c ie                 o eratin           o     icer.

     11             Q.      Be ore we start tal in                        ore a o t t e

     12          ni ersity o        Mia i, I            st wanted to              o     ac     and tal

     13      a o t yo r           oard a        iliations w ile yo                    were at t e

     14          ni ersity o        Mia i.

     15                     Can yo        tell        e, sir, t e na es o                    t e

     16            lically-traded co              anies t at yo              were on t e                oard

     17      o     w ile yo        were t e dean o              t e        ni ersity o              Mia i

     18      Medical        c ool.

     19             A.       es.     I was on t e              oard o        t e co           any

     20      Medna .        Initially, it was na ed                       ediatri , and t en

     21      it     eca e Medna .

     22             Q.           at was it ori inally called

     23             A.       ediatri , wit              an      at t e end.

     24             Q.      And w en did yo                  oin t at        oard

     25             A.      I t in        soon a ter I arri ed, 2006 or 2007.


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      1           Q.    And was t ere anyone on t e                  oard at t e

      2       ni ersity o        Mia i w o was a           iliated wit         ediatri

      3      or Medna

      4           A.      es.       e c air an o           t e     oard.

      5           Q.    And w at was         is na e

      6           A.    C ie      e ec ti e o        icer,        o er Medel.

      7           Q.      as t ere any ody else associated wit                       Medna

      8      w o was also on t e           oard o     t e        ni ersity o     Mia i

      9           A.      es, yes.          ere was one ot er indi id al,

     10      Mic ael    ernande .

     11           Q.         at a o t Manny         adre

     12           A.      e ca e later.

     13           Q.         at was yo r co         ensation str ct re at

     14      Medna        as it a salary or did yo                 recei e stoc        or

     15      was it a co        ination

     16           A.    Co      ination.     It was 15 -- a o t            15,000       er

     17        arter, and I t in           a o t t at in s ares as well.

     18           Q.    Are yo      still a     iliated wit           Medna

     19           A.      o lon er, no.

     20           Q.         e s ares o      stoc , were t ey o tions or

     21      were t ey restricted in any way, or did yo                        a e

     22       nrestricted stoc , do yo              recall

     23           A.      ea , yea .          ey were -- t ey were o tions

     24      to start wit        and t en t ey        eca e restricted s ares.

     25           Q.    And      a e yo     e ercised t e o tions on t e


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      1      stoc        t at yo      ad

      2             A.      I did.

      3             Q.      And a     ro i ately w en was t at

      4             A.           er ti e.      o      now, o er t e              eriod o     ti e

      5       etween 2006, 2007, w ene er I started, and 2020, w en

      6      I le t.

      7             Q.           at a o t were t ere any ot er co                    anies

      8      t at yo        were on t e        oard o        at t at ti e

      9             A.       es.     I --     or two years I           el ed a        riend o

     10       ine na ed Bill           c oen, w o           ad a co        any called        MA,

     11       ealt        Mana e ent Associates, t at                 e was intendin              to

     12      sell and        is c ie         edical o        icer -- well, no.               is

     13       edical e           ert on t e        oard     ad     eco e     nwell     ro

     14      Mayo Clinic and           e as ed        e to re lace           i      or a

     15       eriod o        ti e.

     16             Q.      And did yo         a e a si ilar ty e o

     17      co     ensation arran e ent wit                     MA t at yo         ad wit

     18      Medna

     19             A.      Correct.

     20             Q.       o     said correct

     21             A.       es.     And it was -- e ce t it was not

     22      o tions, it was restricted s ares ri                          t away.

     23             Q.      And     a e yo     since        een a le to e ercise or I

     24           ess sell t ose s ares o                 stoc

     25             A.       ea .          en t e co        any was sold to t e


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      1           yer, I decided to sell              y s ares.

      2             Q.      Do yo     recall a        ro i ately w en t at was

      3             A.      I t in     in 2013 or           14.

      4             Q.        ile yo        were still t e dean o                         t e

      5          ni ersity o        Mia i     c ool o           Medicine

      6             A.       es.

      7             Q.       ow a o t any ot er --

      8             A.       es.     I ser ed on t e                 oard o          t e co          any

      9             , w ic     was a co        any started                 y        il     rost, and

     10          e wanted     e to ad ise        i     on           is     oard.

     11                     It was a new co           any, i              I recall correctly,

     12      it was a s ell co              any t at        e            rc ased and             e

     13      started a new co           any called                       , w ic          was

     14      de elo in        new     rod cts.

     15             Q.      And was Mr.        rost a           e        er o       t e        oard o

     16      tr stees at t e           ni ersity o              Mia i

     17             A.       es.      es,     e was.

     18             Q.      And did yo         a e a si ilar co                      ensation

     19      sc ed le or arran e ent wit                                  w ile yo             were dean

     20      o     t e     ni ersity o        Mia i     c ool o                 Medicine

     21             A.      It was a s all co           any, so t ere was so e

     22      co     ensation,         t it was        ery li ited.                   I can t

     23      re e        er e actly w at it was.

     24             Q.       ere t ere any ot er                    oard        e    ers i s t at

     25      yo      ad w ile yo        were dean o                 t e        ni ersity o            Mia i


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      1          c ool o       Medicine

      2               A.       o.          at s it.

      3               Q.       ow, c rrently yo                    are wor in         or     ennar as

      4      t e c ie              edical o        icer.           Is t at correct

      5               A.      Correct.

      6               Q.      And t e C            o      ennar is         t art Miller.

      7      Correct

      8               A.       o.

      9               Q.       e s no lon er C

     10               A.           e C      o      ennar is an indi id al na ed

     11      Bec witt.

     12               Q.           at s     is na e            I      sorry.

     13               A.      Bec witt, B-e-c- -w-i-t-t, I                       elie e,

     14      Bec witt.             And t en t e           resident is so eone na ed                    on

     15          a    e.     And     t art Miller is e ec ti e c air o                          t e

     16          oard.

     17               Q.           ay.     And w o        ired yo         at    ennar

     18               A.      It was t e leaders i                    o   t e co       any.       e

     19          erson I re orted to is                   ic        Bec witt, C        .

     20               Q.       ow, w en yo             eca e t e dean o                t e

     21          ni ersity o             Mia i     c ool o           Medicine, t at was in

     22      a       ro i ately 2006.              Do I        a e t at correct

     23               A.       es, it was on A ril 4, 2006.

     24               Q.      And a ter yo             eca e dean o             t e        ni ersity

     25      o       Mia i     c ool o           Medicine, t ere was so e -- t ere


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      1      was an ac          isition o              Cedars- inai      os ital.      Correct

      2             A.      It wasn t called Cedars- inai.                        I t in        it

      3      was Cedars          os ital.

      4             Q.      I        sorry.            or so e reason I t o           t t at

      5      t ere was a             inai in t ere at so e               oint in ti e.

      6             A.          at     ay        a e     een.     It c an ed na e a co               le

      7      o     ti es.        o t at           ay     a e     een.   B t w en we         o        t

      8      it, it was Cedars.

      9             Q.      And a       ro i ately w en was t at

     10             A.          at was in 2007.

     11             Q.      And w at did t at do                   or t e    ni ersity o

     12      Mia i        c ool o       Medicine, in yo r esti ation

     13             A.      All ri          t.         o do yo      ind i    I     i e yo        a

     14          it o      ac    ro nd

     15             Q.          re.

     16             A.          ay.         o w en I ca e to            M, it was, yo

     17          now, a     lan to de elo                t e     edical sc ool

     18      s     stantially.          In t e           rior year, t e researc

     19      enter rise          ad     een dwindlin              down in t e ran in s.

     20           e sc ool       ad     een dwindlin              down in t e ran in s.

     21      And t e entire clinical enter rise, as yo                               ro a ly

     22          now, acade ic          edical centers              s ally       a e a researc

     23      co     onent or an ed cational co                      onent and t en a

     24      clinical co             onent.        And t e clinical co             onent was

     25          ade o     two s all s ecialty                   os itals.        ne was


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      1      Basco          al er Instit te, w ic              was        ite s ccess         l,

      2      and t e ot er one was              yl ester.

      3                      yl ester was a cancer              os ital, w ic            ad

      4      lost its        CI desi nation, i           I recall correctly, in

      5      1995, and it was not doin                  artic larly well.           And

      6      t en all o        t e     r ent care        os ital acti ities were

      7          er or ed at        ac son Me orial           os ital, w ic        was

      8      ad acent to t e           edical sc ool.

      9                     At t e ti e, t e        raction o              ac lty and

     10      sta      w o wo ld        se    ac son as t eir              os ital was

     11      a o t 17        ercent, and t ere was a clear need                    or t e

     12      or ani ation or t e enter rise to                       ot    ser e t e

     13          eo le o      o t      lorida wit        to     notc       acade ic care

     14      and to ens re t at all st dents and residents                          ad t e

     15      o     ort nity to        et o tstandin           ed cation in clinical

     16          edicine.     It     eca e     ery clear t at we needed to                    a e

     17      o r own        r ent care       os ital.

     18                       ere was a        lan to         ild a       acility w en I

     19      ca e t at was esta lis ed              y     y     redecessor to            ild a

     20          illion dollar        acility in t e           iddle o       downtown, and

     21      t at     lan was to o en 100           os ital           eds, and I didn t

     22      t in     t at it was a          ery s art in est ent.

     23                       ere was a        os ital t at was called Cedars

     24      on t e ca         s, w ic       at t e ti e         elon ed to        CA, and

     25      t e lar est           or- ro it     os ital co           any in t e


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      1      co ntry.                ey were ad ertisin                     or         ysicians and

      2       a in , o              co rse, all t e                 oney,        eca se t ey were

      3       ettin        t e tec nical                    ees o     t eir acti ities.

      4                        And so I stron ly reco                       ended to t e

      5       ni ersity to                  rc ase Cedars instead o                               yin     a --

      6        ildin           a     os ital t at wo ld                   a e cost            s     5.6

      7       illion           er        ed, and, instead,                  y a        os ital t at was

      8      costin            s a o t           al     a     illion a           ed, w ic           was a

      9       ery        ood        rice co           ared to t e rest o                    os itals

     10      across t e              nited        tates.

     11             Q.         And t at           eca e w at s              nown as               ealt , t e

     12        ealt            os itals.              Do I     a e t at ri              t

     13             A.             ea .

     14             Q.         Do yo        re e        er --

     15             A.         Mia i        os ital.

     16             Q.         Do yo        re e        er an entity called t e Mia i

     17       rans lant Instit te

     18             A.              ere was.           I started it.

     19             Q.         And t at was co                 osed o            M      ysicians,               t

     20      t e         ysical           acilities were at                 ac son.           Correct

     21             A.             es.      o     ere s t e deal.                     o w en I ca e, I

     22      was witness o                 a s        stantial        i     t        etween         ysicians

     23      w o were wor in                    at t e        rans lant Center, as it was

     24      called at t e ti e, and it is e tre ely i                                            ortant        or

     25      t e     er or ance o                 so        isticated           roced res to              a e


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      1      s re t at t ere is a                      er ect     artners i           etween

      2       os ital and                 ysicians.

      3                        And so in order to create t e                     ind o

      4      str ct re t at wo ld                      e needed to          a e t e

      5       artners i , I created t e Mia i                           rans lant Instit te

      6      and it        as        een a          reat s ccess.       I     ean, t e Mia i

      7       rans lant Instit te is now ran ed n                               er one in t e

      8       . .        y t e or ani ation t at e al ates trans lant

      9       os itals.

     10             Q.         And, Dr. Alan             i in stone was t e director o

     11      t e Mia i           rans lant Instit te and c air erson o                         t e

     12      de art ent o                s r ery        or -- I      ess       etween 2007 and

     13      t e s         er o          --

     14             A.          o.        o Alan        i in stone was t e c air an o

     15      s r ery.           All t e trans lant s r eon                     ad -- were

     16       ac lty o           t e de art ent o               s r ery.        B t Alan

     17       i in stone was not t e                      ead o     t e       rans lant

     18      Instit te.              A doctor na ed             a is,        - -a- -i-s, was

     19      t e director o                   t e     rans lant Instit te, Dr. Andy

     20        a is.

     21             Q.          ere yo          aware t at in 2007             at olo y testin

     22       o ed        ro         M    la oratories to la oratories wit in t e

     23      de art ent o                s r ery at t e Miller                c ool

     24             A.         I was aware t at t ere was t e s all

     25      la oratory in t e de art ent o                         s r ery t at was doin


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      1      s eciali ed testin                       or trans lant        atient, yes.

      2                Q.        And w o was -- w o initiated                    o in     o     it

      3          ro         M    into t e de art ent o                 s r ery

      4                A.        I ass        e it was Dr.           i in stone.        I t in       it

      5          receded          y ti e.        I t in        t at t e la        was already

      6      esta lis ed to so e de ree.

      7                          I re e        er one ti e, w en I           irst ca e, a

      8          atient was loo in                    or t at la oratory in t e                 ar in

      9      lot and it was in a                       ildin     o      M and I     el ed t e

     10          atient to             et to t e la oratory.

     11                Q.             e la oratories wit in t e de art ent o

     12      s r ery were                   nown as t e i            no- onitorin        la oratory

     13      and t e             istoco        ati ility la oratory

     14                A.         i     t.     My recollection is t at t ey were

     15      doin , yo                 now, t e tests to              ind o t i     t ere was

     16      co        ati ility             etween t e        atient and t e donor.

     17                Q.        By     o in     or an trans lant           at olo y testin

     18      to t e             ni ersity, did t at              ean t at t e           ni ersity

     19          illed          or t ose tests

     20                A.         ea .        I ass     e t at t ese i            ne tests were

     21          illed          y t e        ni ersity, yes.           A ain, t at trans er

     22      o        t e la , i             I recall correctly,           receded        e,

     23          eca se it was already t ere w en I ca e.

     24                Q.             ay.      ere yo     aware t at t e de art ent o

     25      s r ery was one o                   t e     ost     ro ita le in t e              edical


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      1      sc ool w ile yo                 were dean at t e                ni ersity

      2                A.          ea .          at doesn t          a e anyt in            n s al.          I

      3          ean, de art ent o                 s r eries          a e always t e

      4          est-        nded de art ents o                any     edical sc ool.

      5      Act ally, t ey                 s ally lead t e                edical sc ool wit

      6      t eir re en es.

      7                Q.          as --     ow wo ld yo             c aracteri e yo r

      8      relations i              wit        Dr.     i in stone

      9                A.           ay.          en I inter iewed                or t e     o    at     M,

     10      I was inter iewed                    y two tr stees w o                ad told       e t at

     11      t ey were              ery     n a        y wit    Dr.        i in stone, so it was

     12          ind o        an     n s al way to start a relations i .

     13                        I     et wit        Dr.     i in stone,             o nd     i    to     e

     14           ite        leasant as an indi id al.                       e was not an easy

     15          erson to wor              wit     as a dean o             t e     edical sc ool,

     16           t     e     ad      ite a s           stantial       ollowin        wit in t e

     17          ac lty o           t e     edical sc ool.

     18                        In     artic lar, yo              now, t e           ni ersity o

     19      Mia i was              n s al in ter s o                t e clinical enter rise,

     20          eca se on one              and t ere was, yo                    now, t e       ac lty

     21      o        t e     ni ersity t at was doin                      researc , ed cation

     22      and clinical wor ,                        t a lot o       t e        edical wor          was

     23          ein        done at        ac son Me orial             os ital.           And so t ere

     24      was a s           stantial           raction o          t e     ac lty t at were

     25          asically considerin                     ac son as t eir             o e,       ay e


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      1          ore so t an t e                 ni ersity.

      2                        And so it was a                   it o     a c allen in

      3      en iron ent co              ared to w at I                   ad seen at ot er

      4          ni ersity, li e                 o ns        o    ins     ni ersity, t e               io

      5          tate     ni ersity, or D                    e    ni ersity w ere e ery ody

      6      was to et er.                   e     os itals             elon ed to t e

      7          ni ersity and t ere was no -- t ere was no di ision

      8      wit in t e              ac lty in ter s o                   t eir alle iance to one

      9      or ani ation or t e ot er.

     10             Q.         And was Dr.              oldsc       idt     sic        t e c air o

     11      t e de art ent o                    s r ery          e ore yo            ot t ere and

     12      w ile yo           were t ere              or       ost o     yo r ten re as dean

     13      o     t e        ni ersity o              Mia i       c ool o           Medicine

     14             A.         It was        i in stone, Alan                   i in stone.

     15                        M . I IC            :         o     ad said           oldsc     idt     e     ,

     16                  st to        a e t e record clear.                      I     now yo         eant

     17                 i ,      t     e s         st clari yin             t at yo            eant

     18                 i in stone.

     19                        M .       MA :                at s ri       t.          at s ri        t.

     20      B     M .          MA :

     21             Q.         Dr.     i in stone was t e c air o                            t e

     22      de art ent o              s r ery           e ore and d rin                 ost o        yo r

     23      ten re as dean o                    t e     ni ersity o             Mia i        c ool o

     24      Medicine.           Correct

     25             A.           at is correct.


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      1             Q.      And in t at           osition, wo ld yo                    say t at Dr.

      2          i in stone was a           ery in l ential                    e    er o        t e

      3      Miller        c ool o     Medicine

      4             A.      Dr.     i in stone was                 ery in l ential                   erson,

      5      yes,        artic larly a on           t e        ac lty t at was wor in

      6      as         ysicians at     ac son Me orial                       os ital.

      7             Q.      Dr.     oldsc        idt, can yo                 descri e t e

      8          inancial     ress res t at were                       re alent in 2011,

      9      t rnin        into 2012, w ic               receded Dr.                ord s ten re as

     10      C      o     t e Miller        c ool o           Medicine.

     11             A.        re.      o let        e        o a little             it earlier, i

     12      yo     don t     ind.

     13             Q.        re.

     14             A.       o, as I        entioned, w en I ca e in 2006,

     15      t ere was a stron              e      asis on e ol in                   t e        edical

     16      sc ool to        eco e a to            edical sc ool, a to                         50

     17          edical sc ool in t e              . ., w ic                 it was not w en I

     18      ca e, de elo in            ro ra s o                  irst class,             ot

     19      clinical and researc                  ro ra s.

     20                      ne e a     le,        or e a              le, is t e              nts an

     21      Instit te.           I don t        now i        yo         a e       eard o        it.

     22      It s         e Instit te o                 an     eno ics, w ic                   is now

     23      ran ed n         er two in ter s o                        enetics, it s             enetic

     24      de art ents in t e                 nited        tates.

     25                     And I     ad recr ited                 e     y     ance,       e     y


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      1          erica - ance, and                  er         s and to lead it                 ro        D        e

      2          ni ersity.         I     ad a           ni     e o           ort nity to recr it

      3      t e       wit    t eir tea , w ic                    was a o t 65              eo le, and

      4      it was a transaction t at was                                    acilitated        y t e              act

      5      t at I went to see                     e     B s , w o was t e                 o ernor at

      6      t e ti e, Marco                    io was t e                     ea er o     t e        o se,

      7      and con inced t e                  t at it was -- t ey                       ad started a

      8      n        er o    instit tes, li e                    cri           s in     lorida,

      9      instit tes t at act ally                           a e not           een     ery

     10      s ccess         l.

     11                           is one is a                 or ida le s ccess.                     e are

     12      leadin          enetics in                 retty         c        all ne rode enerati e

     13      disorders, Al               ei er s and e eryt in                          else.         e        y

     14          ance was t e disco erer o                        t e           ost i     ortant              ene in

     15      Al       ei er s disease.                   And s e s one e a                 le o           t e

     16      ty e o          eo le t at I was a le to recr it to                                      M.           And

     17          y t e way, t e               rant        ro     t e           o ern ent was              80

     18          illion,      ro        t e     o ern ent o                     lorida.

     19                      In 2008, as yo                    recall, Mia i and                 o t

     20          lorida were            ery a           ected     y t e real estate                                le

     21      and t e conse               ence o           t e econo ic crisis o                       2008.

     22          e    ad to c an e             lans s           stantially to li it t e

     23      i       act on o r or ani ation.

     24                       e     ad         rc ased a              os ital, t an                  od,               st

     25          e ore t e crisis               a        ened.            e     ad to      rc ase a


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      1      no el electronic              edical records syste             t at we

      2           rc ased in t e           or     o         ic syste .       ese were

      3      a sol tely essential                 eas res to       ro ide     atients wit

      4      21st cent ry le el o                 care.       Didn t e ist at           ac son

      5      Me orial        os ital and didn t e ist in                   any o        t e

      6          os itals in        o t         lorida.

      7                     And o r strate y to i                ro e     edicine in           o t

      8          lorida was, yo            now, wit          t e tide, all s i s rise,

      9      and as a conse           ence o          o r     ro ress, we were a le to

     10      s     stantially c an e t e s a e o                    edicine in           o t

     11          lorida.

     12                      a in     said t at, it was a                ery di        ic lt

     13      ti e     or     ot      ac son Me orial             os ital and t e

     14          ni ersity o        Mia i.            ere was a de t o            70     illion

     15      t at     ac son        ad contracted wit              s.     In 2010, I

     16          elie e, it was disco ered in t e acco nt recei a le

     17      o      ac son -- o            ac son       ealt      yste     a 250        illion

     18          ad de t t at al ost too                    ac son to colla se.

     19                          ere were interestin             interactions at t e

     20      ti e.         neida     oldan was t e             resident and t e C               o

     21          ac son at t e ti e.                  e as ed     e to ta e o er t e

     22      trans lant           ro ra ,        eca se t ey co ldn t a                ord it,

     23      accordin        to     er.

     24                      e     ad to create a             lication     or certi icate

     25      o     needs, w ic        we        iled.       And two days     e ore t e


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      1      deadline,              neida told              e t at s e reali ed t at t e

      2      trans lant                 ro ra     was act ally          ro ita le to t eir

      3      or ani ation and s e as ed                          e to     lease wit draw

      4      a     lication              or certi icate o             needs, w ic         I did,

      5          eca se all alon                 in     y career I tried to           e

      6      s      orti e o              t e sa ety net             os ital o      o t

      7          lorida,        ac son Me orial                 os ital, and ad acent

      8          os itals.

      9             Q.          orry        or interr           tin .      as Dr.     i in stone

     10      s      orti e o              yo r e        orts     or t e certi icate o              need

     11      a     lication

     12             A.          es,        e was,           eca se it was a re        est     ro

     13          neida     oldan.           I t in           t at -- I t in       t at      e was

     14      in ol ed in t e e                    orts to s ow t at t e             ro ra s were

     15      act ally           ro ita le to                 ac son, and t at is t e e tent

     16      o      is     artici ation.                    B t, initially,       e was

     17      s      orti e, yes.

     18             Q.          ne ot er               estion, and I will let yo

     19      contin e.                  as Dr.        i in stone s         orti e o        yo r

     20           rc asin           o     Cedars

     21             A.      I t in              so.     I     ean,    e didn t o      ose to it.

     22             Q.      I           now t at yo           re leadin          to tellin          e

     23      a o t t e              inancial           ress res t at t e          ni ersity o

     24      Mia i       c ool o            Medicine were             nder in late 2011 and

     25          e innin        o        2012.


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      1             A.          i     t.         o t at iss e wit                t e acco nt

      2      recei a le created a s                    stantial disarray, yo                            now,

      3      w ic        was        ery          lic at t e          ac son Me orial.                        ere

      4      was a lot o              -- a lot o            ress a o t it.                   And it

      5      was -- it was                 ery -- it was             ery c allen in                  or

      6      t ose w o were wor in                    at t e             ac son Me orial

      7       os ital a on                 t e     ac lty o              M.

      8                         M     ro ided a o t 95                   ercent o        t e care at

      9      t e ti e.              And t e leaders i                t at I e           erienced,

     10       e ore I ca e, Ira Clar                       was t e             ead o     t e       ac son

     11       ealt            yste .             en ca e Mar in                 Q inn.        Mar in

     12        Q inn was              ore        olitician t an anyt in                      else.          My

     13       irst interaction wit                     i     was a             it odd,        eca se             e

     14      told        e -- I            a cardiolo ist, and                   e said I          ad        een

     15      c ie        o     cardiolo y in two e cellent                           ni ersity, t e

     16        io        tate        ni ersity and D             e        ni ersity, and                e

     17      tells           e t at        e was re lacin                t e cardiac tea                wit          a

     18       ri ate           ractice cardiac tea                   o        Mia i.     And so o r

     19      relations i              didn t start on t e                      est     oot, I wo ld

     20      say.

     21                             en ca e        neida     oldan, wit                w o     I     ad a

     22       ery        ood relations i .                 B t       neida was a              erson w o

     23      went t ro                all o        t ese s       stantial              icc     s t at s e

     24      didn t really ca se.                      ey ca e -- t ey                   a     ened

     25       e ore           er.


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      1                        And t en t ere was a searc                              or a new -- a

      2      new     resident and C                     o        t e        ac son     ealt         yste ,

      3      Carlos Mi oya, w o was t e                                erson t at I t o               t was

      4      t e     ost co              etent        or a        ariety o           reason to ta e on

      5      t at        o     and        e did.            e ca e and               it t e     o     in

      6      2012.

      7             Q.             o i     yo     co ld            st tell           s --

      8             A.         I         al ost done.                  o a ter Carlos           eca e t e

      9      C      and        resident o              t e        ac son        ealt         yste , t e

     10          irst t in           t at        e did was to red ce t e ann al

     11      o eratin              a ree ent, w ic                 was t e yearly a ree ent

     12          etween t e              ac son        ealt            yste     and t e        ni ersity

     13      o     Mia i.

     14                             ere was an e er reen a ree ent t at, yo

     15          now, de ine t e relations i                                 etween t e two

     16      or ani ation.                 B t t e ann al o eratin                          a ree ent was

     17      t e yearly a ree ent t at we ne otiate and t at de ine

     18      w at wo ld              e t e        ay ent o                  ac son to t e           ni ersity

     19      to s            ort t e acade ic wor                       t at was        oin     on in

     20          ac son in ter s o                    ed cation and so e researc ,                             t

     21      also t e co                 ensation           or         ysicians t at were wor in

     22      at     ac son           or        atients w o did not                    a e an ins rance.

     23           at was t e res lt o                       t e        al      enny sales ta .             I

     24      don t           now i        yo     re     a iliar wit              t at.

     25             Q.             es.


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      1             A.       o t e              al         enny sales ta                    was a           iece o

      2      le islation t at was                          asically to                 el             ysicians and

      3      ot er care           ro iders o                        ac son        ealt            yste        at t e

      4          ni ersity o           Mia i,              ostly in ter s o                            ysicians to

      5          ro ide care to indi id als t at did not                                               a e any

      6      ins rance.

      7                     And        ein           a sa ety net                 os ital              or     o t

      8          lorida, t ere were                        ite a n               er o            atients w o

      9      were in t at cate ory.                             I       I recall, a o t 25                     ercent

     10      o     t e     atients were in t at cate ory.

     11                     M .             MA :                c se        e one second.                     ric, do

     12             yo      a e to ta e a call now

     13                     M . I IC                  :         es.       I was             st        oin     to

     14             interr        t.        I        I co ld, I will                       ee     t e call to

     15             ten     in tes, no                    ore t an 15.                 I        we co ld            st

     16             ta e t at           rea           now and we ll                    ic        ri     t     ac

     17             w ere we were.                    I a           reciate it.

     18                     I was           oin           to              in,          t I didn t want to

     19             interr        t,            st li e yo .                      an        yo         or t at.          I

     20             will     et ri              t to t at call, and yo                                ll see        e

     21             rea     ear, so yo                    ll        now I          ac .

     22                     M .             MA :               e ll       o o          t e record.

     23                                ID             A             :       is     ar s t e end o

     24              ideo     ile n                  er one.                e ti e is ten a. .,

     25             and we re           oin           o         t e record.


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      1                              ere        on, a     rie     recess was ta en, a ter

      2             w ic           t e     ollowin         roceedin s were           ad:

      3                                   ID       A       :      e re     ac     on t e     ideo

      4             record.                is is t e start o               ideo     ile n         er

      5             two in t e de osition o                       Dr.     ascal     oldsc        idt.

      6                  e ti e is 10:12 a. .

      7      B     M .             MA :

      8             Q.         Dr.        oldsc        idt, I     elie e yo        were     i in               s

      9      t e        ac     ro nd to t e              inancial        ress res t at t e

     10          ni ersity o              Mia i        c ool o     Medicine were           acin        in

     11      t e 2011, leadin                    into t e 2012 -- a              I on it

     12             A.             es, I can           ear yo      ery well.

     13             Q.         My         estion is, sir, I              now yo     were     i in

     14          s t e        ac     ro nd to t e              inancial        ress res t e

     15          ni ersity o              Mia i        c ool o     Medicine was           nder in

     16      t e 2011-2012 ti e                    eriod.         o I d li e to           ind o

     17          oc s on t e e tent o                    t e     inancial        ro le s t e

     18          ni ersity o              Mia i        c ool o     Medicine was           a in        in

     19      2011,           oin     into 2012.

     20             A.              re.         o t e last t in           I was tellin           yo

     21      was t at a ter Carlos Mi oya was recr ited to                                   e t e

     22          residency o              t e     ac son        ealt      yste , one o            is

     23          irst        o es was to red ce t e ann al o eratin

     24      a ree ent, or A A,                    ro     ro      ly     150     illion to, i              I

     25      recall correctly, a o t                       95     illion.         o t at was a


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      1          ole o         55     illion t at we                  ad to         ill.

      2                Q.       o as yo           went into t e                   e innin        o    2012,

      3      wo ld it           e     air to say t at yo r e                            enses were

      4      e ceedin           yo r re en es at t e Miller                               c ool o

      5      Medicine

      6                A.       ea ,        y a     raction o                55     illion.

      7                Q.      And at t at ti e, t e                         resident and t e                oard

      8      o     tr stees were              eco in             concerned, and, as a res lt,

      9      yo         ro      t on Dr.           ord to re lace                   illia        Donelan.

     10      Is t at correct

     11                A.      Act ally,           oe        atoli is t e one w o

     12      reco           ended     ac      ord.           I didn t             now     ac .       I t in      I

     13          ad one        eetin        wit         ac        ord        e ore.         oe       atoli was

     14      t e c ie               inancial o              icer o          t e     ni ersity.

     15                Q.           ay.     B t wo ld it                e     air to say t at t ese

     16          inancial concerns tri                       ered re lacin                Mr. Donelan

     17      wit        Dr.     ord.        Is t at a             air state ent

     18                A.       es, it s a              air state ent.

     19                Q.      And can yo           tell          s a little              it a o t          ow

     20      Dr.        ord was           ired.         o        entioned           oe     atoli       new

     21          i .        B t can yo        disc ss t at a little                         ore.

     22                A.      I t in        t at           ac    was recr ited at                   M as

     23      c ie           strate y o        icer or so et in                      li e t at.          I

     24      not totally s re,                    eca se I was not in ol ed in                              is

     25      initial recr it ent.                       And       e     ad an a           oint ent, I


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      1          elie e, in t e de art ent o                    at olo y at t e Miller

      2          c ool.

      3                     And t en          e ca e to wor           wit         e at t e

      4          edical sc ool,           nctionin        as t e c ie                 o eratin

      5      o     icer.     And I t in          t at t e        o        was         lly

      6      i     le ented in t e s              er o     2012, i              I recall

      7      correctly.

      8             Q.      And do yo          recall t at           e act ally started as

      9      c ie        o eratin    o        icer on Marc           1, 2012

     10             A.      I recall t at -- I can t re e                         er i           it was

     11      in     e r ary or Marc ,              t it was aro nd t at ti e.                                      It

     12      was d rin , yo              now, t e        irst         arter o           t e year.

     13      And i        I recall correctly,             e was --              e was initially

     14      interi        or so et in ,          ntil t e s               er.        I don t

     15      re e        er e actly t at transition.

     16                     A ain,       ac      ord is not a              erson t at I                       ad

     17      recr ited to t e             ni ersity, so it s a little                                it

     18      di     ic lt to re e             er e actly        ow t at           a     ened.                 B t

     19           nctionally, yes,             e was t e c ie              o eratin              o        icer

     20          etween     e r ary or Marc          o     2012.

     21             Q.      And yo        entioned t at              oe     atoli           ro            t        i

     22      to yo r attention.                Is t at correct

     23             A.        at s correct.

     24             Q.      And t at wo ld          a e     een in t e early                          art o

     25      2012


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      1                A.         It wo ld        a e           een.

      2                Q.         And did yo               eet wit           Dr.           ord        e ore yo

      3          ired        i     as t e c ie              o eratin              o        icer

      4                A.          ea .     I     ad one           eetin              wit         i        e ore, I

      5          elie e,           eca se        ac         ad     een, yo                  now, an i          ortant

      6      indi id al at t e ins rance co                                   any,                ana, and          is

      7      wor        at          ana was o              interest to                    e and I t in           t at

      8      we        et        e ore.

      9                Q.         And wo ld it              e     air to say t at w en yo

     10          ired Dr.           ord as c ie                 o eratin              o     icer, one o             t e

     11          ri ary reasons t at yo                           ired        i           was to address t e

     12          inancial iss es t at t e                          ni ersity o                    Mia i       c ool

     13      o     Medicine was                 acin        in t e s rin                    o     2012

     14                A.         I t in        it s        air to say t at, yes.

     15                Q.         And did t at, in                 act, lead to a n                          er o

     16      layo           s in May o           2012

     17                A.           ere was a layo                     o     a o t              i e       ercent o

     18      t e wor              orce, w ic           was -- w ic                    stretc ed             ro , i        I

     19      recall correctly, A ril to                                    ne o           t e year.

     20                Q.           ay.

     21                A.         Many indi id als w o were in t at

     22      ad inistration and t e researc                                   or ani ation.                    ery,

     23          ery        ew, i     any, in t e clinical area.

     24                Q.         And did yo           s         ort t ose layo                       s

     25                A.         I did.


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      1                Q.        Did t e           resident o          t e    ni ersity s             ort

      2      t ose layo                s

      3                A.         es.

      4                Q.        And did t e             oard o        tr stees s         ort t ose

      5      layo           s

      6                A.         ea , I           elie e so.

      7                Q.         ere yo           Dr.    ord s direct s             er isor

      8                A.        My relations i                wit      ac    was a co         ination

      9      o     s        er isin          and     artners i .

     10                Q.        B t        is, accordin             -- and we ll        o t ro

     11      so e o             t e doc        ents --

     12                A.         ea .         e was --          e was directly re ortin                    to

     13          e, t at s correct.

     14                Q.         ere yo           aware o       w et er       e     ad any

     15      o li ations to re ort to any ody else

     16                A.        I t in        t at       e     ad a side re ortin              wit         oe

     17          atoli.

     18                Q.        And is t at doc                ented anyw ere, do yo                  now

     19                A.        I can t re e             er.         orry.

     20                Q.        Do yo        re e       er ter inatin             Dr.   ord

     21                A.        I do.

     22                Q.        And was it yo r decision to ter inate Dr.

     23          ord

     24                A.        I t in        it s       air to say t at it was t e

     25      decision o                    resident           alala.     I did not o           ose it


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      1       or a      ariety o          reasons.

      2            Q.         en yo        say yo        didn t o        ose it     or a

      3       ariety o        reasons, w at were t e reasons t at yo                             did

      4      not o      ose it

      5            A.       I didn t t in           t at        ac     was really        ery      c

      6      en a ed into w at we were doin                          at t at     oint.

      7            Q.         at do yo           ean

      8            A.         ay, so        ac     was     ery en a ed and              ery

      9      ent     siastic a o t w at                e was doin         I wo ld say           ntil

     10       cto er o        2012.

     11            Q.       And w at does t at                 ean

     12            A.         at        eans t at we           o nd o t in        cto er o

     13      2012 t at t ere was a                 ote, a        etition o        t e     ac lty,

     14      to ad ise t e no con idence in t e leaders i                                 ro     t e

     15       ac lty o            edicine -- o           t e     c ool o        Medicine and

     16      it    ad a           e i     act on       ac .

     17                     And     e told       e at t e ti e,                oo , yo         now,

     18      I lo e to wor               ard.    I lo e to do di               ic lt t in s.

     19      B t i      I     not wor in           in a        lace t at I li e and t at

     20      I a     reciate, yo            now, I         at a sta e o            y li e w en

     21      I don t want to do t is any ore.

     22            Q.       And is t at one o              t e        ri ary reasons yo

     23      didn t o        ose        resident         alala s decision to

     24      ter inate        i

     25            A.        ell,        e -- loo , t ere are a lot o                    t in s


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      1      t at I li e a o t                      ac .        e were           ood        riends.                  e

      2      wo ld see eac                   ot er o tside o                   wor .        I t in           two or

      3      t ree ti es we                   ad dinner to et er wit                            o r     a ilies.

      4       e     ad a          ery -- a           ery cordial relations i , and I

      5       elt t at             ac        was no lon er                a     y at        M.

      6                       I        new t at        e was          ind o           distancin                  i        a

      7      little        it          ro     ot er        eo le at t e                   ni ersity and at

      8       ac son, and so I didn t -- I didn t                                          eel t at, yo

      9       now,       e was --              e was        a       y wit        w at           e was doin .

     10                       And t at was                 ery di             erent        ro         e ore t e

     11       etition, w ere, yo                       now,          ac        was a        orce to              e

     12      rec oned wit .                    e was really totally en a ed.                                         e was

     13      wor in           ery           ard.      e was ent                siastic a o t w at                             e

     14      was doin .

     15                           e wo ld           a e, yo           now, we wo ld                    a e           ery

     16      wonder        l con ersations.                     B t w en t at                    etition ca e,

     17      t ere was a                     e c an e in             is attit de.

     18             Q.        Is it           air to say t at, accordin                               to yo ,

     19      t at t e             etition ca sed                i     to        eco e           ore distant

     20      and less en a ed                       Is t at w at yo                       ean

     21             A.            e was        ro o ndly              set.            e     elt --           e           elt

     22      t at it was, yo                       now, a       arody o           acade ic              edicine

     23      and     e was e tre ely disa                           ointed.                is was so et in

     24      t at        rt        y        eelin s        ery stron ly, too.                          e were

     25       ot     na ed in t at                   etition side                y side.


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      1                      o      now,        y re iew       y t e           ac lty t e year

      2          e ore was 75        ercent a          ro al, w ic              is     ery           i         or

      3      an acade ic or ani ation.                      As I     ad told yo , w en I

      4      le t D        e, I     ad a        oster si ned             y e ery sin le

      5          ac lty o        t e de art ent to tell                   e     ow     reat a c air

      6      I was.         o t is was -- t is was a                      i     s oc            or       ot

      7      o      s.      ery di        ic lt.

      8             Q.       e ll        et to t at, Dr.             oldsc           idt, and I

      9      a     reciate t at.              I really want to try and nail down

     10      t e reasons w y yo                 didn t o       ose        resident               alala s

     11      decision.           And I        elie e yo       said t at t e                    etition

     12      c an ed        is attit de and             e     eca e           n a     y.

     13                      as t ere anyt in                else a o t t e                    etition

     14      t at a        ected     ac        s, or Dr.       ord s,           o      er or ance

     15             A.       ell,        ac     t o     t t at it was o er                       t at we

     16      were done,           asically, a ter recei in                      t e news o                t e

     17          etition.         ote t at we          ad not seen t e                 etition.                 e

     18      were         st told t at t ere was a                   etition a ainst                      s.

     19      I can t re e           er w o lea ed it to                   s.

     20                     B t I do re e             er one        eetin           w ere        ac       was

     21      not w ere I was.                 It was a re          lar        eetin        o     t e

     22          ac lty wit         resident           alala and I and                 resident

     23           alala     ade a        resentation, answered a co                            le o

     24           estions and t en le t.

     25                     And w en I was alone wit                      t e        ac lty, o                t e


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      1          ac lty senate              or t e     edical sc ool, a                          or er dean,

      2      Bernie           o el, stood             and     asically told                       e t at I

      3      s o ld -- t at I s o ld ste                       down.

      4                        I s ared t at in or ation wit                                    ac .      e

      5      as ed           e w et er        resident         alala was in a ree ent

      6      wit        Dr.        o el and I        new t at s e was not and I told

      7          i .

      8                            nderstand, loo ,           ac        was a              riend.             ay

      9          o not only I           et a        etition to tell                    s t at we re

     10      doin           a terri le        o ,      t I was also                    oin        to lose          y

     11          riend,        eca se        e was --        e didn t want to wor                             at       M

     12      any ore.

     13                             ere is not a s all iss e, I can                                    arantee

     14      yo ,           artic larly w en yo               a e a career o                       30     l s

     15      years in acade ia t at was                       rilliant and incredi ly

     16      s         orted        y t e     ac lty.        And w at s cra y is t e

     17      reason w y t is                 etition ca e               .             ay         Do yo         ind

     18      i     I e        lain to yo

     19                Q.      Dr.     oldsc        idt, I really need to                          et to t e

     20      answer.           I      arantee yo , yo              re           oin        to     a e t e

     21      o     ort nity to tal              a o t t is.                 I     e        ot a lot o

     22      e     i its to s ow yo                 and I t in              a lot o              t at will,

     23      yo         now, we ll           et to.        B t I need to                    ind o t           ro

     24      yo        w et er Dr.           ord s     o      er or ance was a                          ected          y

     25      t e        etition.


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      1                A.         Dr.           ord s        o         er or ance was a           ected             y

      2      t e        etition.                  o         estion a o t it.

      3                Q.              ay.        And did yo              -- did yo        tell        i       a o t

      4      t at

      5                A.         I        ad con ersation wit                     i .     I was as

      6      enco ra in                    to     ac        as     ossi le.        I was tellin                    i ,

      7      loo , we can -- we can                                ana e t is.            e can -- we can

      8      s r i e.                  e can contin e w at we are doin .                                   e        a e

      9      a     o        to do.               e re not done wit                 it and we need to

     10      contin e to do o r                             o .

     11                Q.         Did yo              -- so        y      estion is did           is       o

     12          er or ance s                     er

     13                A.              ere were co                 laints a o t           ac     t at were

     14      co in           to        e and           e was not --              e was not t e             erson

     15      t at           e was           e ore we              ot t e        etition res lt.

     16                           I         s re I was not, eit er,                       y t e way,                    t

     17      certainly                 ac         ad        een e tre ely a              ected and             o

     18          er or ance was i                       acted           y it.      e t o         t we were

     19      done.

     20                Q.         I        nderstand.              Did yo        doc     ent     is decline

     21      in        is     o            er or ance

     22                A.             o.

     23                Q.         Did           resident               alala tell yo           w y s e was

     24      ter inatin                    Dr.        ord

     25                A.             ell --


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      1             Q.      I     yo        can tell       e yes or no and t en

      2      e     lain, t at wo ld                 el .

      3             A.          es.        I t in     I can e      lain.

      4             Q.      Did s e tell yo                w y

      5             A.          es.

      6             Q.      And w at was t e reason w y

      7             A.           ay.         o one as ect o             ac     s     ersonality is

      8      t at        e is a        ery a        ressi e indi id al.                or e a           le,

      9      yo      now,        or t e layo           , instead o , yo                now, tryin

     10      to identi y t e indi id als t at were                                 nder er or in

     11      in t eir role at t e                    ni ersity,         e t o         t we didn t

     12          a e eno          in or ation on              er or ance, and so               e

     13      re     ired t at we wo ld lay o                      e ery ody and t en

     14      rea     oint t e indi id als t at we wanted to rea                                    oint.

     15                          at created a s             stantial a o nt o

     16      c allen e.               ac     was     ery      c , yo         now, t ere is a

     17      war     e ore        s and t e rest o               t e world.            e was at

     18      ti es        ery dis issi e o                 ac lty and so eti es

     19      disres ect           l e en.

     20                     I re e           er a     eetin      wit     t e        ac lty o        a

     21          asic science de art ent, I t in                        it co ld        a e        een

     22      cell        iolo y, and           e ca e o t o            t e     eetin     and        e

     23          ade a si n li e t is                  est rin          to say losers.

     24                     And t at was t e as ect o                        is c aracter t at

     25      I     ad a     ro le           wit ,     eca se -- and we tal ed a o t


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      1      t at --          eca se I, yo                  now, it s not           eca se       eo le

      2      don t          a e a lot o            oney t at t ey don t do wor                          or

      3      t e        ni ersity t at is e tre ely                         al a le in t e area

      4      o        researc       and ed cation.                 And t at was not -- t at

      5      was not          art o         ac     s interest.

      6                Q.         o, Dr.     oldsc           idt, did yo           e er doc       ent

      7      any o          t is     e a ior           y Dr.           ord and did yo        co nsel

      8          i     a o t it

      9                A.     I     ad con ersation a o t it wit                           i , yes.

     10                Q.     B t yo        ne er -- yo                 ne er doc        ented it.

     11      Correct

     12                A.         ot t at I re e                 er.

     13                Q.     Dr.     oldsc        idt --

     14                A.     B t I did tal                 to     y s     er isor,        resident

     15              alala, a o t it.

     16                Q.         ow, wit        re ard to t ose layo                    s, yo

     17      s         orted t ose layo                s.        Correct

     18                A.         otally.        I didn t -- I didn t necessarily

     19      li e t e way we went a o t t e ,                                t I certainly

     20      reco ni ed t at it was a                             st     or t e     ni ersity.

     21                Q.     And yo         ad        entioned so et in                 a o t, and

     22      I         still tryin          to     i        re o t, did           resident        alala

     23      tell yo          w y t at s e was ter inatin                          Dr.     ord

     24                A.     I t in        t at, o ay, t e reason t at I recall

     25      is t at s e was                ery         set wit            is re     sal to


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      1      interact wit                 t e        eo le t at s e           ad as ed          i     to

      2      interact wit , incl din                           oe     atoli, i        I recall

      3      correctly, t e c air o                          t e     oard, w o at t e ti e was

      4       eonard A ess, and wit                          Carlos Mi oya.

      5             Q.      And did yo                    co nsel Dr.        ord a o t t at                rior

      6      to ter inatin                     i

      7             A.              ay.            o t e decision to ter inate                      ac , i

      8      I recall,              a     ened in 2013,              ery early days o                2013,

      9      li e        an ary.           I        ad     een on t e        a ily     acation             or

     10      ten days, i                 I recall, and it              a     ened w en I ret rned

     11       e innin           o         an ary.           And I was as ed to attend a

     12       eetin        at t e              o se o         resident            alala.

     13                     I           I recall, it was in t e                    resence o          t e

     14       ro ost and                  o as           eBlanc, and t at is w en                   resident

     15        alala s ared wit                           e t at s e wanted to ter inate

     16      Dr.     ord.

     17             Q.      And did s e tell yo                       w y

     18             A.          es.                e said t at        e s creatin          a          e

     19      iss e wit              t e        ac lty and           e s not co         nicatin             wit

     20      t e     eo le o               er tea           any ore.

     21             Q.      And           rior to t at,              ad s e e er told yo                   w y

     22      or did s e e er tell yo                          t at s e        ad t ose concerns

     23             A.              e     ad        entioned t e           a co     le o       ti es.

     24             Q.      And did yo                    co nsel Dr.        ord a o t t e

     25             A.      I tal ed to Dr.                    ord a o t it, yes.


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      1             Q.      And are t ey re lected in any doc                       ents o

      2      any ty e t at yo              co nseled Dr.           ord a o t        resident

      3           alala s        re erence t at           e s ea     to Mr.       atoli or

      4      Mr.     eBlanc

      5             A.      It is        ossi le t at we e c an ed so e e ails,

      6           t I don t recall.              And I     e not re iewed any e ail

      7      o     t at ti e, so I co ldn t tell yo .

      8             Q.      And yo        incl ded no -- did yo             e er         a e a

      9          er or ance wor            lan wit        t e     erson t at yo

     10      directly s           er ised, Dr.           ord

     11             A.          ell,     s ally we        ad a     er or ance re iew

     12      once a year o               y 42 re orts, incl din             Dr.         ord, yes.

     13      I don t t in              t at -- I don t t in           t at -- t ere was

     14      one, I        elie e, I did in t e s                  er o    2012,          t t en

     15      t e ne t one wo ld                 a e     een in 2013 ne er           a     ened.

     16             Q.          o wo ld it        e     air to say t ere s no

     17      doc     entation t at yo                 co nseled Dr.       ord a o t t e

     18      concerns t at              resident         alala     ad con eyed to yo

     19      Is t at correct

     20             A.      I don t        now.        A ain, it co ld        a e        een

     21      e ail e c an e.               e     ad      ite a     it o    e ail e c an es

     22      wit         ac .     I don t re e           er.     I can t tell yo           yes or

     23      no.     I      st don t           now.

     24             Q.          et s switc            ears a little       it and tal

     25      a o t t e           irst ti e t at yo              learned t at t ere was


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      1      concerns a o t t e IM              inside t e de art ent o

      2      s r ery.       Do yo      recall w en t at was

      3             A.     I t in      t at t e        erson w o was t e              irst to

      4      co      nicate wit         e concerns a o t t e IM                    was t e

      5      c air o        at olo y, Dr.         ic ard Cote.

      6             Q.     And a     ro i ately w en was t at

      7             A.     I wo ld say         ro a ly --           ro a ly aro nd t e

      8      s      er o    2012.

      9             Q.        at s t e     irst ti e t at yo                 learned o       any

     10          ro le s a o t       at olo ists re ortin               t eir concerns

     11      to yo       and or Dr. Cote a o t t e                  e a iors o        -- I

     12      sorry.        tri e t at.

     13                       at was t e        irst ti e t at yo              learned t at

     14      t ere was concerns           ro     t e        at olo ists a o t t e

     15      trans lant la s inside t e de art ent o                          s r ery

     16             A.        ay, so t ere were co                 laints     ro     t e

     17      de art ent o           at olo y t at t ere wo ld                  e a la

     18      o tside o         at olo y, w ic           I        ad s ared wit        Dr.

     19          i in stone     ro a ly as early as t e end o                       2011.

     20                    By t e way, t ere was a                  a or -- at t e ti e,

     21      at t at ti e, Andy            a is        ad le t t e           ni ersity and

     22          i in stone was ser in           as t e interi              director o       t e

     23      Mia i       rans lant Instit te.               And t ere were             e

     24      iss es wit        t at.       ere was           i     ts a on          ysicians

     25      and s r eons.          It was -- it was a               ery di        ic lt ti e.


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      1      And so so eti es aro nd t e                      iddle o     2012 I as        Dr.

      2          aetano Ciancio to ta e on t e leaders i                      o     t e M I.

      3             Q.      And t at wo ld             a e     een in t e s         er o

      4      2012

      5             A.      Correct.            ro a ly A        st o     2012, i     I

      6      recall.

      7             Q.      And do yo           re e    er t at t ere was an e              ort

      8      to     et e ternal              ir s to in esti ate t e trans lant

      9      la s wit in t e de art ent o                      s r ery

     10             A.      I re        ested     or an o tside t ird             arty to

     11      co e and in esti ate t e co                      laints o     t e de art ent

     12      o      at olo y, yes.

     13             Q.      And did yo           assi n Dr.       enni er McCa        erty

     14          ernande     to        ead       t e    ettin     o      otential e ternal

     15      re iew tea s

     16             A.      My recollection is t at I as ed                   ac     to ta e

     17      care o        it.

     18             Q.           ay.     And do yo           now w et er     enni er

     19      McCa        erty and        er co nter art at            ac son ended

     20      re iewin            otential e ternal re iew tea s

     21             A.      De initely.

     22             Q.      And do yo           recall t at t ere was a ti e in

     23      w ic        t e reco        endation was to          ire     rans lant

     24      Mana e ent           ro     , or     M , so eti e in late s              er o

     25      2012


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      1             A.          es, I do recall t at.

      2             Q.      And do yo              recall a reein                 to, alon     wit     Dr.

      3       ord and           enni er McCa                 erty, to try to           ire     M

      4      t ro          t e     ni ersity, alon                    wit     a     ro al     ro

      5       ac son

      6             A.          es, I do recall t at.

      7             Q.      Do yo           recall aro nd t at ti e                    ro otin       Dr.

      8       i in stone to a role in -- I                             elie e an e ec ti e

      9      dean        osition

     10             A.          ea .         ac        was     ery s         orti e o        doin

     11      t at,        eca se        e saw Dr.              i in stone as so eone t at,

     12      yo      now, we s o ld -- we s o ld                             a e a close

     13      relations i           wit , rat er t an a distant relations i .

     14      And, t ere ore,                 y     a in         i , yo            now, in a

     15      leaders i           tea , we were                 o in     t at we co ld -- we

     16      co ld        rin      i        to     e     ore s         orti e o        w at we were

     17      tryin        to do        or        M and         ildin        t e     ealt     syste .

     18             Q.      Did t at wor                 o t

     19             A.          ot really.

     20             Q.           at do yo               ean

     21             A.      I t in           t at -- I t in                 t at Alan        i in stone

     22      was a        ery a        itio s           erson and I t in              t at     e really

     23      wanted to           e t e dean o                 t e Miller           c ool o     Medicine

     24      in     y stead, and so I don t t in                             t at     e really saw

     25       is     artici ation into o t                       ro         as, yo         now, a


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      1      co        it ent to           el      s     e s ccess           l.

      2                Q.      Do yo        recall in           e te     er o        2012 a letter

      3          ein        recei ed        y t e        ni ersity s Medical Co                    liance

      4          nit detailin              alle ations o               ra d inside t e IM

      5                A.      I do re e           er     a     ely, yea , t at t ere was a

      6      co         nication t at, yo                     now, is e en            rt er reason

      7      w y I wanted to                    a e a         ll-scale re iew o              t e

      8      acti ity o              t e IM .

      9                Q.      And were yo              aware at t at ti e o                 t e

     10          inancial contri                 tions o        t e IM        to t e de art ent

     11      o     s r ery s net inco e

     12                A.      I      s re I was.              I can t re e           er w at it

     13      was.           It was so ew ere aro nd -- no, I don t re e                                er.

     14      I don t re e                 er.     I don t re e           er t e s eci ic le el

     15      o     t at contri              tion,         t I re e           er t at it was not

     16      ne li i le.

     17                            e were at t e ti e a o t a 1.8 to two

     18          illion dollar or ani ation, so I t in                                it wo ld        a e

     19          een in t e ran e o                    one to two        ercent        ay e.

     20                Q.      And yo           said t at it was not ne li i le or,

     21           t anot er way, it was relati ely si ni icant

     22                A.          ea .     I     ean, it was one to two                    ercent o

     23      o r re en es, so et in                       li e t at, yea .

     24                Q.      Do yo        re e        er w et er any o              t e     ni ersity

     25      o     Mia i           at olo ists were re                 sin        to si n standin


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      1      orders           or tests t at were              enerated     y t e IM

      2                A.      I do not re e           er t at t e        at olo ists

      3      wo ld,           eca se t ey wo ld not              e t e careta ers                    or

      4      t e trans lant                 atient.        B t I do re e        er t at

      5          ac lty w o were t e internists in ol ed in t e care

      6      o     trans lant              atient re        sed to si n, yes.              At least

      7          i e o        t e .

      8                Q.      Did yo        consider Dr.        i in stone to              e

      9          ani        lati e

     10                A.      I do        a e so e serio s iss es wit                 Dr.

     11          i in stone.              I t in     t at     e s an indi id al wit

     12      so e c aracter                 laws, yes.

     13                Q.      I      sorry.         e s a     erson wit        w at

     14                A.      C aracter           laws.

     15                Q.      C aracter           laws.

     16                              ere     on, t e doc        ent was        ar ed as

     17                              i it 2        or identi ication.

     18      B     M .             MA :

     19                Q.      I want to s ow yo              -- let     e s ow yo                    i it

     20      2, w ic           is an e ail, dated               ly 2, 2012,           ro        yo        to

     21          resident            alala and t en an e ail              ro     yo        to        elson

     22          eic old.            o let s start at t e              otto .

     23                A.           ay.      et     e loo     at it.

     24                Q.           re.

     25                A.           ay.


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      1                Q.    Do yo        re e        er w at t is e ail was a o t

      2                A.     o, I            not s re.

      3                Q.    Do yo        re e        er t at s ortly t erea ter, yo

      4      sent a letter to Dr.                     ord doc     entin    a salary

      5      increase and e               ansion o         is d ties

      6                A.         at s t e ti e w ere t e role o                        ac         eca e

      7      o        iciali ed, yes, as t e c ie                  o eratin     o        icer.

      8                Q.     o          a little        it.    And yo     see t e e ail

      9      t at yo         sent to           elson     eic old:         elson, I            eard

     10          ro     Donna, s e s             orts,     lease     rocess t e c an e in

     11      co        ensation accordin               to t e letter, retroacti e                     ne

     12      1, 2012.

     13                A.     ea , t at so nds -- I do re e                    er t at

     14          eriod o      ti e, yes.

     15                Q.         ay.     And do yo        re e     er t at t is ca e

     16      a ter t e layo               s     or t e -- t at occ rred in May

     17      2012

     18                A.    A ril, May,               ne, yes, a sol tely.

     19                Q.    And wo ld yo              say at t is ti e t at Dr.                    ord

     20      was e ceedin               yo r e        ectations as t e C            o        t e

     21      Miller         c ool o           Medicine

     22                A.    De initely.

     23                Q.    And, in           act,     resident      alala s            orted

     24      t is c an e in co                  ensation and t e          oard o

     25      directors, or t e                  oard o     tr stees s         orted t is


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      1      c an e in co           ensation.         Correct

      2             A.      Correct.

      3                           ere    on, t e doc          ent was       ar ed as

      4                           i it 3       or identi ication.

      5      B     M .       MA :

      6             Q.       et s       o to         i it 3.

      7             A.      I t in       t ere was -- t ere was so e -- t ere

      8      was so e c an es t at Donna wanted                          e to e ec te to

      9      t e     rocess.        I can t re e            er w at t ey were,             t

     10      t ey were reasona le                  odi ications.

     11                     M .         MA :         ay.      o I         oin     to s ow yo

     12             t e     inal doc         ent     or     rintin       t at -- so t is

     13             is t e co er e ail, w ic                  is         i it 3.     And

     14             let s     o to           i it 4.

     15                           ere    on, t e doc          ent was       ar ed as

     16                           i it 4       or identi ication.

     17      B     M .       MA :

     18             Q.        y don t yo            ta e a     o ent.           e ll try to --

     19      w y don t yo           ta e a         o ent and read t ose             irst t ree

     20          ara ra     s, Dr.       oldsc       idt.

     21             A.       ea , I re e            er all t at.

     22             Q.       et s       o down        rt er.         o    see t at yo          will

     23      contin e to re ort directly to t e senior

     24          ice- resident          or     edical a       airs and dean o          t e

     25      Miller       c ool


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      1             A.         ea .

      2             Q.        And can yo               o down a little           rt er,     ac ie.

      3                       And do yo              see t e increase in          is ann ali ed

      4      co     ensation

      5             A.         ea .

      6             Q.        And i        yo        co ld   o to t e         otto , ne t to

      7      t e last --

      8             A.        By t e way, all t e salaries at t e

      9          ni ersity were -- were assessed                        y a co     any t at was

     10      doin        co    arison wit              si ilar    o     at ot er

     11          ni ersities,          edical center, and t is was totally

     12      consistent wit                t e a era e o          t ese salaries.

     13             Q.          ay.         o I want to           st to        o t ro       so e

     14      o     t e e cer ts o                t is letter.

     15                       M .          MA :        Can yo     o to t e to ,           ac ie.

     16             Q.        It says           Dear     ac ,    ince ta in        on t e role

     17      o     c ie       o eratin           o     icer o    t e        edical center in

     18      Marc        o    t is year...              t at s 2012.          Correct

     19             A.          -      .        It was.

     20             Q.         ...yo            a e dri en       ot     a      ysical and

     21      c lt ral t rnaro nd and set t e                           at      or contin ed

     22      trans or ation o                   o r     edical sc ool and          ealt

     23      syste .

     24                       Did I read t at correctly

     25             A.         es, correctly.


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      1            Q.     And t at was a tr e state ent.                            Correct

      2            A.     Correct.

      3            Q.     And yo        wrote t at on          e al           o     t e

      4       ni ersity.         Correct

      5            A.      es.

      6            Q.     And t at was wit             t e s       ort o              resident

      7        alala and t e            oard o       tr stees.        Correct

      8            A.     May e not e ery tr stees on t e                            oard,      t

      9      certainly on t e e ec ti e co                    ittee, yes.

     10            Q.     Certainly          resident         alala.              Correct

     11            A.     Correct.

     12            Q.     And w en yo            o down a little                    rt er --

     13      well, we ll lea e it ri                 t t ere.             o        already     old

     14      t e title o         c ie       o eratin     o     icer.                e a     oint ent

     15      was     ade at t e sole discretion o                  t e senior

     16       ice- resident            or    edical a        airs and t e dean o                    t e

     17      Miller      c ool o        Medicine.             at s yo .              Correct

     18            A.     Correct.

     19            Q.     And it says,           In addition, t e                   ni ersity o

     20      Mia i      oard o     tr stees a          ro ed yo r a                 oint ent as

     21      t e     ni ersity         ice- resident          or   edical

     22      ad inistration, e              ecti e      ne 1, 2027.                  Correct

     23            A.       -      .

     24            Q.     And, a ain, Dr.             ord re orted to yo .

     25      Correct            ere is no re erence o                 i           re ortin     to


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      1      any ody else.             Is t at ri           t

      2             A.         ea .        A ain, I t in         t at t ere was -- t ere

      3      was a side relations i                   wit       oe     atoli.        I don t              now

      4      i     it was       or ali ed or in or al.                  B t, clearly, t ere

      5      was.

      6             Q.      B t it s not in t at letter.                       Correct

      7             A.      I don t see it t ere, no.

      8             Q.      And yo           a en t re iewed or seen o                     a

      9      doc     ent t at wo ld s                 ort yo r contention t at t ere

     10      was a -- a side re ortin                      re   ire ent.        Correct

     11                     M . I IC           :           ection to         or .

     12             A.      A ain, I want to re ind yo , I                          a e not

     13      re iewed any o                t e doc     ent o         t at ti e, so yo

     14      wo ld       now     etter t an           e.

     15             Q.         o, essentially,              is ann al         ase salary o

     16          763,776 was increased to                   913,776,         150,000 a o nt

     17          or t e increased res onsi ilities t at Dr.                                ord was

     18      ta in       on.     Correct

     19             A.      Correct.

     20             Q.      And let s          o to t e         otto ,        ac ie.

     21                     And yo          ended -- yo         ended t e letter                 y

     22      sayin          ac , t e          ast se eral            ont s     a e        een

     23      trans or ational                or t e        c ool o      Medicine and                 or

     24           ealt .        o r tireless dedication to lead o r sc ool

     25      to     reatness          as     ade all t e di            erence.        I        reatly


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      1      loo         orward to contin in                 t is        o rney wit              yo     as a

      2       artner.

      3                     Did I read t at correctly

      4             A.      A sol tely.

      5             Q.      And yo               elt t at was a tr e state ent.

      6      Correct

      7             A.      A sol tely.                   at was e actly t e way I                          elt.

      8             Q.      And at t is                 oint in ti e, t ere was no

      9      concern wit              Dr.        ord s     er or ance o               is     o        or t e

     10      way     e was carryin                 it o t.        Correct

     11             A.          o.          ere was so e -- t ere was so e iss es

     12      t at we disc ssed wit                        ac , w ic           I     entioned to yo ,

     13      w ic        was, yo            now, res ect           or     ac lty, t e                 act

     14      t at so eti es                 e     ad a little           it o        an er        ana e ent

     15      iss e, and t e                 act t at        e was --              e was always

     16      tal in        a o t, yo               now, wars and war roo s and                          oin

     17      to war wit              t e tea , et cetera.

     18                     My        ision was a little                 it        ore s eci ic t an

     19      t at and we              ad disc ssions a o t it.                       B t t ese were

     20        st        ersonality iss es                 t at     is wor           was o            reat

     21        ality and I was                    ery     rate     l and I e           ressed it in

     22      t at letter.

     23             Q.           ese ot er concerns t at yo                            st        entioned,

     24      do yo        recall e er doc                 entin     t e           in an e ail or in

     25      any     or     o        doc        ent t at wo ld           e contained in                 is


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      1       ersonnel           ile

      2             A.         A ain, I     e not re iewed any e ail relati e

      3      or doc           ents relati e to t at              eriod o           ti e.           I don t

      4       a e t e , and, t ere ore, it s                           st        y recollection.

      5      B t, yo            now, t ere were witnesses.

      6                         ne o     t e e ent was wit              an indi id al na ed

      7      Don     tei        an w ere        ac      it t e des           o     Don           tei     an

      8      to t e           oint t at t in s           ell o         t e des .                 And we

      9       ad a con ersation a o t it and I told                                i        t at t is

     10      was not           e a ior t at wo ld           e     el         l to           s.

     11                        B t, loo , no ody s              er ect.                ay          ac        was

     12      doin        o erall t e        o        t at I descri e in t is letter

     13      and I was tr ly              o e        l t at o er ti e I wo ld                          e a le

     14      to address so e o              t e        ersonality           litc es t at                 e

     15       ad.

     16             Q.         B t yo     don t recall -- let                    e as        it t is

     17      way.         o     don t re e           er w et er yo           e er doc              ented

     18      any an er           ana e ent iss es wit              Dr.           ord.        Correct

     19             A.          o.     I don t t in        t at t ey were                    re        ent at

     20      all.             ere were     ay e one or two circ                    stances t at,

     21      yo      now, were a           it        ro le atic.        B t        ost o           t e

     22      ti e        e was a le to control.                  o I didn t see it as a

     23       ro le           t at needed to           a e coac in           or anyt in                 li e

     24      t at.

     25             Q.          o t e answer is no, yo                 didn t doc                 ent t e


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      1      in any --

      2             A.          e s ared a lot o                 t in s     y e ail, so     ay e

      3      I did        ention it to              i .    I don t want to say no,

      4          eca se it is           ossi le.          B t I don t recall a

      5          artic lar doc           ent t at I              re ared alon        t at line.

      6                           ere     on, t e doc              ent was     ar ed as

      7                           i it 5           or identi ication.

      8      B     M .          MA :

      9             Q.          et s     o e now to                i it 5.     I draw yo r

     10      attention, Dr.              oldsc        idt, to w at s           een     ar ed as

     11            i it 5, and t e                 irst    art o         t is e ail is dated

     12      A      st 14, 2012,              ro      enni er McCa           erty Ce ero.          o

     13      is     enni er McCa              erty Ce ero

     14             A.          enni er was t e              erson t at was c ar ed

     15      wit     --     y     ac .             e was really in           is tea ,     a in

     16      s re t at we didn t                    a e co        liance iss es wit in t e

     17      or ani ation.

     18             Q.      And did s e also                 o     y t e na e o         enni er

     19      McCa        erty     ernande , do yo                  now

     20             A.           e a     ot        arried to Mr.           ernande , yes.

     21             Q.           ay.     And can yo                st ta e a     o ent and

     22      read t is.

     23             A.           re.          ay.

     24             Q.      Do yo        recall t e serio s iss es t at wo ld

     25      re     ire care           l and t oro                in esti ation and


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      1      resol tion e anatin                    ro     t e M I and t e IM

      2             A.       ot s eci ically,                    t in s          stance, yes.

      3             Q.      And, in s           stance, we re tal in                    a o t w at

      4             A.      I t in           t at t ey were concerned t at t ere

      5      was o er illin              o     --    or t e IM              acti ities.

      6             Q.      And t e           erson w o was -- t e IM                       was wit in

      7      t e de art ent o                 s r ery.          Is t at correct

      8             A.        at s correct.

      9             Q.      And t e c air o                t e de art ent o                  s r ery

     10      was w o

     11             A.      Alan        i in stone.

     12                     M .          MA :        et s         st        o        a little     it,

     13              ac ie.             ay.

     14                           ere        on, t e doc          ent was            ar ed as

     15                           i it 6        or identi ication.

     16      B     M .       MA :

     17             Q.       et s        o now to               i it 6.          Dr.    oldsc     idt,

     18      I      s owin        yo     w at s          een     ar ed as              i it 6, w ic

     19      is an A         st 15 e ail             ro        yo ,        ac    and    enni er.           I

     20      yo     co ld         st ta e a          o ent and read it, it s to Dr.

     21      Cote and Dr. C en.

     22             A.        ay.

     23             Q.      Do yo        recall t at t is was t e                       e innin        o

     24      t e     rocess o            rin in          on t e        M        ro     to     er or        an

     25      inde endent re iew o                   t e alle ations and concerns


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      1      t at were e inatin                        y -- t ro        t e de art ent o

      2          at olo y and t eir concerns a o t t e IM

      3                A.       ea .        A ain, I was t e one w o                 ad re     ested

      4      to        a e a t ird           arty re iew o           t e alle ations.

      5                Q.           ay.

      6                              ere     on, t e doc           ent was      ar ed as

      7                              i it 7           or identi ication.

      8      B     M .          MA :

      9                Q.       et s        o to          i it 7.       et s     o down.           et s

     10          o down         rt er.            ee      oin .       at s      ine.         ay.

     11                        Dr.        oldsc        idt -- let s       st     o        a little

     12          it,        ac ie -- do yo              re e   er t e     ni ersity

     13      recei in           t is letter t at was addressed to t e                               ice

     14      o     Ins ector              eneral in        as in ton

     15                A.       a     ely, yea .

     16                Q.      And w at do yo              re e     er a o t it

     17                A.      My recollection is t at it was addressin

     18      t at Dr.               illi          i     was r nnin      t e IM       la      or Dr.

     19          i in stone, was doin                    w at it said.         It s to re ort a

     20          ra d.

     21                Q.      And w at was yo r reaction to t at at t at

     22      ti e, do yo              recall

     23                A.       ea .        As I        entioned, I was          s in        or a

     24      re iew o           t ese alle ations o                 t is and t e ot er

     25      alle ations t at we                       a e tal ed a o t         y a t ird


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      1          arty.

      2                Q.         And yo              were s         orti e o        t e en a e ent o

      3          M .        Correct

      4                A.             M     see ed to           e a reasona le co                 any to do

      5      it, yes.

      6                           M .             MA :         et s     o to          i it 8.

      7                                    ere        on, t e doc        ent was        ar ed as

      8                                    i it 8           or identi ication.

      9      B     M .                MA :

     10                Q.         I              st     oin     to s ow yo           a co     le o

     11      e ails.                      is one        ro     Dr.     ord, co yin           to     enni er

     12      McCa           erty Ce ero and to yo , as in                              or stat s as to

     13      t e en a e ent o                           M .

     14                           Do yo           re e        er i     t ere was -- do yo

     15      re e           er i           t ere was any ty e o                 a l ll        etween t e

     16      recei t o                    t e     I     letter, w ic           was          i it 7, and

     17      t e en a e ent o                           M

     18                A.         I        ean, I don t t in              t ey were a aila le

     19      ri        t away.              I     ean, t ey were               sy wit        ot er

     20          ro ects and we                       ot t e     to co e A A .

     21                                    ere        on, t e doc        ent was        ar ed as

     22                                    i it 9           or identi ication.

     23      B     M .                MA :

     24                Q.             et        e s ow yo              i it 9.          is is anot er

     25      e ail           ro           Dr.     ord to        enni er McCa           erty Ce ero


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      1      as in , yo            now, w at s t e ti eline                 ere, tryin           to

      2           s     it alon .

      3                A.        at was        ro a ly --

      4                Q.    And yo       a reed wit        t at.     Correct

      5                A.       ea .     I was     ro a ly         s in      ac     to

      6      accelerate t e              rocess.     And     eca se I was           ettin        a

      7      lot o          eed ac        ro      ic ard Cote o           t e de art ent o

      8          at olo y and, yo               now, I wanted to           a e t is done as

      9           ic ly as        ossi le.

     10                           ere     on, t e doc        ent was        ar ed as

     11                           i it 10        or identi ication.

     12      B        M .       MA :

     13                Q.    And let s s ow yo                i it 10.             is is

     14          cto er 10, 2012, anot er e ail.                    And yo        were

     15      s         orti e o          s in     alon     t e en a e ent o               M .

     16      Correct

     17                A.       ea .

     18                           ere     on, t e doc        ent was        ar ed as

     19                           i it 11        or identi ication.

     20      B        M .       MA :

     21                Q.        ay.     I d li e to now t rn yo r direction to

     22               i it 11.     Dr.     oldsc     idt, t is is an e ail                 ro

     23      yo        to Dr.     ord, dated        cto er 26, 2012.                e s         ect

     24          ay or      ay not       e rele ant,         t I      st wanted yo              to

     25      read yo r e ail to Dr.                 ord.


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      1             A.          ea .           A ain, as I                      entioned --

      2             Q.          et        e as           yo       a         estion.              I            sorry        or

      3      interr        tin .           It says                    ac , I            st want to                     s        t e

      4       a se         tton           or a second,                            yo        and tell yo                    t at

      5      yo      e done a              ec        o        a       o , a           rand           o         or     M.        I

      6      ne er say t an                    yo        eno           .        B t ri           t        ere and now,

      7      t an        yo ,        ac , and t an                         yo         artner.                  ascal.

      8             A.      Correct.

      9             Q.      Did I read t at correctly

     10             A.          es.        As I              entioned to yo ,                            ac     and I were

     11       riends.           I t in              t at a little                      it        e ore t is ti e

     12      we     ad recei ed t e news t at t ere was a                                                       etition to

     13       et rid o               s, and I was                      ery concerned a o t, yo

     14       now,        is way o              ta in             it, and so I wanted to

     15      enco ra e           i        to        et o er                is concerns and re ain

     16      en a ed and contin e to wor                                        wit         e.

     17                     I            st tell yo                   t at I was also                          ery

     18      concerned.              I     ro            t a re ar a le ad inistrator to                                              M

     19      in t e        erson o              Bill Donelan, an a sol tely s                                              er

     20      ad inistrator, wit                          a        eno enal trac                          record in

     21      acade ic           edicine, w o                      ad            ilt one o                 t e        est

     22       ealt        syste           in t e              nited             tates, acade ic                       ealt

     23      syste , and I                 ad lost Bill Donelan as a                                           artner.

     24                         ac        was a              ery di             erent        erson              ro     Bill

     25      Donelan.            e didn t                    a e t e e                erience wit                     ac lty,


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      1          e didn t         a e t e i               ense     now- ow o , yo                     now,         ow

      2      to interact wit                    ac lty and sta                    in t is ty e o

      3      enter rise.                B t     e        ad re ar a le                  alities.

      4                       And at t e ti e                    e was e tre ely down and

      5      sel -isolatin , i                      I can tell, and I was                       ery

      6      concerned t at wo ld a                         ect        is     er or ance in t e way

      7      t at wo ld             e     otentially ca sin                       is loss, and t at s

      8      t e last t in                I wanted to              a        en.

      9             Q.        Are yo           s re t at yo                  ad seen t e              etition

     10      at t is          oint

     11             A.        I          retty s re I              ad        eard o           t e     etition.

     12      I     ad not seen it.                   A ain, I didn t see it                         e ore I

     13      t in        end o           o e        er,     e innin           o     Dece        er.

     14                       M . I IC               :     Is now a           ood ti e to ta e a

     15              i e          in te        rea

     16                       M .             MA :          re.

     17                                  ID          A       :          ay.         e re        oin       o   .

     18                  is       ar s t e end o                  ideo        ile n            er two.              e

     19             ti e is 11:12 a. . and we re                                  oin     o         t e

     20             record.

     21                             ere        on, a        rie        recess was ta en, a ter

     22             w ic          t e     ollowin            roceedin s were                    ad:

     23                                  ID          A       :         e re       ac      on t e          ideo

     24             record.               is is t e start o                        ideo        ile n          er

     25             t ree in t e de osition o                               Dr.     ascal


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      1              oldsc        idt.          e ti e is 11:27 a. .

      2                           ere     on, t e doc              ent was        ar ed as

      3                           i it 12           or identi ication.

      4      B     M .       MA :

      5             Q.      Dr.     oldsc           idt, we        inis ed tal in          a o t

      6            i it 11.         ow I            s owin        yo     w at s     een    ar ed as

      7            i it 12, and t is is an                        date.

      8                     Can yo        tell           e w at t e si ni icance o

      9      t ese         dates was           ac        at t e ti e t at Dr.             ord was

     10      re ortin        directly to yo .

     11             A.       ea .        A ain,           ac     was a     riend, and I wo ld

     12      say a dear           riend, as well as a collea                       e, and I was

     13          ery concerned wit                  is     ood.

     14             Q.      Doctor, I               as in        a sli     tly di     erent

     15           estion.     I         as in        yo        a o t w at did t ese

     16           dates -- see it says s                        ect re      date          ere s

     17      e ec ti e            dates and t en t is went to I                       elie e yo

     18      ori inally.            et s        o down.

     19             A.       o.     I     ear yo .               e were      st -- we were

     20           st, yo      now,        ot         ery s a en           y t e news o        t e

     21          etition and we were en a in                       in con ersations t at

     22      were in raisin              t e ot er one s                 orale.

     23             Q.        y don t yo                 ta e a        o ent and read t is,

     24          eca se t is        as not in              to do wit        t e     etition.

     25           is was --


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      1             A.              ay.

      2                        M .          MA :        o down               rt er,       ac ie.                ay.

      3              o down.              All t e way down.                       ay.      ow     o         .

      4                  ay.         to     ri       t t ere.

      5      B     M .          MA :

      6             Q.          o t ese              dates or e ec ti e daily

      7          dates --

      8             A.              , o ay.            at was totally di                   erent.           I was

      9      tal in        a o t t e notes t at we were sendin                                    to eac

     10      ot er to           el        eac       ot er.

     11             Q.          i     t.        I    a e a sli              tly di       erent         estion.

     12             A.              ay.

     13             Q.          o w at were t ese e ec ti e daily                                     dates or

     14      t ese         dates           etween yo             and        i ,   etween a w ole

     15      tea     o         eo le                at did t ose --

     16             A.              ay, so t is was an idea o                            ac .     All o               s

     17      were        ery         sy     eo le.           e were           a in        eetin s all

     18      day lon           wit        all t e       ind o               eo le.       And     or t in s

     19      t at were really i                      ortant,           ac     wanted       or     s to

     20      write a            ic        note at t e end o                   t e day to              date t e

     21      ot ers o           t e        ro ress o             w at we were doin .

     22             Q.              ay.     And t ere s not in                       a ical a o t t is

     23      one,        er se.           B t as we          o          in t is e ail --                o             a

     24      little        it,        ac ie.            ay, sto              ri   t t ere.

     25                             is was a res onse                   y Alan          i in stone, and


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      1      it says,            ac , w at was t e                       ro osal to M MC                        As yo

      2       now, I        ad no in           t into de elo in                       any o           it and I

      3       ro a ly           now     ore a o t Mo nt                       inai and cancer care

      4      t an        ost ot er        ac lty.

      5                     Do yo        see t at

      6             A.          ea .

      7             Q.           en -- can yo                     o          a little           it     ore --

      8      and Dr.        ord s res onse went to yo .                                    o     can        o          a

      9      little        it         rt er.            i        t t ere.        And           e writes to

     10      yo     Monday, a. .,               e need to tell t e                             to sto

     11      w inin        a o t not           ein              cons lted.            e can           o e          to

     12      C B-3 and           e in as        any              eetin s as           e wo ld li e to

     13       e in.         e     as     een resistant to t at, away, and

     14       e ind on e ails.                  oo              ad.

     15                     And t en --                 o             a little        it        ore -- and

     16      yo     write         et s tal              a o t t at on Monday at o r

     17       ornin         eetin        wit        Alan.              My concern is t at                       e is

     18      so ne ati e a o t M                    .            Is t at Mo nt                 inai     os ital

     19             A.      Correct.

     20             Q.          And     e wo ld                 ro a ly        ill t e o              ort nity.

     21             A.          ea .

     22             Q.      All ri        t.        And so t is                 as not in              to do

     23      wit     t e        etition.        Correct

     24             A.          ot in .

     25                     M . I IC            :           I          oin     to o        ect to t e


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      1                 or .        I     t ere s a            estion a o t t is doc                    ent,

      2                 o a ead and as                 it.     B t t e            estion yo             st

      3             as ed, I o                 ect as to        or .

      4      B     M .             MA :

      5             Q.            B t t is was dealin                 wit        Mo nt     inai

      6          os ital           correct, Dr.              oldsc     idt

      7             A.             es, it s Mo nt              inai        os ital.        B t t is is

      8      not a new iss e.                     o w en I           irst ca e to           M, t ere

      9      was a        air o           tr stees t at as ed                    e to reconsider t e

     10          ossi ility o                  ettin     to et er           etween Mo nt           inai

     11      and        ni ersity o              Mia i.

     12             Q.            And wo ld it           e     air to say t at Dr.

     13          i in stone was not in                       a or o        t at

     14             A.            Dr.     i in stone and              te e        onenreic , w o was

     15      t e C            o     Mo nt        inai, were ene ies.

     16             Q.              ay.         o t e answer to              y         estion is yes,

     17      Dr.        i in stone was not in                    a or o           any relations i

     18      wit        Mo nt           inai     os ital.        Correct

     19             A.              at is an           nderstate ent.

     20             Q.             ow let s        o          a little           it      rt er.     And

     21      Dr.        ord writes to yo                      ow are yo               eelin ,     artner

     22           ere were yo                    aw yo        co e     y     yl ester t is

     23          ornin .            And yo        res ond,           oin              a little     it

     24          ore,     I        issed yo .                ere were yo ,              artner      I

     25      loo ed           or yo ,           and it        oes on.


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      1                     And was t is indicati e o                   t e relations i

      2      t at yo        and Dr.        ord    ad d rin           t is ti e        eriod,

      3      t at yo        re erred to eac             ot er as        artner and were

      4      really wor in           colla orati ely

      5             A.      It was really in a                ery      r ose        l e     ort to

      6       et     ac      ac     on trac       and     a e        i , yo         now,     eco e

      7      t e     erson I        ad     nown d rin          t e     irst si            ont s o

      8      o r relations i .

      9             Q.      Are yo        s re t at yo              ad seen t e           etition

     10      at t is        oint

     11             A.      I a     s re t at I          ad     eard o        it.

     12             Q.      And so w at did yo                 ear     e ore yo           saw it

     13             A.        at t ere was a             etition si ned              y 700

     14       ac lty and t at was to                 et rid o          -- a     etition o           no

     15      con idence.

     16             Q.      And w o was it directed towards

     17             A.       orry

     18             Q.      Did yo         now at t at          oint

     19             A.      Did I        now w at

     20             Q.      Be ore yo        saw t e          etition, did yo               now w o

     21      t e     etition was           oc sed on

     22             A.       o, I didn t -- I a sol tely did not                            now

     23      a o t t at           etition.       It was co           letely secret.           I

     24       a e no idea.           I     ean, yo        now,        s ally, w en t ere

     25      is a        etition,        eo le tal       early on a o t it and I


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      1      didn t           a e any           nowled e o              it at all.

      2             Q.          o is it yo r testi ony t at                                      e ore yo                 saw

      3      it t at t is a                    ected Dr.           ord s           o         er or ance

      4             A.              at it a           ected        ot        Dr.           ord and           y

      5       er or ance.                 My        er or ance, t e                        y w o, yo                  now,

      6      was t e           ero o           t e de art ent o                        edicine at D                       e,

      7      w o     ad a 75              ercent in              is last re iew a year                                e ore.

      8        ay             o, yes, it was a s oc .

      9             Q.         B t yo           see        to     e i        lyin           t at yo              re

     10      tryin        to         ild Dr.           ord s s irits                         at t is              oint.

     11             A.         I was.

     12             Q.         And I           nderstand yo                  a en t seen it and                                e

     13       asn t seen it.

     14             A.          e     , we           new it was              oin           on.          ay            And it

     15      was     ery di           ic lt to not                 a e seen it,                    eca se we

     16      co ldn t e en tell e actly w at it was.                                                e            st        eard

     17      t at t ere was a                       etition a ainst                    s.

     18                        I t in           t at        ay e        ac         ot wind o                 it           e ore

     19      I did.           I t in            e     ay        e t e one w o told                       e.           I

     20      re e        er I was in                 y o        ice.     I can see -- I can see

     21      t e     artic lar scene w en we                             o nd o t a o t it.                                And

     22      I re e           er I closed              y door and I went to sit down at

     23       y des , yo                  now, co           letely           a     led           y it.

     24             Q.              ay.         o at t is              oint, on              o e        er 3rd,

     25      2012,        y         estion is yo                 re er to              i     as     artner,                    e


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      1      re ers to yo              as     artner, and it a                    eared           ro     t e --

      2      I      not c erry              ic in , it a           eared t at t is was

      3      indicati e o              t e way t e two o                 yo           interacted wit

      4      one anot er and it a                 eared t at                 ot        o     yo         al ed

      5      eac        ot er.

      6             A.            co rse I        al ed        ac .               ac         ad tre endo s

      7           ality as an indi id al, I                    ean, and                    e was a        ood

      8          riend.

      9                           ere        on, t e doc           ent was                 ar ed as

     10                           i it 13        or identi ication.

     11      B     M .       MA :

     12             Q.       et s           o now to          i it 13.                 I      s owin        yo

     13      w at s        een     ar ed as            i it 13.                   e         st want to           o

     14      down to s ow              i     t at it s        een        ar ed as                      i it 13.

     15           ay.

     16                     And t is            r orts to           e one o                 yo r acti ity

     17      s      aries        or A ril -- i           yo         o             a little               rt er,

     18          ac ie -- acti ity s               ary,        o e           er 7, 2012.

     19      Correct

     20             A.           ay.

     21             Q.      And t is went o t                 ro        yo        to t e e ec ti e

     22      daily         date e ail c ain.              Correct

     23             A.           ay.

     24             Q.      And t e si t           asteris              down --

     25             A.       ea .


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      1           Q.     Do yo        see w ere it says,           ac ,     enni er MC,

      2       M   Cons ltants

      3           A.      es.

      4           Q.     It says           ac ,     enni er MC.     I ass     e t at

      5       eant     enni er McCa           erty.     Is t at correct

      6           A.      ea .

      7           Q.      M     Cons ltants.

      8           A.      ea .

      9           Q.      racy        iaco a, Barry Mars all, C ristine

     10      Mars all.

     11           A.          ay.

     12           Q.          ood con ersation a o t Mia i                 rans lant

     13      Instit te and t e need to                 a e s re co        liance and

     14      syste s are o ti i ed.                   e co   le ity o        a in     two

     15      colla oratin           instit tions,        M and       I ta e it t at

     16       eans     ac son

     17           A.      ea .

     18           Q.      ...t at collecti ely deli er solid or an

     19      trans lant care re              ires     artic lar attention.

     20                  Did I read t at correctly

     21           A.      otally.

     22           Q.     And i        we     o down to ta eaways -- and,              y t e

     23      way, a lot o           t ese e ec ti e daily            dates     ad a

     24      section     or a        reciation, ta eaways and I t in

     25       ro ress.        Is t at        ow t ese were        enerally     or atted


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      1             A.            e .

      2             Q.        And so        nder ta eaways, t e second asteris

      3      says        M        Cons ltants,        ood tea .            ill     ro ide

      4      re orts on             ey as ects o           M I.      ill need to ro nd in

      5      t e              ildin        a ain ne t wee           wit      ac .

      6                            at s t at re er to

      7             A.            ait, wait, wait.                ere do yo        see t at

      8             Q.        Do yo        see     nder ta eaways

      9             A.            es.

     10             Q.             e second asteris .              Do yo     see w ere it

     11      says --

     12             A.        I was        elow.          ay.       ood tea , will              ro ide

     13      re orts on             ey as ect o           M I.      ill need to ro nd in

     14      t e              ildin        a ain ne t wee           wit      ac .

     15             Q.        I     yo     recall.

     16             A.        I         sorry.

     17             Q.        I     yo     don t re e           er, Dr.     oldsc        idt,

     18      t at s          ine.

     19             A.        I         sorry.             ildin , it        ay     a e     een a

     20          ro ect to          o e t e la        or so et in           li e t at.           B t,

     21      I      sorry, I don t re e                   er t e initial            .

     22             Q.             ay.     B t at t is           oint --

     23             A.        I don t t in           it     a     ened, anyways,           eca se I

     24      wo ld re e             er i     it did.

     25             Q.             ay.      o at t is           oint, on     o e        er 7, 2012,


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      1      at least,                 ased on yo r acti ity s                        ary, it a       ears

      2      as t o                yo         elt co        orta le wit               M    and yo         elt

      3      t at t ey were t e ri                          t     it to in esti ate t e                   ey

      4      as ects o                 t e Mia i        rans lant Instit te, w ic                         also

      5      in ol ed t e IM                       and t e de art ent o                   s r ery.        Is

      6      t at correct

      7                A.      Correct.

      8                Q.      And           nder a     reciation, in                 act, one, two,

      9      t ree,           o r,           i t     asteris           down, it says             enni er,

     10          ac     and        M     Cons ltants              or a dit and             el in      s        i

     11      co        liance iss es wit                    M I.          o t at is          nder

     12      a        reciation.              Correct

     13                A.      Correct.

     14                                 ere        on, t e doc           ent was          ar ed as

     15                                 i it 14        or identi ication.

     16      B        M .          MA :

     17                Q.      I want to s ow yo                          i it 14 and as             yo        i

     18      yo         e e er seen t is doc                       ent        e ore.       Dr.

     19          oldsc        idt, t is a              ears -- t is                  r orts to       e a

     20          e o to        ile, Mia i              rans lant Instit te                   ac son

     21      Me orial              os ital,           o e        er 19, 2012.             Can yo      o

     22           st a little                  rt er,           ac ie.         o.         e ot er way.

     23           ay.         to        ri     t t ere.

     24                A.              ere did t at co e                 ro

     25                Q.          o          a little           it.     My         estion is       a e yo


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      1      e er seen t is doc                               ent           e ore       a e a   o ent and

      2      read it.

      3                  A.              ay.                e w istle lower was t e                  I     t in

      4                  Q.      Correct.                     et        e     now w en yo       e        otten to

      5      t e             otto , Dr.                 oldsc           idt.

      6                  A.              e     os ital side clai ed t at t ey were not

      7      a reea le to                      isit           y        M .     Is t at t e      ac son

      8          os ital

      9                  Q.      I            not           oin        to wei         in.   I        st as in

     10      yo          i     t is doc                 ent --              a e yo     seen t is doc         ent

     11          e ore               e can              o          a little            rt er.

     12                  A.      I really don t.                             It doesn t rin         any     ell.

     13                  Q.      Do yo              see w ere it says at 3:42                        . .

     14                  A.          ea .

     15                  Q.      Do yo              recall anyt in                    a o t t is call

     16      alle edly                   ro        Dr. Ciancio to t e Barry Mars all at

     17          M

     18                  A.          o         now, I do re e                       er t at t ere was an

     19      iss e related                         ro        Dr.        aetano Ciancio.         I don t           now

     20      i       I        now a o t it                    ro        t is doc        ent or direct             one

     21      call t at I recei e                                  ro        Dr. Ciancio, w ic            wo ld

     22          a       en     ery           re        ently.

     23                  Q.          ell, do yo                    re e        er w et er anyone re orted

     24      to yo             a o t t is -- a o t Dr. Ciancio --

     25                  A.      Dr. Ciancio,                          i sel .


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      1             Q.                 c se              e

      2             A.         I re e                    er Dr. Ciancio callin , tellin                                  e.

      3             Q.             o        re e                 er     i     tellin       yo        t at w at

      4             A.                 at        e           ad recei ed a                 one call           ro

      5      so eone and t at t ere was so e iss es wit                                                       so e ody

      6      losin            o .           I can t re e                       er t e details.                B t, yes,

      7      it rin s a                 ell.

      8             Q.                 ay.           And do yo                 recall e er s ea in                  to Dr.

      9      Ciancio a o t                       eelin                 inti idated a o t coo eratin

     10      wit        t e        M        in esti ators

     11             A.             es, I do re e                             er t at t ere was so et in

     12      li e t at t at                          a           ened, yes.

     13             Q.         And did                       e e er let yo                 now w o -- do yo

     14      see t e           ara ra                        t at says           Dr. Ciancio wanted to let

     15       e     now t at t ey                                ad     een instr cted                ro     t e,

     16           ote     n        ote,              i           est le els to             e     a     e and

     17      stando           is        wit                  s          Do yo     see t at

     18             A.                 ay.               ea , I see it.                I do re e              er    a in

     19      a con ersation wit                                   Dr. Ciancio a o t t is and I told

     20       i     t at           e did not need to                             a e any             ear, t at       e

     21      s o ld tell                    eo le e actly w at                         e        nows and t at I

     22      wo ld        rotect                 i           i        t ere was any atte                   t to ta e

     23      ste        a ainst              i           i            e was -- i           e was tellin

     24      so et in              t at              eo le didn t li e.                         I don t        now w o

     25      is t at, 504-616-1481,                                         y t e way.


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      1             Q.          o to t e             otto ,           ac ie.

      2             A.      I         sorry

      3             Q.      I             st        oin     to s ow yo              w o t at             erson

      4      is.         o yo        see t ere was written                         y Barry          .

      5      Mars all.               e was one o                t e cons ltants                or        M .

      6             A.              ay, yea .

      7             Q.      All ri             t.        And did yo           e er as          Dr. Ciancio

      8      w o was tellin                    i     to     e        ncoo erati e wit                   t e           M

      9       ol s

     10             A.      I         s re I as ed                   i .

     11             Q.      And do yo                recall w o              e told yo          t at              erson

     12      was

     13                     M . I IC                 :              ect as to           or .

     14             A.      I         sorry, I don t recall i                             e answer                y

     15           estion or not.

     16             Q.          as it Alan                i in stone

     17             A.      It s          ossi le.              I      st don t -- I really

     18      don t        now.        I do re e             er t e           art w ere I told                         i

     19      no     atter w o tries to in l ence yo r interaction wit

     20       M , let           e     now,          eca se yo              will     e     rotected                y       e

     21      and I will not let t at                            a     en.

     22             Q.              ay.

     23             A.      B t I              sorry, yo               now, t ere is ten years

     24      a o.        It is        ossi le t at it was                         i in stone.                 o

     25       now, Alan was a                      ery -- is a              erson t at is not in                              y


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      1          eart.         e was not so e ody I li ed.                          And     e was

      2          s ally t reatenin                        eo le in        is de art ent, anyways.

      3          o t is co ld                 e     i .

      4                        B t I don t re e                    er t e details o               y

      5      con ersation wit                       Dr. Ciancio.           I don t want to acc se

      6      i     I         not a sol tely s re.                    I      st don t        now.

      7                                 ere        on, t e doc           ent was     ar ed as

      8                                 i it 15           or identi ication.

      9      B     M .          MA :

     10                Q.       et s              o to       i it 15.        A ain, t is is

     11      anot er e ec ti e daily                           date yo        sent o t on

     12          o e        er 21st.                e acti ity s            ary is dated              o e   er

     13      20t , 2012.                 And I d li e to                 o to t e        otto     t at

     14      says a           reciation.

     15                A.           ic        one

     16                Q.       o        see t e last asteris                  nder a           reciation

     17                A.       ea .

     18                Q.      And it says                  ac ,     or aweso e           artners i

     19      wit        to          ne otiations.

     20                A.           -         .

     21                Q.      Did I read t at correctly

     22                A.       ea .

     23                Q.      And do yo                 recall w at t ose ne otiations

     24      were at t e ti e

     25                A.       ell, loo , we were dealin                          wit     two


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      1      de art ents t at were                          i        tin , t e de art ent o

      2       at olo y, t e de art ent o                                   s r ery.          e     ad I t in

      3      t is is at t e ti e o                          -- sorry, I didn t catc                           t e

      4      date --            t I ass              e t is is at t e ti e o                           t e re iew

      5       y     M , so I                  ess t at was w at it was re errin                                       to.

      6             Q.          e can -- we can                       o         .

      7             A.              ay.

      8             Q.          i        t t ere.               ee

      9             A.          ea , I t in                 t at t at was d rin                        t e        M

     10       isit.         o

     11             Q.          o        M     was on ca                  s, yes, aro nd t at ti e

     12       eriod, t at s correct.

     13             A.              ay.

     14             Q.      I t in               y         estion is a little                     it

     15      di     erent, dealin                    wit        yo r a              reciation      or        ac         or

     16      to          ne otiations.

     17                         o is t ere anyt in                          in t at acti ity re ort

     18      t at tri           ers yo r recollection as to                                 ac         or aweso e

     19       artners i              wit        to          ne otiations

     20             A.      I don t.                  orry.           I see t at we               ad -- I was

     21      re ortin           on a           eetin        wit           tr stees,         eonard A ess,

     22       t art Miller,                    enny        adre,           ac        and   resident

     23           alala.            on         eetin        on        ac son and e cl si ity.

     24       ea , I t in                    t at s w at it s re errin                           to.

     25             Q.      And did yo                     a e any concerns wit                        Dr.        ord s


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      1       o      er or ance at t is ti e

      2             A.          o         ean in t at                    artic lar sit ation

      3             Q.          ea .           I            tryin        to     i     re o t w en yo             ad

      4       entioned t at t ere was t is                                      etition and t at yo

      5      were        latterin                  ac           at ti es to           ee     is s irits           .

      6      B t I         tryin           to           i           re o t w et er or not Dr.               ord s

      7       o      er or ance was i                                aired in any way.

      8                     M . I IC                        :           ect as to          or .

      9             A.              is was not t e                       M    iss e t at I was

     10      re errin           to.        I was re errin                       to a co        letely

     11       nrelated con ersation t at we                                         ad, w ic      was also

     12       ery di        ic lt.                 Do yo              want to        now

     13             Q.              re.        My               estion is w et er or not at t is

     14      ti e,        o e        er 20, 2012, w et er yo                                ad concerns

     15      a o t Dr.              ord s           o               er or ance.

     16                     M . I IC                        :           ect as to          or .        o a ead

     17             and answer.

     18             A.          es, I was.

     19             Q.      And w y was t at

     20             A.      Beca se, as I                             entioned to yo ,            ac     was not

     21      t e     erson I              ad        nown              e ore we recei ed t e               etition

     22      and     e was            c            ore detac ed and less constr cti e in

     23       is interaction wit                                ot ers, and           e was not

     24           nctionin           t e way                    e      nctioned        e ore t e news o

     25      t e     etition.


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      1                       is is           y o ser ation.              I        not     oin        to

      2      c an e it.           I was always tryin                 to identi y             oints

      3      w ere     e did a           ood     o ,     eca se I was tryin                      to        a e

      4       i      eel t e           est I co ld,        a in           s re t at          e wo ld

      5      not      it on        e.        B t, yes, t ere were iss es.

      6                      et        e e     lain to yo           w at t is was in

      7      re erence to,              eca se t is is anot er iss e t at was

      8      really really c allen in .                         ay

      9                      o in o r relations i                    wit          t e     ac son

     10       ealt      yste , we didn t do trans lants, e ce t                                        or

     11       one     arrow trans lant at                 yl ester.                 e didn t do any

     12       ediatrics, we didn t do any                       B             .    And     ost o           t e

     13      ort o edic s r eries were                    ein        done at             ac son

     14      Me orial        os ital.           Most o     t e cardio asc lar

     15      acti ities were also done at                       ac son Me orial.

     16                  I        yo     loo     at t e     ey ser ice line in an

     17      or ani ation, I                 entioned, e ce t                 or cancer, cancer

     18      was t e only one t at we                    ad t at t e                ni ersity o

     19      Mia i      lly de elo ed,                 t t ere was an iss e.                               e

     20       ead o     t e        ediatric oncolo y                 ro           ca e to see              e,

     21      and I t in            ac        was t ere as well, and re orted t at

     22      as a conse           ence o        t e    inancial di                 ic lty o

     23       ac son, t e              one     arrow trans lant                   nit at     ac son

     24      was no lon er s ita le to do                       one           arrow trans lant on

     25      c ildren.             at is not a s all iss e.                         It was an


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      1      a sol tely      nda entally critical iss e.

      2                   o I as ed w at can we do.                    And     e said,

      3      well,     ay e w at we co ld do,                 eca se we        ad     ids wit

      4      cancer w o were co in              to     ac son,         lio Barredo, w o

      5      was t e indi id al w o was in c ar e o                          t at     ro ra ,

      6      told     e, well,   ay e we can as                Mia i C ildren, it was

      7      not     ic olas at t e ti e, it was Mia i C ildren

      8       os ital, co ld        el         s and allow           s to do a        one

      9       arrow trans lant at Mia i C ildren                       ntil t e        nit at

     10       ac son is     i ed.

     11                    ere are e tre ely s eci ic criteria                          or a

     12       one     arrow trans lant           nit to        e accredited, and at

     13      t e ti e, t e concern o                   lio Barredo is t at t e

     14       ac son     nit was not            l illin        t is criteria.

     15                   o t at con ersation t at I re erred to was

     16      a o t t e iss e        etween           ac son, w o was            rio s t at

     17      we were considerin           doin         one     arrow trans lant at

     18      t e Mia i C ildren           os ital, and started to                     set t e

     19       ac lty     y tellin        t e     t at we        ad decided to           o to

     20      Mia i C ildren wit           o r        one     arrow trans lant

     21       ro ra .

     22                    at was not t e case.                  e      st wanted to

     23      deal wit     t e serio s c allen e on t e s ita ility o

     24      t e     acilities t at were at                ac son to do         one     arrow

     25      trans lant.     I   we were to lose one                   id     eca se o


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      1      in ection in a                   acility t at was no lon er                                 nctional,

      2      it wo ld                a e     een a catastro                 e.             ay       al        a o t

      3      laws it.                  at wo ld           e one        or s re.                 And so it

      4      was -- it was a di                      ic lt sit ation.

      5                             I t o      t t at        ac        did a              ery     ood     o        at

      6          resentin             t e sit ation and I wanted to t an                                       i         or

      7          a in           el ed wit           t at iss e, w ic ,                          y t e way,

      8      res lted in a                   ery,     ery         set        ac lty o              t e        eo le

      9      w o were wor in                   at     ac son           ro            M,     eca se t ey                 elt

     10      t at we were tryin                      to     o e, yo                  now, an i           ortant

     11          ro ra          o      ac son to a co              etin               os ital.

     12                Q.           And at t e end o              t is           artic lar acti ity

     13      s         ary yo          wrote         ac ,        or aweso e                 artners i              wit

     14      to             ne otiations.                 Correct                o         a e to say yes or

     15      no.

     16                A.            es, I do.

     17                                ere     on, t e doc              ent was                 ar ed as

     18                                i it 16        or identi ication.

     19      B     M .               MA :

     20                Q.            et s     o to          i it 16.                       i it 16 is dated

     21          o e        er 22nd re ardin                 a     y         an s i in ,                 artner.

     22      And Dr.                ord sends yo           at t e           otto           an e ail.

     23           ascal, t is is o r                      irst         an s i in                 to et er and

     24      didn t want to                   iss t e o           ort nity to say t an s                                or

     25          ein        a       reat     artner in           any di ensions,                    ro        s arin


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      1      leaders i              to a         nc     o     ti es wit             near

      2          ncontrolla le la                     ter, to really                r tal        o ents.         I

      3      want to           e s re I say t an                   yo            or t e o        ort nity to

      4      contri           te and        a e a di           erence.

      5                        And t en yo              res onded, let s                   o          a little

      6          it, and yo              wrote        And ri       t        ac     at yo ,           artner.         I

      7      t an        yo         or an aweso e ride,                          t, a o e all,             or

      8      yo r        riends i .              My lo e to Alice,                   et cetera.              Did I

      9      read t at correctly

     10             A.             es.

     11             Q.         And, a ain, t is was indicati e o                                     t e

     12      e c an es t at yo                        ad wit       Dr.           ord, i        not daily,

     13      certainly wee ly.                    Correct

     14             A.             otally.

     15                              ere        on, t e doc             ent was           ar ed as

     16                              i it 17           or identi ication.

     17      B     M .             MA :

     18             Q.             et s     o to             i it 17.              o down,           lease.

     19      Dr.        oldsc        idt, I            s owin          yo        w at s        een     ar ed as

     20            i it 17, w ic                 is a        o e       er 26, 2012, e ail t at

     21      yo     sent to               o as        eBlanc, w o was t e                      ro ost,

     22      co yin           Da id Birn ac , Donna                          alala,        onat an           ord,

     23           eri     eit , s               ect,        enate on MC.                  at s MC

     24             A.         Medical Center.

     25             Q.         I          oin     to read it and I                        oin        to as      yo


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      1      i        I read it correctly.                      Dear         o , At o r last

      2      one-on-one                    eetin    wit     t e     resident, I learned t at

      3      a scoldin                 re ort, in           otes, is           ein         re ared        y t e

      4      senate co                 ittee c ar ed to re iew                       ealt      or     M

      5      e        loyees.              An interi       re ort wit           a      c     lar er

      6               rella t an               ealt        or     M e        loyees        as already

      7          een                lis ed and we          a e res onded to it as

      8      constr cti ely as                      ossi le.

      9                                e     a e not seen a dra t o                   t e     inal re ort

     10      on t e                 edical center and t ere is no e idence t at

     11      t e co                 ittee so        t access to t e o                 icial serio s

     12      data ases.                     And t en, in          arent esis, s r eys and

     13      ot er o                 icial e istin          data ases.                 ey did        eet

     14      wit            e        ers o     t e core tea                 or t e     edical center

     15      at o r re                 est.         e o tco e o              t ese     eetin s was

     16          i     ly           aria le, accordin             to o r tea .

     17                               Considerin          t e     otential da a e t at a,

     18              ote        n     ote, scoldin          re ort           ased on r        ors,

     19      inn endos and                    se do s r eys,                ersonal        eelin     and or

     20      e        erience co ld create a serio sly ne ati e i                                     act on

     21      o r           ealt        syste       and, conse           ently, on o r

     22      instit tion, we are wonderin                               i     we co ld        a e a        i

     23      le el con ersation a o t t is iss e.

     24                                ere s a            t ere, and t en attac ed -- I

     25      don t              elie e t ere s an attac                      ent to t is.            o did I


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      1      read t at correctly

      2             A.         Correct.

      3             Q.         All ri          t.        A ain, so t e scoldin              re ort, is

      4      t at t e           etition t at yo                were re errin           to

      5             A.          ot at all.

      6             Q.              at was t e scoldin                re ort

      7             A.         It was a des ica le acti ity o                         t e     ac lty

      8      center.

      9             Q.              e     etition was so et in                else.     Correct

     10             A.         Co        letely se arate.

     11                                 ere    on, t e doc           ent was     ar ed as

     12                                 i it 18          or identi ication.

     13      B     M .          MA :

     14             Q.          et        e s ow yo                i it 18.      e can        o to t e

     15          otto ,        ac ie.               ay.

     16                         o t is is                  i it 18.        is is dated

     17      Dece        er 6 --

     18                        M . I IC              :     17 or 18

     19                        M .            MA :          is is 18.

     20      B     M .          MA :

     21             Q.              is is dated Dece                er 6, 2012.             is is an

     22      e ail        ro        yo .       It ca e        ro     yo r e ail address,               t

     23      t e si nat re is                   ascal and           ac .   And t ere s a          d

     24      attac ed, and we will                         et to t at in a second.              Do yo

     25      want to ta e a                   o ent and read t is, Dr.                 oldsc     idt.


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      1           A.          -        .      e .

      2           Q.      o       y         estion is does t is re res                 yo r

      3      recollection as to t e ti eline a o t seein                               t e

      4       etition, w ic                is attac ed to t is e ail

      5           A.      ea , I             elie e t at s w en we              inally

      6      recei ed t e doc                ent.

      7           Q.     As a          atter o            act, let s     o to e        i it --

      8       e ore we do, I wanted to as                      yo     -- can yo         o       a

      9      little     it,       ac ie -- do yo              see     resident         alala s

     10      res onse to yo

     11           A.          ere is it

     12           Q.     It s at 6:52                . .

     13           A.          ,       y t e way, t is is not a o t -- it is

     14       ro a anda, yea .

     15           Q.      o.               at s yo r res onse, see at 6:52                    . .

     16      Donna      alala wrote             I     elie e yo        need --

     17           A.      I       elie e yo           need to tal        to     ro      o

     18       ac lty to con ront t e                      and answer      estion a o t

     19       ac .       end so e ti e in                   an ary reac in           o t to

     20       eo le.          ere is considera le con                   sion a o t t e

     21       ac son a ree ents.                I     a e warned yo            e ore yo r

     22      co      nication is wea                wit     t e entire        ac lty, not t e

     23      c airs.          e latest r             or is t at C ildren is...

     24       ea , yea , t at s w at I                       tal in     a o t.

     25           Q.      o t is is dated Dece                      er 6t .


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      1                A.          ea .

      2                Q.          arlier yo          were tellin         s t at yo            ad

      3          nown a o t t is                etition.

      4                A.          ait, wait, wait, wait.                     ere are se eral

      5      t in s.               o, yes, we          eard a o t t e           etition in

      6          cto er.                is is t e iss e I              st told yo           a o t

      7      in ol in               ac son and t e re             est     ro     t e        ead o

      8          ediatric oncolo y,                    lio Barredo, to no lon er do

      9          one        arrow trans lant in an ina                   ro riate           acility at

     10          ac son.           Mo e it to C ildren                os ital        ntil     ac son

     11      atte           t to        i    t eir     acility.          is is w at Donna

     12           alala is re errin                   to.

     13                Q.           ay.        et s     o to t e        otto .

     14                A.           e       entioned        ac son.       e     entioned I

     15      t in           -- s e t o              t t at we     ad not        ade at all t e

     16      a     ro riate case to t e                      ac lty relati e to t e                 one

     17          arrow iss e                or C ildren.

     18                Q.      I want to direct yo r attention to yo r e ail

     19      to        er at 5:36             . .     It says         e want to        a e yo

     20      aware t at t e attac ed                         etition is        ein     circ lated

     21          y so eone at t e Miller                      c ool o     Medicine.

     22                        Do yo          see t at

     23                A.          es.

     24                Q.      And w o are yo                re errin     to     y a so eone

     25                A.      I t in          it was Alan        i in stone.                ere were


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      1      two     eo le t at were dri in                      t e     rocess, accordin           to

      2      w at I        eard.           Accordin        to w at I        eard.     I cannot

      3           arantee yo              t at it s t e tr t .              B t t ere were two

      4          eo le w o were dri in                    t is     etition.         ne was Alan

      5          i in stone and t e ot er one was                         anny      ardner.        wo

      6      indi id al w o,                 y t e way,          e ore I      ot t e     o    at        M

      7      and I inter iewed wit                       tr stees, two tr stees told                e

      8      t ere are two                 eo le yo        need to       ire, Alan

      9          i in stone and              anny        ardner.

     10             Q.      And           anny     ardner s cceeded yo              as t e dean

     11      o     t e Miller              c ool o        Medicine

     12             A.          o, no.

     13             Q.          o

     14             A.      I retired in                  ne o     2016 a ter ten years,

     15      w ic        is a        retty lon           ti e to       e a dean at any

     16          edical sc ool in t e                    nited     tates.

     17             Q.              ay.          e ne t sentence says                 io sly, t e

     18      iss e relates to                    ear o     c an es in o r relations i

     19      wit         ac son.

     20                     Did I read t at correctly

     21             A.          i     t.

     22             Q.          And it is not t e                irst ti e t at si ilar

     23      doc     ents           a e     een circ lated to               rt t e dean o          t e

     24      Miller        c ool.            Correct

     25             A.      Correct.


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      1             Q.        o     will re e           er t e nasty anony o s letter

      2      t at was circ lated in 2009,                              st a     ew           ont s     e ore

      3      t e 2010 o           icial re iew o                 t e dean           y        ac lty,

      4      or ani ed        y t e        ac lty senate, ca e                          ac     wit      ore

      5      t an 70        ercent s            ort,        w ic        yo     told           s a o t

      6      earlier.        Correct

      7             A.       ea .

      8             Q.      All ri        t.         o yo        t in        t at        er a s t e

      9      so eone was Dr.              i in stone and                 ay e           anny     ardner as

     10      well.        Correct

     11             A.       es.        B t I        nderstand yo r con                       sion.         ay

     12        ere were se eral t in s                          oin     on at t e sa e ti e.

     13        ay          ne is we        inally           ot t e o           icial doc              ent

     14       ro     t e     ac lty senate on t e                       etition.                ay

     15       econd, w ic           I     elie e I              entioned, and s arin                    wit

     16      Donna         alala.

     17                      econd, we           ad t is ac te iss e t at too                               an

     18       nreal di ension o                 si     ly tryin              to sa e t e li e o

     19      c ildren w o needed                 one        arrow trans lant.

     20                     And t e        ac son -- t e                 ac son leaders i ,

     21      to et er wit , I              elie e,              anny     ardner and Alan

     22       i in stone, too              a ain t is o                 ort nity to              o a ter

     23       e w en I was               st doin            y     o , w ic              is to        a e s re

     24      t at        ids in     o t         lorida and              er ,        eca se we were

     25      also doin            one     arrow trans lant to c ildren co in


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      1       ro         er , co ld          a e t is    one     arrow trans lant done

      2      in conditions t at were consistent wit                          t e

      3      re     ire ent o             t e accreditation or ani ation.

      4                           o t ere were se eral iss es at t e sa e ti e

      5      and I totally                nderstand t ere is a little                  it o

      6      con     sion a o t it.

      7             Q.        And in t e        iddle,    resident           alala s

      8      res onse to yo , i                yo    o          st a little                it, s e

      9      says        I    elie e yo        need to tal       to    ro        s o            ac lty

     10      to con ront t is and answer                      estions wit o t                   ac .

     11                       Did I read t at ri          t

     12             A.            ea .

     13             Q.        And s e was tellin          yo     to tal          to        ro     s o

     14       ac lty and to con ront t is and answer                              estions

     15      wit o t          ac .        Correct

     16             A.            et     e see e actly w at s e s sayin .

     17             Q.        Did I read t at correctly

     18             A.            ea , yea .

     19             Q.        And so s e was tellin             yo    to     o o t and tal

     20      to t e          ro        s and con ront and answer             estions

     21      re ardin             t is

     22             A.        Correct, yes,         eca se Donna was concerned

     23      t at, a ain, w en it ca e to interaction wit                                       ac lty,

     24       ac     was dis issi e, disres ect                  l and dis ara in .

     25             Q.        And so did yo , in          act, tal          to        ac        a o t


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     1      t at at t is ti e

     2             A.      I don t t in              t at I tal ed to                   i     a o t t at

     3      at t at ti e.              B t, as I           entioned, we             ad a           ran

     4      e     lanation a ter              e ca e o t o              a    eetin           wit

     5          ac lty and did t e                  si n on        is       ead.             at was        ery

     6      c ildis , ina              ro riate and              ncalled          or.

     7             Q.      B t it was ne er doc                    ented.          Correct

     8             A.      I don t           now.        It is     ery       ossi ly

     9      doc     ented.           I don t        a e        y e ails wit                 i , so I

    10      can t tell yo .              I         st don t re e             er e actly w at I

    11           t on    a er.         B t I        ro a ly sent             i     an e ail a o t

    12      it.     It was           ro a ly        entioned in an e ail to                         i .

    13             Q.          o it wo ld           e in t e        ni ersity o                Mia i

    14      syste .        Correct

    15                     M . I IC            :           ect as to             or .

    16             A.      I        I wrote an e ail to                 i    a o t it, yes.

    17      B t     ac     and I were              ostly disc ssin                iss es           er ally,

    18          eca se we were tal in                    to eac     ot er e ery day.

    19             Q.      And,        y t e way, at t is ti e, did yo                                  e er

    20      co nsel Dr.              ord a o t           ailin     to res ond to                   oe

    21          atoli or        o      eBlanc as well

    22             A.      I de initely did                    ention to          i , yes.

    23             Q.      And did yo              doc     ent t at

    24             A.      I don t re e              er.        I can t tell yo                yes or

    25      no.     I      st don t re e                 er.     It s ten years a o.                       o


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     1          now, it s a          iracle t at I re e                   er t ese iss es t e

     2      way I do.        I         st can t re e          er e eryt in               I     t on

     3          a er or told           i    orally.

     4             Q.       oin             to t e to , at 8:54, yo r res onse

     5      to     resident            alala, it says             B       .     I      ess t at

     6          eans     y t e way.

     7             A.      Correct.

     8             Q.            is is not a          ote.        It is         ro a anda o          t e

     9      worst ty e.              nacce ta le.        I will               a e     y second

    10      o     icial dean re iew d rin                2014.                ac lty can       ote

    11      t en.

    12                     Did I read t at correctly

    13             A.      Correct.

    14                           ere       on, t e doc        ent was               ar ed as

    15                           i it 19       or identi ication.

    16      B     M .       MA :

    17             Q.      And, in          act, let     e s ow yo                     i it 19.       Do

    18      yo     re e     er       resident         alala, a ter yo r re iew,

    19      sendin        t is to t e          ac lty

    20             A.       es.

    21             Q.      And, in          act, at t at ti e, t is was in t e

    22      s      er o     2014, t at t e             ac lty still                  elie ed t at

    23      yo     s o ld        e     ired as dean.          Correct

    24             A.        ay, so let          e as        yo       a        estion.       Do yo

    25      t in        t at is co          letely rando , t at a ter we wor ed


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     1      wit        Dr.           ord,     or so eone t at recei ed a                          oster si n

     2          y e ery sin le                 ac lty o           D        e sayin     a a in           o    I

     3          ad done, so e ody w o                       as        een reco ni ed as t e

     4      c air o              t e wo en o             t e de art ent o                   edicine at

     5      D        e, so e ody w o was                    elo ed and recei ed a letter

     6          ro     t e           resident o          t e          io     tate     ni ersity

     7          e     in         i     not to lea e t e                    ni ersity, w o recei ed

     8      a 70           ercent re iew in 2010,                          eco es all o           a s dden,

     9      o t o           t e        l e, so e ody t at is re ected                             y t e

    10          ac lty

    11                           Do yo        t in       t ere is            ay e a sli           t

    12      relations i                     etween t at and Dr.                 ord          ow a o t            e

    13      s in           Dr.        ord,     eca se o               is     e a ior          e destroyed

    14      a          e     art o            y career.

    15                Q.         Dr.        ord did

    16                A.               io sly.           ow is it t at I               a e all o

    17      t ese           ositi e reco nition, and t en a ter wor in

    18      wit            i , I           eco e a       aria

    19                Q.         A     aria          Is t at w at yo                 said

    20                A.             es.

    21                Q.         Did it        a e anyt in                 to do wit        t e       etition

    22                           M . I IC            :           ect as to           or .     I        not

    23                s re w at yo               ean.

    24                A.              y do yo        t in        t e        etition occ rred

    25                                 ere     on, t e doc                 ent was     ar ed as


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     1                              i it 20                 or identi ication.

     2      B    M .              MA :

     3             Q.             et s        o to                i it 20.

     4                        M . I IC                  :         e     , w en yo               et to a           ood

     5              rea in           s ot, let s ta e a                             rea         or l nc ,

     6              eca se I                 a e a           eelin           yo     re not           oin     to     e

     7             done soon eno                            so we can s i                 l nc .

     8                        M .             MA :               ea , o ay.           I ll            st     o to t e

     9              etition,                 ric, and t en I ll as                              i          estions

    10             and t en we can                          rea .

    11                        M . I IC                  :             ay.          at s     ine.

    12                                   I              :         o     did not res ond to                    y

    13                  estion, t o                     .

    14      B    M .              MA :

    15             Q.         Dr.        oldsc              idt, I            as in        yo          estions

    16      yo     re not as in                     e            estions.             at s t e way

    17      de ositions              o.           Do yo               nderstand

    18             A.         I do.

    19             Q.         I      s owin                 yo        t e attac           ent to             i it 18,

    20      w ic        is          i it 20.                 Is t is t e              etition t at yo

    21      were re errin                    to

    22             A.         I     elie e so.

    23                        M .             MA :           Can yo               o down            rt er,        ac ie.

    24             Q.              e last           ara ra                  says      e are stead ast in

    25      o r co           it ent to o r sc ool, o r                                ni ersity and t e


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     1      wel are o              o r co            nity and              elie e t at t is

     2          ac lty, o r st dents and,                             ost i     ortantly, o r

     3          atients deser e a dean w o s ares t is                                   iew.

     4                     Did I read t at correctly

     5             A.      Correct.

     6             Q.          ro           a ti in         ers ecti e, wo ld yo                 a ree

     7      t at t e a                 earance o        t is              etition coincided wit

     8      t e     endin              iss ance o           t e           reli inary assess ent o

     9      t e IM

    10             A.          o, t is             as not in               to do wit     t e IM .

    11             Q.      I           elie e t at earlier yo                    said t at t e

    12          erson or           ersons          e ind t e               etition was Alan

    13          i in stone and                 anny     ardner.

    14             A.          es, t at s correct.

    15             Q.              e        oc s o     t e in esti ation o                    t e IM

    16      concerned Dr.                    i in stone, did it not

    17             A.          es, t at s correct.

    18             Q.          o        y      estion is              ro     a ti in         ers ecti e,

    19      on Dece        er 6, 2012,                 ro     a ti in            ers ecti e, wo ld

    20      yo     a ree t at t e a                    earance o              t is     etition

    21      coincided wit                    t e     endin        iss ance o           t e     reli inary

    22      assess ent o                    t e IM      ro            M

    23             A.              e        etition was started I t in                       in t e

    24      s      er.     I don t -- I don t t in                             -- no, no.         e    eard

    25      a o t it in                 cto er.        B t        y        nderstandin        is t at it


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     1      started in A              st.

     2                    It        as not in          to do wit               M .     It        ad to do

     3      wit     t e       eelin        t at, yo           now, loo , t is is a                          a or

     4      iss e at t e             ni ersity o             Mia i.        I     a e e           lained to

     5      yo     t at it s          ery       n s al t at t e                 ac lty is di ided

     6      into t ose w o                eel t at yo          are     art o           t e

     7       ni ersity o             --

     8             Q.     I     nderstand.              o      e e     lained t is.                    My

     9           estion is si             le.

    10             A.     --        ac son.          It is not a si              le answer.

    11             Q.     My         estion is a si             le one and yo                    are

    12      tellin        e a o t so et in                   else.

    13             A.     I         sayin       t is        etition was started way

    14       e ore t e          M     re ort.          It     as not in              to do wit              it.

    15             Q.         ow do yo              now, Dr.        oldsc        idt             ow do yo

    16       now t at it was started                        e ore              at e idence do yo

    17       a e t at t e             etition was started way                         e ore w at yo

    18       re io sly testi ied to was in                           cto er

    19                    M . I IC              :           ect as to           or .

    20             Misc aracteri ation o                      rior testi ony and

    21             ar     entati e.                 old on, Dr.        oldsc           idt.

    22             A.     I     a e said to yo                 ro     t e        e innin           t at I

    23       eard a o t t e                etition in          cto er.           B t        y

    24       nderstandin              or t e          eo le w o were in or in                           i     o

    25      w at was          oin     on,       eca se t ey           ad        een a           roac ed           y


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     1          eo le to si n t e              etition, told                    e t at it was             oin

     2      on     or a w ile, and I t in                          t at it started in A                       st.

     3             Q.           at is t at              ased on               Do yo         a e a

     4      doc     ent, an e ail, anyt in                          to s        stantiate t at

     5                     M . I IC            :              ect to t e              or .

     6             A.       o ody wrote anyt in .                              o ody wrote anyt in

     7      a o t it.             ey told           e.

     8                     M .          MA :        All ri              t,     ric, now is a             ood

     9             ti e.         e can co e              ac        --        ow is, let s see,

    10             it s 12:21 now.                  o     want to co e                 ac     -- w at do

    11             yo     want to do                al        an        o r      Is t at           ood

    12                     M . I IC            :          y don t we co e                    ac     at one,

    13                  st to     et a little e tra                          reat in        roo .

    14                     M .          MA :             at s           ine.

    15                             ID          A          :             is     ar s t e end o

    16              ideo        ile n        er t ree.                       e ti e is 12:21             . .

    17             and we re           oin     o         t e record.

    18                           ere     on, a l nc                 recess was ta en, a ter

    19             w ic     t e        ollowin            roceedin s were                    ad:

    20                             ID          A          :         e re        ac     on t e        ideo

    21             record.             is is t e start o                        ideo        ile n        er

    22              o r in t e de osition o                             Dr.     ascal        oldsc       idt.

    23                  e ti e is 1:04              . .

    24      B     M .       MA :

    25             Q.      Dr.     oldsc           idt,        e ore t e              rea , yo


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     1      indicated t at yo                        ay        a e e ailed Dr.             ord re ardin

     2      co nselin            i     re ardin                  is     e a iors or             oor

     3       er or ance or wor                       lace        iscond ct.           Do yo       re e        er

     4      testi yin           to t at

     5             A.      I said it is                    ossi le.                ere was ten years

     6      a o.        I don t        now w at we disc ssed in                            erson or w at

     7      I e ailed to              i .

     8             Q.           ay.          e        ni ersity              as     rod ced all o             Dr.

     9       ord s e ails and I can re resent to yo                                        t at I        e

    10      seen none           ro     yo        co nselin               i        a o t    is     oor

    11       er or ance or              e a iors or anyt in                          in t at re ard.

    12                     Is it        ossi le t at yo                       co ld       a e deleted

    13      e ails to t at e                 ect

    14             A.       o, it s not.

    15             Q.       o w ate er                    as     een     rod ced and is in t e

    16       ni ersity o              Mia i records is -- yo                          wo ld stand             y

    17      t at.        Correct

    18             A.      Correct.                   e only           ossi ility is, I               ean,

    19      t e re iews wo ld                    a        en once a year.                 ac     and I were

    20      tal in        e ery day and I t in                          t at it was t e to ic --

    21      a to ic t at we                 ad disc ssed one on one.                            I don t

    22      t in        t at necessarily it was                          art o        an e ail.

    23             Q.           ay.         it        re ard to t e one-on-one

    24      con ersations, w ere wo ld t ose con ersations                                              a e

    25      ta en        lace


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     1             A.          y ically, we were           eetin     in a       eetin       roo

     2      in     etween o r o           ices.

     3             Q.      And do yo           recall a     ro i ately w en yo

     4      wo ld        a e        ad t ose con ersations

     5             A.          o.

     6             Q.      Do yo        re e     er w et er it was -- do yo

     7      re e        er w et er t ey were              ornin     con ersations or

     8      a ternoon con ersations

     9             A.      A ain, we were tal in              a o t, yo           now,

    10       ro a ly two to              i e ti es        er day.      o t is         a     ened

    11      ten years a o.                ere is no way I can tell yo                     wit

    12       recision w en it              a     ened.

    13             Q.          o is it     air to say t at yo           can t         oint        e

    14      to a date, a ti e or any                 artic lar e ent t at wo ld

    15       a e        enerated t at ty e o              a con ersation          etween yo

    16      and     i          Correct

    17             A.           ce t t at it wo ld           ro a ly        a    en       etween

    18       cto er and Dece              er.

    19             Q.      And, o ay, so let s narrow t at down.

    20      Between        cto er and Dece           er.     Is it yo r testi ony

    21      t at yo        co nseled Dr.           ord on     is     e a iors and               oor

    22       er or ance d rin              t at ti e        eriod

    23             A.      I don t t in           I wo ld     a e     eant -- I wo ld

    24       a e said low              er or ance.        B t, yes, t ere are iss es

    25      t at we        ad disc ssed relati e to                 is interaction wit


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     1          ac lty and certain relations i                         also wit                 t e

     2      leaders i              o         ac son and a ti e o              e        ers o           t e

     3      ad inistration at t e ti e in t e tea                                  o        Donna

     4           alala.

     5             Q.         Between           cto er and Dece          er,           ow        any ti es

     6      did yo            a e con ersations to t at e                         ect

     7             A.         I don t           a e t e sli          test re e              rance o           t e

     8      n      er o        ti e we disc ssed it.

     9             Q.          as it           ore t an       i e ti es

    10             A.         I co ldn t tell yo .

    11                                 ere     on, t e doc          ent was        ar ed as

    12                                 i it 21     or identi ication.

    13      B     M .          MA :

    14             Q.         I need to s ow yo                now     lainti               s          i it

    15      21.         et     e         st     o to t e       otto ,        ac ie, to s ow                    i

    16            i it 21.              All ri     t.

    17                        Dr.        oldsc     idt, I           s owin        yo            lainti         s

    18            i it 21, w ic                 is an e ail ori inally                      ro        Donna

    19           alala to yo                 at 11:41 a. . on Dece                er 9t , 2012.

    20           e s         ect is            ow is it       oin        Do yo              see t at

    21             A.          e .

    22             Q.         And yo r res onse is                    ery c allen in ,                       ery

    23           sy, c allen in                 w-e.      I     ess wee

    24             A.              e wee end,           ost li ely.

    25             Q.                  an s     or last ni          t at t e           ala.            o     were


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     1          reat.           All in or ation we are                  at erin           indicate t at

     2      t e indi id al                 e ind t e          etition is             i in stone.            e

     3      is also callin                 c air collea            es to         s        and e en

     4      t reatened t e                 to si n.         Bart         reen        ay     e

     5      s         ortin        also.           ery disa       ointin .           Most c airs

     6      re        se to        artici ate or to               a e t eir           ac lty

     7          artici ate.              I a        eetin     all c airs in s all                  ro   s

     8      ne t wee .              Meanw ile, tryin               to     et         siness       oin

     9          ninterr           ted.         e    ay lose       any     reat        ac lty d e to

    10      t e disr              tion created            y t e     etition.               ot easy,

    11          ascal.

    12                           Did I read t at correctly

    13                A.          es.

    14                Q.          ow, t is e ail, do yo                  reco ni e t e e ail

    15      address                o r illies

    16                A.          es.

    17                Q.         And did yo          o ten co           nicate wit              resident

    18           alala on           er     ersonal e ail address

    19                A.          aria ly, I t in .

    20                Q.         And did yo          disc ss wit           er on t e

    21               o r illies aol.co                e ail address anyt in

    22          ertainin           to     ac        ord

    23                A.          ot t at I re e            er.

    24                Q.         Do yo         now w y s e wo ld               a e e ailed yo

    25          ro         er     ersonal e ail address


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     1             A.      I        s re t at as t e             resident, t e

     2       resident s e ail is                     aid     or, and, as a conse           ence,

     3      w en s e wants a                ore direct interaction, s e will

     4       ro a ly           se     er    ersonal e ail.

     5             Q.      Did yo           se yo r          ersonal e ail address, too

     6                     M . I IC              :          ect to t e     or .

     7             A.      I didn t             a e a       ersonal -- I didn t           a e a

     8      non- M e ail at t e ti e.

     9             Q.           en did yo             irst ac     ire a non- M e ail

    10      address

    11             A.      I t in           ro a ly in 2015 or             16.

    12             Q.      Are yo          s re a o t t at            Are yo       s re a o t

    13      t at

    14             A.      I          retty s re, yes.

    15             Q.           ay.

    16             A.      All ot er e ails were                  M e ails.

    17             Q.      All ri          t.        et     e -- w at did yo            ase yo r

    18      clai        on t at all in or ation we are                     at erin

    19      indicates t at t e indi id al                        e ind t e        etition is

    20       i in stone

    21             A.          eo le tal ed to               e a o t it.     I     ean, t ere

    22      were also -- t ere was also                        anny   ardner.          I don t

    23       now w y I didn t                   ention in t is e ail,              t     e was

    24       ro a ly also an insti ator.

    25             Q.      And was Bart                   reen also an insti ator


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     1                A.           at s w at I was told.

     2                Q.      And t e           etition, as we read                 e ore t e

     3          rea , indicated t at in t e last                                ara ra              e are

     4      stead ast in o r co                       it ent to o r sc ool, o r

     5          ni ersity and t e wel are o                             o r co      nity and

     6          elie e t at t is                 ac lty, o r st dents and,                          ost

     7      i     ortantly, o r                 atients deser e a dean w o s ares

     8      t is           iew.

     9                             y was Dr.           i in stone circ latin                    or        e ind

    10      t is           etition tar etin                 yo        and Dr.     ord

    11                        M . I IC            :              ect as to        or .

    12                A.      I        elie e t is is -- I                 elie e        e wanted              y

    13          o .

    14                Q.      Dr.        i in stone wanted yo r                    o .        Is t at

    15      ri        t

    16                A.          e .

    17                                 ere   on, t e doc                ent was     ar ed as

    18                                 i it 22        or identi ication.

    19      B     M .             MA :

    20                Q.          et     e s ow yo                    i it 22.      et s        o          a

    21      little           it.         a e yo        e er seen t is e ail                          is is

    22      an e ail              ro     Alan     i in stone to                 eonard A ess,

    23      co yin            o n Clar son and Bernard                          o el, s         ect

    24      line -- act ally, let s                          o down         rt er.        I         sorry.

    25                             ay.       et s       o         .       ay.       is is an e ail


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     1          ro        Alan     i in stone to              a rence        ardner,           a ic

     2          arwar.             o is     a ic     arwar

     3                A.          e was t e        ana er o        t e de art ent o

     4      s r ery.

     5                Q.           ay.     And did        e     a e anyt in              to do wit

     6      t e IM

     7                A.          ell, t e IM        wo ld        e ad inistrati ely

     8      wit in           is de art ent, yes.

     9                Q.           ay.     And I          oin     to read t e              irst -- do

    10      yo        want to ta e a           o ent and read t is e ail and see

    11      i        yo      e e er seen it           e ore.

    12                A.         I read t e        irst        ara ra        .     It s a lie.

    13                Q.          a e yo     e er seen t is                 e ore

    14                A.         I don t t in        so.

    15                Q.         Did yo      se C arlie           e ero            to deli er an

    16          lti at            to Dr.     i in stone

    17                A.         A sol tely not.

    18                Q.         Did yo     try to        se t e        M        Cons ltants to

    19      ta e away t e trans lant la                           ro        t e de art ent o

    20      s r ery to wea en s r ery and, in                                artic lar, control

    21      Dr.           i in stone

    22                A.         A sol tely not.

    23                Q.           ere is Dr.        i in stone              ettin        t is        ro

    24                           M . I IC      :              ect as to           or .     I     yo

    25                    now.      a e o     ection.


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     1             A.      I t in          -- I         elie e          e        ade       t at story.

     2             Q.              y do yo         elie e t at

     3             A.      Beca se it wo ldn t                         e s r risin .                  e s        ery

     4       ani        lati e.

     5             Q.      I         sorry.             at did yo                say

     6                             e orter clari ication.

     7             A.      Beca se it wo ldn t                         e s r risin .                  e s        ery

     8       ani        lati e.

     9             Q.      In I        elie e w ere it says                            C arlie        as

    10      deli ered t e dean s                       lti at           to        e, w ic        C arlie

    11      says        e doesn t          elie e in and t at                          e is only ser in

    12      as an inter ediary, t at                          asically states t at i                         I

    13      a ree to cease and desist and sto                                     t e recall

    14       etition, t at I will                       e     eld       ar less and allowed to

    15      contin e in              y c rrent              osition, or i                I desire,           o

    16       ac     and        e c air an o                 s r ery, as was                ro ised in              y

    17      letter o           o     er.     I     I do not sto                   t e recall

    18       etition, t ey intend to                          se t e recent trans lants

    19      re iew, s eci ically t e IM                             a dit, to i                  n     y

    20      inte rity and to                     nis         e.

    21                     Did I read t at correctly

    22             A.          ea .          at s a lie.                I        eard     ro         eo le

    23      aro nd        e t at Dr.              i in stone                ad     ade t at           oint.        I

    24      con ronted C arlie                    e ero           to        ind o t i          it is tr e

    25      t at        e tal ed to Dr.                 i in stone in t ese ter s and


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     1      C arlie swore to                    e t at it ne er                  a        ened.

     2             Q.          ow, i           we        o          a little          rt er, yo          see

     3      t at        e -- t at Dr.                    i in stone sent t is e ail to

     4          eonard A ess.                 Do yo           see t at

     5             A.           -         .

     6             Q.          n Dece           er 9, 2012.

     7             A.           -         .

     8             Q.      Do yo               now w et er or not                     M     was a o t to

     9      iss e t eir              reli inary assess ent

    10                     M . I IC                  :              ect as to         or .

    11             A.      I         sorry.                  et     e read t e letter.

    12             Q.           ay.

    13             A.      I        e ne er seen t is                        e ore.          at is t is

    14           is is     or a --              irst o              all --

    15                     M . I IC                  :            old on, Dr.         oldsc       idt.         et

    16              i     as        any         estions.                an     on one second.

    17              e     , i        yo         e        ot any          estions a o t t is,

    18              lease.

    19                     M .                MA :                re.

    20      B     M .          MA :

    21             Q.      Is t ere any tr t                            e ind        is alle ations

    22      contained in eit er e ail, w ic                                    is re lected in

    23            i it 22

    24             A.      A sol tely not.

    25             Q.      Is t ere any -- is t ere any tr t                                       e ind


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     1      eit er yo            orc estratin           t e        se o     t e     M   a dit or

     2      Dr.     ord      sin        t e     M     a dit to e tract so e -- to

     3      e tract         ro     Dr.        i in stone t e wit drawal o                     t e

     4       etition

     5                      M . I IC            :           ect as to        or .

     6             Q.       Is t ere any tr t                 --

     7             A.       As     ar as I            concerned, I ne er did

     8      so et in         li e t at.              I do     t     ery stron ly t at               ac

     9      wo ld do so et in                  li e t at.                 co rse, yo         can as

    10       i     directly.            B t I t in           t at t is was co               letely

    11       a ricated.

    12             Q.       Is t ere any tr t                     e ind     enni er

    13      McCa        erty s      se o        co     liance as a           l nt instr         ent

    14      to     ani      late        eo le

    15                      M . I IC            :           ect as to        or .       o     can

    16             answer.

    17             A.        o.         enni er was           ro a ly si          ly s arin

    18      wit         M   t e concerns e              ressed           y t e de art ent o

    19       at olo y.            And t at was              ery      c     w at s e s o ld

    20       a e done.

    21             Q.        o     ro     a ti in            ers ecti e, wo ld yo               a ree

    22      t at t e a            earance o           t is        etition coincided wit

    23      t e     endin         iss ance o           t e        reli inary assess ent o

    24      t e IM

    25                      M . I IC            :           ect as to        or .


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     1             A.      A sol tely not.                            e     etition, as I told yo ,

     2      was started in, I                       elie e, t e end o                 t e s         er o

     3      2012.        And we           eard a o t              i        -- we     eard a o t t e

     4          etition in           cto er.              It     as not in           to do in ter s o

     5      ti in        wit        t e        M     re ort.

     6                              ere        on, t e doc                 ent was        ar ed as

     7                              i it 23           or identi ication.

     8      B     M .          MA :

     9             Q.      I             oin        to s ow yo              now       i it 23.          a e a

    10          o ent and read t at e ail, dated Dece                                      er 11, 2012,

    11      at 6:52 a. .                 ro        Alan        i in stone to              resident

    12           alala.

    13                     Do yo              re e        er readin           t is e ail           ac   in

    14      Dece        er o        --        ac     on Dece              er 11 or 12, 2012

    15             A.      I don t t in                    I was co ied on t at e ail.

    16                              ere        on, t e doc                 ent was        ar ed as

    17                              i it 24           or identi ication.

    18      B     M .          MA :

    19             Q.          et        e s ow yo                    i it 24.

    20             A.      B t I don t t in                       t at Alan           i in stone

    21      resi ned.

    22             Q.      I         s owin           yo              i it 24, w ic           is t e

    23      e ail c ain t at contains t e e ail                                      ro     Alan

    24          i in stone to Donna                        alala.           Do yo     see t at, Dr.

    25          oldsc     idt                 e sa e one t at yo                      st read,


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     1      correct, in 23

     2             A.          es.

     3                     M .               MA :         o        ,        lease,           ac ie.

     4             Q.          resident              alala e ailed yo                         and said I -- I

     5      t in        t e second word is wo ld --                                    I wo ld tal            i

     6      o t o        it.

     7                     Did I read t at correctly

     8             A.          e .

     9             Q.      And yo             res onded                y sayin           w at

    10             A.              e    ad a        ood c at.                   Bac     on trac .             en

    11      yo     tal     to          i ,     lease tell                   i     to     i     t e        etition

    12      iss e.             an s,          ascal.

    13             Q.          o did yo , in                  act, ta e                 resident            alala s

    14      instr ction to tal                      Dr.       i in stone o t o                       resi nin

    15       ro     t at           osition

    16             A.          o, not at all.

    17             Q.          o were yo             -- w y did yo                      tell     resident

    18           alala         e       ad a        ood c at.                Bac        on trac

    19             A.      I           ess t at s e                ro a ly as ed                 e to as            i

    20      not to resi n.

    21             Q.      Correct.                And yo              ot        ac     to     er and s e

    22      as ed yo           not to tal             to       i        8:04 a. .              Correct

    23             A.      I           sorry

    24             Q.      Do yo             see     er e ail to yo                      on Dece           er 11 at

    25      8:04 a. .              Correct           It says                I wo ld tal               i     o t o


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     1      it.           Correct

     2               A.          ea .

     3               Q.      And yo           res onded to Donna                      alala      e     ad a

     4          ood c at.                e        ad a    ood c at.                   o are yo

     5      tal in          a o t

     6               A.      I         not s re.          I         sorry.       It co ld        e

     7          i in stone,              t I can t             e s re           st     ro     t is e ail.

     8               Q.          o yo        don t recall w et er yo                        tal ed Alan

     9          i in stone o t o                   resi nin           ro       t at     osition

    10               A.          o.          e tal       wit         i in stone a o t

    11      resi nin              ro         is     osition, i             I recall correctly,

    12      was way later.

    13               Q.          et s        o to t e          otto        o    t e e ail a ain.

    14          ollow t e e ail c ain.                        Dr.     i in stone e ails

    15          resident              alala at 6:52 a. ., correct, indicatin                                  I

    16      t in          I can        est ser e yo             in t e          edical sc ool           y

    17      resi nin             as     ein        t e e ec ti e dean o                     clinical

    18      a       airs.         I t in            e    eans e        ecti e i             ediately.       Do

    19      yo       see t at

    20               A.          ea .

    21               Q.      And t en,              o          lease,          ac ie, at 8:04 a. .

    22          resident              alala e ails yo                and says          I wo ld tal

    23          i    o t o        it.         Correct

    24               A.          ea .

    25               Q.      And yo           res ond later in t e day, at 1:15,


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     1      close to 1:16                    . . on Dece              er 11t ,                     e    ad a     ood

     2      c at.           Bac     on trac .                en yo              tal           to       i ,     lease

     3      tell        i     to        i     t e        etition iss e.                            an s.        ascal.

     4                        Did I read t at correctly

     5             A.             ell, it is              ossi le t at Donna                             alala

     6       entioned to                    e so et in           a o t t e r                       or t at, yo

     7       now, t is iss e wit                          C arlie              e ero               and t at we

     8      tal ed a o t it wit                          Alan and t at s t e reason w y I

     9      wrote w at I wrote.

    10             Q.         And yo           tal ed        i        o t o              resi nin .

    11      Correct

    12             A.         I can t tell yo                        ro        t is e ail.                   B t it s

    13       ost li ely related to it, yes.

    14             Q.         And yo           as ed        resident                     alala w en yo

    15      tal ed to              er         lease tell              i        to        i     t e       etition

    16      iss e.            Did yo           not write t ose words

    17             A.             ea .        I t in        t at it is t e iss e -- I

    18       ro a ly              ad a con ersation wit                              i        relati e to w at

    19       e     retended was an atte                          t        or        e to e c an e a

    20       etition              or a re ort o                  M , w ic                    ne er       a     ened and

    21      was a lie, and we                       ay     a e tal ed a o t it at t at

    22      ti e.

    23             Q.         All ri           t.        B t yo           were as in                    resident

    24           alala to tell                 i ,        eanin           Alan           i in stone, to                i

    25      t e     etition iss e.                       Correct


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     1             A.          o.          at I -- w at I said is t at t is iss e

     2      o     e c an in           a     etition           or a --     or a re ort was

     3      co     letely           alse and I t o                  t we wanted        or Donna to

     4      tal     to     i        a o t it.

     5             Q.      B t yo           weren t on t e e ail c ain                    etween

     6      Alan        i in stone and              eonard A ess or Alan                 i in stone

     7      and     a rence           ardner and              a ic     arwar, were yo              o

     8      ne er saw t at e ail at t at ti e.                                Correct

     9             A.          o.     B t t ere were r                 ors a o t t e        act

    10      t at I was s                  osed to        a e as ed C arlie              e ero      to

    11      tal     to Alan           i in stone and tell                 i     t at i      e was

    12      no lon er           ro otin           t e        etition, w ic        was     ont s

    13          e ore t is, t is was way a ter t e                             etition was o t

    14      and e eryt in                 was done.                ere was a sol tely no

    15      c ance t at t is was -- Alan                             ad no control at t at

    16      ti e o        t e        etition.

    17                          e     etition           ad     een s      itted to t e

    18          ac lty senate and was o t and a o t.                              o t e only

    19      t in        t at I co ld              a e        een     entionin     is to     a e

    20      s re t at Donna told                    i        t at it ne er        a     ened t at I

    21      as ed C arlie                 e ero         to try to         t     ress re on Alan

    22          i in stone to sto                 t e        etition in s c           a way t at

    23      t e re ort wo ld not co e o t.

    24             Q.           y wo ld yo              e en        i e it any -- lend it any

    25      credence, Dr.                 oldsc     idt


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     1               A.            Beca se it was re orted to                 e.        I wo ld ne er

     2          e a e t at way.                   It is co        letely in contradiction

     3      wit           y        ost     asic     rinci les.           ay        I         st wanted

     4      t is t in                to     e a sol tely clear t at it ne er

     5          a    ened and t at                 i in stone wo ld sto                 s readin        t e

     6      r       or.

     7                               at s w at I was tal in                 a o t        y     i in

     8      t is iss e o                    etition.            e was s readin           r     ors t at

     9      were destroyin                    y re        tation and t at were co                 letely

    10          alse.

    11               Q.            Dr.     i in stone was s readin                 r     ors.

    12      Correct

    13               A.              at s w at I            sayin .         e was s readin

    14      r       ors and Donna                 ad to     i     it,   eca se it was

    15      dis       stin .              I ne er did t at.              is was way a ter t e

    16          etition             eca e          lic.

    17                             It s interestin ,              y t e way, t at              e co ied

    18          y two             redecessors w o were deans o                 t e           edical

    19      sc ool.

    20               Q.            And w at s t e si ni icance o                       t at

    21               A.            I t in     t at t ey -- t ey were                    retty         set

    22      wit       t e s ccess t at we were a le to ac ie e at t e

    23          edical sc ool and t e                      ealt     syste     and e eryt in

    24      aro nd t e , and t ey were -- t ey were e tre ely

    25      stron             s      orter o        t e relations i            etween           M and


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     1       ac son, ne er willin                   to e ol e it and                    ee     it t e

     2      way it was in t e                 iddle o       t e cent ry w en                    M

     3       edical sc ool was created.

     4                        I t in       t ere was a lot o                     ealo sy on t eir

     5       art and I t in                t at t ey        layed a              ery ne ati e and

     6      destr cti e role.

     7                        I     now    or a     act t at one o                 t e two was

     8      acti ely in ol ed in tryin                      to        et        ired a re ar a le

     9       ac lty and leader at t e                    ni ersity o                Mia i, Bill

    10            eall, and t eir role was                       st co           letely o tra eo s

    11      in tryin              to sa ota e w at we were creatin .

    12             Q.         Do yo        now, did      resident                 alala e er tal

    13      to Alan           i in stone a o t           i in          t e        etition iss e

    14             A.             ell, I     ean, s e       new t at I was                    ery

    15      annoyed wit              t e r     ors t at were circ latin                         t at I

    16      wo ld         t        ress re on       i in stone as an e c an e                             or

    17      t e re iew o              t e IM .          e re iew o                t e IM            ad

    18      not in        to do wit           it.

    19                        It     ad to do wit        t e          act t at we              ad        ery

    20      reasona le indi id als in t e                            art o        Dr.        ic ard Cote

    21      and         il C en, I           elie e, in          at olo y, w o were

    22      tellin            s t at t ey were -- a lot o                         t in s t at were

    23       ery re re ensi le t at were                         a     enin        and we si              ly

    24       ad to clari y w at was                   oin        on.        It     ad a sol tely

    25      not in        to do wit           t e    etition.              It     ad a sol tely


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     1      not in          to do wit          tryin       to     ets rid o          Alan

     2          i in stone.

     3                       Act ally, as yo               see, Alan          i in stone

     4      a     arently was             ol nteerin            to ste       down.     I ne er

     5      as ed       i        to ste       down,       ntil     e did so et in                t at

     6      was     ery a          re ensi le t at I co ld not let                          o.     It

     7      was t e t ird ti e it                     a    ened and it co ld no lon er

     8          e condoned.

     9             Q.        Do yo        t in       t at t e in esti ation, t e                        M

    10      in esti ation, was ca sin                       concern to Alan

    11          i in stone

    12                       M . I IC            :         ect as to          or .

    13             A.        I      not in t e            ead o     Alan       i in stone.

    14      B t, yea , I                s re t at          e was --          e was     ro a ly

    15          eelin       tar eted.

    16             Q.        And w at do yo                ase t at on

    17             A.            is reaction.

    18             Q.            is reaction --

    19             A.             e letter t at            e wrote to t e c air an o

    20      t e     oard o          tr stees at            M,     ro a ly two          rior -- two

    21          rior deans o            t e      edical sc ool t at were                    ro a ly

    22      on     is side.

    23             Q.            o do yo       t in       t at t e       M     in esti ation,

    24          eca se o          t e     M    in esti ation, Alan               i in stone was

    25      tryin       to de lect t at iss e                     y raisin       t is iss e


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     1      a ainst yo , Dr.              ord and                 enni er McCa           erty

     2                     M . I IC            :                 ect as to        or .

     3             A.      I t in        t at -- I t in                    t at it is           ery clear

     4      t at Alan        i in stone                 ade          t is story           or a reason,

     5      and I t in           t at     e        ay        a e     een concerned wit                 t e

     6      conse        ences o        a re ort on                 i .

     7             Q.      And t e conse                    ences wo ld           a e     een w at, in

     8      yo r o inion

     9             A.       ell, it de ends on w at was in t e re ort.

    10      As yo         now, we        ad a           reli inary re ort recei ed                          ro

    11      t e     M .     I don t           now e actly w en we                       ot it.     I

    12      t in        it was a little                 it later.           B t t en t e 11t .

    13      B t I         s re     e was a little                    it     nco     orta le a o t

    14      it.

    15             Q.      More t an a little                       nco     orta le, wo ldn t

    16      yo     say

    17                     M . I IC            :                 ect as to        or .

    18             Q.      Dr.     oldsc           idt, wo ld yo              a ree wit            e t at

    19      Dr.     i in stone s              e a iors were indicatin                       t at        e

    20      was     ore t an a little                       it     nco     orta le         Correct

    21                     M . I IC            :                 ect as to        or .

    22             A.      Most li ely.                 I         not in     is     ead, t an               od.

    23             Q.      B t yo        saw        is e ail.              Correct          o     saw        is

    24      e ail to        resident               alala o           erin     to resi n           ro         is

    25      e ec ti e        osition.              Correct


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     1             A.          e .

     2             Q.      Do yo           t in              t at ca e o t o              t in air or do

     3      yo     t in        t at t e                 M     in esti ation              ad so et in             to

     4      do wit        it

     5                     M . I IC                     :          ect as to            or .

     6             A.           at I               not s re, act ally.

     7             Q.          ell, wit                 re ard to t e e ail t at                      e

     8       enerated to              a ic and --

     9             A.      I     now.              I        now.    B t I t in            t at w at          ay

    10       a e        one in        is           ead, and, a ain, t is is totally

    11      s ec lati e on                 y           art --

    12             Q.      I don t want yo                         to s ec late.               I don t want

    13      yo     to s ec late.

    14             A.      A ain, I                     not in        is       ead, so i         yo       want        y

    15      o inion on it --

    16             Q.           ay.

    17             A.      Do yo

    18             Q.          es.

    19             A.           ay.        I t in              t at        e     ay     a e     layed t at

    20      card.        Beca se i                     e was resi nin , it wo ld loo                         as

    21      i , indeed, t e                    M        re ort was to                 et rid o        i .

    22                     And t at s t e reason w y                                   e was --       e was

    23           s in      or it in s c                       a way t at              e co ld     o to       is

    24       riend, yo               now, Dean                 o el and Clar son, and                      a e

    25      t e     connect wit                    t e rest o              t e        ac lty to say I


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     1      told yo        t ey want to                       et rid o           e.

     2                              ere        on, t e doc                ent was        ar ed as

     3                              i it 25              or identi ication.

     4      B     M .          MA :

     5             Q.      I want to s ow yo                          now w at s             een     ar ed as

     6            i it 25, w ic                    is an e ail dated Dece                      er 14t ,

     7      2012.          is is              ro        yo     to Don        alala re ardin                  o     s

     8          resentation.

     9             A.           -         .

    10             Q.      Do yo              recall w at t is was in re erence to

    11             A.          es.

    12             Q.           at

    13             A.          ell, I               s re t at it was in re erence to a

    14          resentation t at                    o         eBlanc       ade w ere           e reco ni ed

    15      Mar         or t e        reat wor                 t at       e was doin               or t e

    16          edical sc ool                 w ere, act ally, Mar                      was li e an

    17      indi id al w o was ta in                               ad anta e o           a     ery co        le

    18      sit ation           or        is own s                 ort,     or        is own s ccess.

    19      And I wanted              or           ac        and    elson,        ac     as C         and

    20          elson as C           , to           e reco ni ed             or t e wor              t at was

    21          resented        y t e .

    22             Q.          o ld it              e        air to say t at Dr.                   ord and

    23          elson     eic old were res onsi le                               or t at

    24          resentation

    25             A.      I         not sayin                 t at t ey were res onsi le                         or


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     1      t e       resentation.                           at I      sayin           is t at       ac           ad

     2      done a terri ic                     o        in t rnin              t e        inancial sit ation

     3      o       t e     edical enter rise aro nd                                  y or ani in         a        I

     4      t at was s ccess                        l        inancially.

     5               Q.      Did yo             e er re ri and Alan                          i in stone

     6               A.          es.

     7               Q.          or w at

     8               A.      A n            er o             t in s.

     9               Q.      Can yo             tell           e w at yo              re ri anded         i            or.

    10               A.      I          oin             to     a e to di              l e con idential

    11      in or ation.                A       I allowed to

    12               Q.      Are yo             re errin              to t e incident wit                     a

    13          e ale resident

    14               A.           at s one o                   t e .

    15               Q.           ay.           ell           s a o t t at.

    16               A.           ay.           o t e da               ter o           a     ery    ood       riend

    17      o        ine, D        e Ca eron, w o is a                            reat cardiac s r eon,

    18          e was one o                 y       a orite cardiac s r eons at                           o ns

    19          o    ins     ni ersity,                      is da         ter ca e to             edical

    20      sc ool and s e wrote to                                 e a letter t at was -- t at

    21      was       ery         settin                w ere s e descri ed a sit ation

    22      w ere s e was inter iewin                                 I t in               or residency in

    23      s r ery wit                Dr.          i in stone and                    e as ed       er to ste

    24              on a c air and                      e said         o        don t loo          li e

    25      so e ody w o                ractices so e                      or     o        yo a.


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     1             Q.         Dr.        oldsc        idt, not to interr                          t yo .

     2      Didn t it              a e so et in                 to do wit                  er co        ents t at

     3      s e was a r nner and Dr.                                i in stone res onded to

     4      stand             and said so et in                             to t e e        ect     It doesn t

     5      loo     li e yo              r n     ery            c            or so et in           li e t at

     6             A.          o.        It     as to do wit                       yo a, i        I recall

     7      correctly.              It was a           or           o        yo a t at is           ore

     8      intensi e, li e an intensi e yo a or so et in                                                  li e

     9      t at.           And t e co           ent was                     o     don t loo        li e

    10      so e ody w o                 er or s intensi e yo a.

    11                         eedless to say,                          y        riend D        e, w o was

    12      e tre ely               set, s e was e tre ely                                 set, s e told

    13       e -- s e wrote to                    e w en Alan was selected as t e --

    14      as a        e     er o            y tea     in              is ad inistrati e                  nction,

    15       eyond           ein     t e c air o                    t e de art ent o                    s r ery,

    16      w ic            e was        e ore I ca e.

    17                        And t en t ere were two                                ore e ents.            ne

    18      e ent were in                 ront o        so e ody w o was                          ein

    19      inter iewed.                      e leadin              ad inistrator                 or t e

    20      de art ent o                  edicine was told                          y Alan        i in stone

    21      t at        e needed a testicle trans lant.                                         A ain, t e

    22      c aracter o              Alan        i in stone is not                          y     a orite.        I

    23       re er sto              in         ere.         o               et t e idea.

    24                             e t ird ti e t at -- I t in                                   t is was

    25      act ally t e t ird ti e,                                e        ad     iolated a code o


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     1      cond ct as a                ac lty at        ni ersity o           Mia i and we        ad

     2      a        eetin       wit     t e senior leaders i              o     t e

     3          ni ersity, w ic                Aileen attended, and a decision was

     4          ade collecti ely t at Alan                      i in stone        ad to resi n

     5          ro         is    osition as c air as well.

     6                Q.          an     yo .

     7                             ere        on, t e doc        ent was        ar ed as

     8                             i it 26        or identi ication.

     9      B        M .         MA :

    10                Q.        I wo ld li e to s ow yo                 now w at s        een

    11          ar ed as               i it 26.        Dr.     oldsc     idt, I         s owin

    12      yo        an        dated Dece        er 14t , sent Dece              er 16t ,        ro

    13      Dr.        ord to e ec ti e daily                    date, w ic        incl ded yo

    14      and a n              er o     ot er indi id als on t at e ail c ain.

    15                          I d li e to draw yo r attention, sir, to --

    16      do yo           see ri       t a o e ta eaways, it says one on one

    17      wit        t e       resident.        Co     liance         date, a        iliates,

    18      disc ssion and Miller                      c ool cli ate.           Do yo     see

    19      t at, sir              Do yo        see t at, Dr.           oldsc     idt

    20                A.         ea .     I      readin        it.       en is t is        ro

    21                Q.          is is dated -- i              yo      o to t e to ,

    22          lease,          ac ie -- it was sent Dece                 er 16t ,         t it

    23      was an              date, dated Dece              er 14t .

    24                A.         ea .

    25                Q.        By t e way, Dr.              oldsc     idt, did yo        and


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     1      ot er          e     ers in t e e ec ti e daily                           date c ain

     2      o ten send t eir                       date on, let s say, Dece                    er 14t

     3      and t en send it, too, Dece                               er 16t           as t at

     4      co        on

     5                A.         e     sed to send re                 lar      dates, yes.

     6                Q.             ay.     And wit           re ard to t is              artic lar one

     7          ro     Dr.       ord, i        yo        can     o down         st a little

     8          ac ie, w ere it says one on one wit                                  t e     resident,

     9      co        liance           date, a           iliates disc ssion and Miller

    10          c ool cli ate, do yo                      recall Dr.           ord tellin        yo

    11      a o t          is one on one wit                    t e     resident concernin

    12      t ose to ics

    13                A.        I don t re e              er t is one in              artic lar.

    14          ea , I           s re t at           e     ad     entioned           e ore     a in

    15      con ersation wit                   t e        resident on t ese iss es.

    16                Q.        And it was co              on to doc           ent     eetin     li e

    17      t at in t ese                    dates.        Correct

    18                A.         ea .        I t in        -- I        elie e so, yes.

    19                Q.        All ri        t.

    20                                ere     on, t e doc              ent was        ar ed as

    21                                i it 27        or identi ication.

    22      B        M .         MA :

    23                Q.         et        e s ow yo           now w at s        een        ar ed as

    24               i it 27.          I wo ld li e yo                 to   o -- Dr.

    25          oldsc          idt, t is is --


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     1             A.      2010, yea .

     2             Q.              o is Dr. C en

     3             A.              ili     C en was a             a or ad inistrator in t e

     4      de art ent o                  at olo y.

     5             Q.              ay.     And     e s writin             to     or an Alt an and

     6          i ot y Cleary.              Do yo            now w o t ose indi id als

     7      were

     8             A.          ea .

     9             Q.              o were t ey

    10             A.      Alt an was t e o                       ds an        or t e      c ool o

    11      Medicine.

    12             Q.      Did yo           say o            ds an

    13             A.                ds an, yea .

    14             Q.      And           i ot y Cleary, w o is                   e

    15             A.          ot s re.            e was not -- I don t t in                        e was

    16      at t e       edical sc ool.                      e    ay    a e      een o          ds an    or

    17      t e     ni ersity.              I           st        essin .        I don t         now.

    18             Q.              ay.      e writes             Dear     or an and           i , As a

    19          ac lty     e        er o         ni ersity o            Mia i Miller             c ool o

    20      Medicine, I                  writin        to, one, e          ress        y concerns

    21      a o t t e secreti e nat re s rro ndin                                    t e recent

    22          edical     ac lty co ncil                    ote to s           ort,       ote, c an e

    23      o     leaders i , and, two, to re                           est trans arency o

    24      t e     otin           records        ro     t e co ncil             e     ers.

    25                         e     oes on and              e writes          Bot     o   yo      a e


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     1          een e traordinary in re resentin                          o r        ac lty on t e

     2      co ncil and senate.                     ersonally, I a              dee ly

     3      a     reciati e o              t e lon standin , ti ely and o en

     4      co      nications yo                  a e cond cted wit              o r     ac lty.

     5      It is wit           t is        ac     ro nd t at I a             s r rised to

     6      learn a o t t e                 ote today t ro                r     or     ills.     I

     7      recei ed no              rior co            nications t at t ere was an

     8      acti e consideration                    or a        or al     otion wit in t e

     9          ac lty co ncil or senate.                         ere was no disc ssions

    10      wit     yo ,        y re resentati es, a o t t e iss e, nor

    11          a e I        eard     ro     yo     a o t t e res lts a ter t e                       ote

    12      and     ow I and           y collea           es were re resented.                   is is

    13      a drastic de iation                    ro      ow     istorically yo               a e

    14          een re resentin                  s on t ese two i             ortant         odies.

    15                          en     e     oes on to re           est i        ediately to

    16          ro ide additional in or ation on t is i                                ortant

    17      iss e.           Do yo     see t at

    18             A.          ea .

    19             Q.          a e yo        e er seen t at e ail                    e ore

    20             A.          ot t at I re e              er, no.

    21             Q.         Can yo         o          a little        it.

    22                         ow, yo        so e ow        ot -- I didn t              ean to

    23      tric        yo     or anyt in ,               t so e ow yo               ot t is e ail.

    24      Do yo        see yo            orwarded t is e ail on to                    resident

    25           alala


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     1             A.         ea .        I didn t re e           er it,            t t ere were

     2          any e ails, so, yo                 now, I         st     ay not re e              er.

     3             Q.         i     t.      o now does t is re res                       yo r

     4      recollection a ter seein                   yo        re     orwardin           t e e ail

     5      and yo r co             ent to        resident            alala

     6             A.             , yea .         ea , I     ad to.

     7             Q.             ay.     And so w at do yo              re e           er a o t t is

     8      e ail, yo r reaction and yo                      re        orwardin           t e e ail

     9      on to       resident            alala

    10             A.     I         sorry.          at s yo r            estion

    11             Q.     I want to           now w at ca sed yo                    to write t is

    12      to     resident              alala.        is is           eyond        elie .        My

    13      nine year old son Dylan                   as as ed           e i        I     a e     een

    14          ired.         is is all co in               ro        a rat er li ited                 ro

    15      o     naysayers,              t t e da a e is                e.

    16             A.         ea , I t in           t at, yo            now, accordin              to

    17      t e -- o ay, so accordin                   to t e           ac lty           ylaws, t e

    18      re iew o          deans at t e           ni ersity o              Mia i        a     ens

    19      e ery       o r years, and I              ot t e res lts o                     y last one

    20      I t in       in 2011, w ic , a ain, was                          ery        ood.

    21                    I t in           t at t ere was a              ro         o      e     ers o

    22      t e     ac lty senate t at were tryin                            to     o e t e date

    23      o      y ne t re iew, w ic                s o ld           a e        een -- w ic

    24      res lt s o ld                a e co e in 2013, at so e                       oint in

    25      2013, and t ey were tryin                      to accelerate it.                    I t in


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     1      t at s w at it is,                     t I         not e en s re.

     2                        B t w ate er it was, one day                                y son ca e,                    y

     3      nine year old son, w o was at Bet                                A , ca e to                    e and

     4      said,            ey, dad, I        eard t at yo                 were           ired.

     5             Q.         And so did yo              attri     te t is to t e li ited

     6       ro         o     naysayers

     7             A.           e      s     was     ro        a s all           ro            o        eo le,

     8      yes.

     9             Q.         And w o was t at s all                    ro            o            eo le t at

    10      yo     were re errin              to

    11             A.         I t in        t at t ey were              e        ers o              t e     ac lty

    12      senate.

    13             Q.         And was Dr.           i in stone              e ind t is

    14             A.          od only        nows.            od only           nows.              I     res        e

    15       e did,            t I can t -- I can t con ir                                it.             ere

    16      was -- in t e re iew o                       t e     edical center, t at t in

    17      we     entioned earlier, I                    now t at a lot o                          t e     eo le

    18      w o went to testi y were selected                                y        i in stone.

    19             Q.         Do yo        see in t e           iddle w ere it says                             ro

    20           ili        C en, Dece        er 14, 5:18:38                 . . to Da id                       eo

    21      and a list o              ot ers         Do yo        see t at                     It says                   I

    22      on w at Mad Do                  as done.            Do yo        see t at

    23             A.          ea , I see t at.

    24             Q.           o do yo            nderstand Mad Do                       to        e

    25                        M . I IC         :           ect as to              or .


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     1               A.         I don t           now.     I really don t                   now.    I

     2      sorry.          I         not aware o              w o Mad Do             was.     I    new t e

     3          oot all          layer Mad Do              was a wonder                l      y, and

     4      t an s to             i     we raised              50        illion       or t e       yl ester

     5      Cancer Center.                      B t I     a e no idea w o Mad Do                        is in

     6      t e case o                t is e ail.

     7                                ere        on, t e doc              ent was          ar ed as

     8                                i it 28           or identi ication.

     9      B       M .          MA :

    10               Q.          ow let           e s ow yo              w at we       ar ed as            i it

    11      28.            is is an e ail                 ro        yo     to     o        eBlanc, co yin

    12      Donna           alala and               dd     old er , do yo                   see t at, re

    13          etition

    14               A.           -         .

    15               Q.          et s           o down, i           yo     will,       lease.            ay.

    16          n Dece          er 14t           at 3:01        . . yo           wrote an e ail to

    17          o     eBlanc, co yin                     resident               alala and          dd

    18          old er .          Do yo           see t at

    19               A.          ea .

    20               Q.         It reads,           Dear        o , I           now t at yo         are

    21      aware o             t e circ lation o                    a     etition at t e               edical

    22      ca        s t at tar ets s eci ically                                ac    and I.           e saw a

    23      co y o          t e        etition and it                    a es se eral          oints t at

    24          a e to do wit                   t e direction o                 t e Miller         c ool, a

    25      clai          t at o r relations i                       wit         ac son is worse and


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     1      t at we are not             ro idin        s    ort to o r          issions o

     2       atient care, ed cation and researc .

     3                          ese acc sations are odd, since w en I too

     4      o er t e leaders i                o     t e Miller     c ool, o r entire

     5      trainin        ro ra        at        ac son was on ter inal           ro ation

     6      stat s       y t e AC M           and se eral indi id al              ro ra s

     7      were in       eo ardy.            ince t en, t e o erall              ro ra       and

     8      all indi id al             ro ra s        a e   een reaccredited and t e

     9      Miller       c ool was also              een reaccredited           y t e       CM .

    10                    Do yo        see t at

    11            A.       ea , yea .

    12            Q.      Is t at a tr e state ent

    13            A.      It is.

    14            Q.      It        oes on.           r researc        enter rise t at

    15      was dri       lin        down to 51 in t e ran s              as     een t rned

    16      aro nd and we are now to                   40 researc         edical sc ool,

    17      38 wit        ro ra s t at are t e en y o                     eer

    18      instit tions.

    19                    Is t at a correct state ent

    20            A.      Correct.

    21            Q.            r clinical enter rise is e ol in                    ra idly,

    22      wit        any i        er ections still,            t a      c      ore ro       st

    23      str ct re in             rod cti ity t an         e ore 2006.               r    ed

    24       al iss e          as     een controlled and is now                 ana ea le.

    25                     as t at tr e


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     1             A.        otally tr e.

     2             Q.        oin     on.       inancially, we are in t e                         lac

     3      and     etter t an         lanned     or t is year.                     o    et t ere,

     4      we     ad to         a e si ni icant c an es in o r

     5      or ani ation,             t t at is t e case                 or     ost acade ic

     6       edical centers.

     7                      Is t at also tr e

     8             A.        es.

     9             Q.       Contin in .           r relations i                 wit        ac son

    10       ana e ent, Ma oya and               tei        an, is stron                and o r

    11       ac son acti ities are i                  ro in .

    12                       as t at a tr e state ent

    13             A.        ea .      e e     er, I        oted        or Mayoya to

    14       eco e -- act ally, Ma oya, wit                        an e ent             or t e

    15      o enin      o        t e C ristine        ynn        e a      os ital, w ic                I

    16      was instr            ental in     el in     Carlos to              et t e        nds

    17       or, and         e       licly t an ed           e     or     y contri          tion.

    18      Act ally, I was t e second                  erson t at              e       entioned.

    19             Q.       Contin in , it says,                  ence, w ile t ere is a

    20       orale iss e on ca                s, iss es t at we are dealin

    21      wit     and we s o ld, and t e c an es t at we                                ad to        o

    22      t ro        o er t e last           ew years           sic        were incredi ly

    23      c allen in , it is               n air to        la e t e ad inistration

    24       or t e c allen es o                ac son, t e econo y and t e

    25      c an in         state o         . . acade ic           edical centers.


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     1                            as t at a tr e state ent

     2                A.          o         eant t e           ast     ew        ont s, not                 ew years.

     3                Q.              , I         sorry.        I a olo i e.

     4                A.          ea .        I        is nderstood yo .                  ea , t at s

     5      correct.

     6                Q.      And t en,                 inally, w ere it says                           e s o ld

     7      li e to           nderstand                 etter t e           eanin        and        ossi le

     8      conse           ences o           t is           etition        or     s,     yo        were

     9      re errin              to yo           and        ac .     Correct

    10                A.      I ass           e so.

    11                Q.               eci ically, co ld it tri                          er an early                    ote

    12      on t e Miller                    c ool dean set                       y t e        M senate                  My

    13      ne t           ote is s               osed to           e in t e        ollowin                 year.

    14              e last one a ter                    o r years s owed stron                          s         ort

    15          or t e leaders i .                       It see s           air     or        ac        and I to

    16          e     e t         dated on t ese iss es.

    17                        Did I read t at correctly

    18                A.          es.

    19                Q.      And yo                  elie ed t at.              Correct

    20                A.          es, totally.

    21                Q.      I        yo         o      ,     lease,        ac ie.            ow           o

    22          eBlanc res onded and re erenced t at                                      e        ad           eard

    23      r        ors o        si ned              etitions,         t I        a en t           een

    24          resented wit                 any real e idence t at one e ists.                                         Do

    25      yo        see t at


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     1             A.           -         .

     2             Q.      Did yo                  a e        ore in or ation a o t t e

     3          etitions t an                 o      eBlanc did on Dece                      er 14t , 2012

     4                     M . I IC                  :              ect to t e          or .

     5             A.       ea .              I     elie e I was              ro ided wit             a co y

     6      o     it.

     7             Q.       i        t.           And yo , in           act,        ot a co y o          t e

     8          etition a           ew days earlier.                    Correct

     9             A.      I t o                  t t at yo           s owed        e an e ail w ere I

    10      co ied t e              etition to Donna                        alala

    11             Q.           at s correct.                         at was -- yo             attac ed t e

    12          etition to a -- on                            i it 18.         n         i it 18 yo

    13      attac ed t at e                       i it.             at e ail was Dece             er 6.

    14      Correct             o         ad a co y o                 t e     etition.

    15             A.           ay.           All ri           t.      o, yes.           o      eBlanc does

    16      not see        to        e in a              osition w ere              e    ad seen it.

    17             Q.       ell, I t in                       it says t ere             As we disc ssed,

    18      I     eard r        ors o              si ned           etitions.

    19                          e     etition t at yo                       sent was not si ned.

    20      Correct

    21             A.       i ned                 y w o

    22             Q.       ell, let s                    o     ac     to          i it 20.       I       oin

    23      to s ow yo              a ain                i it 20, w ic              is an       nsi ned

    24          ersion.     Do yo                 see t at

    25             A.       ea .              B t, I           ean, t e        etition was a series


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     1      o     si nat res.

     2             Q.          i     t.

     3             A.      I don t t in                    I saw -- I de initely did not

     4      see t e si nat re o                       t e indi id als t at si ned t e

     5          etition.           I only saw a s                  ary o     t e        etition.

     6             Q.              c se     e.         o     saw       i it 20.              Correct

     7             A.          ea , I de initely saw t at.

     8             Q.      And t is is attac ed to t e e ail t at yo

     9      sent on Dece                 er 6t , 2011, and w ic                       was attac ed to

    10            i it 18, dated Dece                       er 6t , 2012, an e ail t at

    11      yo     sent to           resident               alala and to              ac .     Correct

    12             A.      Correct.

    13             Q.          o now on Dece                 er 14t , in re erence to

    14            i it 28, let s                 o to          i it 28, yo              see Mr.

    15          eBlanc at 10:51              . . writes to yo                    on Dece        er 14,

    16          Dear     ascal, As we                 e disc ssed, I              e     eard r     ors o

    17      si ned        etitions,               t I        a en t        een        resented wit

    18      any real e idence t at one e ists.

    19             A.              ay.

    20             Q.          o at t is              oint in ti e, on Dece                    er 14t ,

    21      yo         adn t seen a si ned                    etition eit er.                 Correct

    22                     M . I IC               :           ect as to           or .

    23             A.      I        ean, t is was              ro ided           e, i        I recall

    24      correctly,              y t e --           y t e        resident o           t e     ac lty

    25      senate.


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     1                Q.         My         estion is a little                    it di     erent.         o

     2          adn t seen any si nat res and yo                                   didn t        now t e

     3      co nt o                  ow     any        ac lty        e     ers     ad si ned t e

     4          etition.                 Correct

     5                           M . I IC               :           ect as to        or .

     6                A.         I         not s re.           My recollection is t at I                       new

     7      t at t ere was a o t 750                                ac lty t at           ad si ned, and

     8      I t in              I learned t at                 ro        t e     resident o        t e

     9          ac lty senate.

    10                Q.             o     res ond to Mr.                 eBlanc on Dece           er 15 at

    11      3:41 a. .                      an     yo         or yo r res onse.              I     eard last

    12      ni        t t at t e                ac lty co ncil o                  t e Miller        c ool o

    13      Medicine                 ad or ani ed a                 ote in t e a ternoon.

    14      A        arently, incl din                       t e     e     ers o     t e co ncil,

    15      t ere are 485 si nat res to t e circ latin                                             etition.

    16      I        a e o tained a co y o                          t e        etition and will

    17          orward -- and will send it to yo                                   ne t.        It tar ets

    18          ot         ac        and I and as s                 or o r re o al.

    19                           Does t at re res                    yo r recollection

    20                A.             ea .       I t o          t it was           ore t an t at,               t

    21      it s           ossi le.

    22                                    ere     on, t e doc              ent was        ar ed as

    23                                    i it 29           or identi ication.

    24      B        M .             MA :

    25                Q.             et s       o to           i it 29.           Down to t e        otto ,


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     1       lease.        Dr.           oldsc           idt, I         s owin           yo        an e ail

     2       ro         enni er McCa                 erty, dated Dece                    er 18, at 5:43

     3       . ., and it reads,                          Dear     ascal and              ac ,        lease        ind

     4      t e     e orand               descri in              t e initial o ser ations

     5       ro     t e        M       assess ent o               t e M I attac ed.                    I also

     6      attac ed t e a endas                             or eac     o        t e site           isits, t e

     7       io ra        ies o           t e        M        Cons ltants and t e initial

     8      analysis co                arin         trans lant              ol     es,        ro

     9      we site wit                net re en e,               ro        t e IM            ro      edical

    10       inance de art ent o                             s r ery,        ro     C 2005 to              resent.

    11                             e e     ect a              inal re ort will                 e     ort co in

    12      in early 2013.                     lease ad ise on t e ne t ste s and

    13      reco        endations.              I        yo     are in a ree ent wit                       t e

    14       ollow-                M     en a e ent,              lease let              e     now, as I

    15      wo ld li e to                 o e        orward           rior to        y        oin     on

    16       aternity              nit lea e.

    17                         I reco ni e t is is a len t y                                   e o.         lease

    18      let     e     now i           yo         re er        ace-to- ace                 eetin s to

    19      re iew ta eaways.

    20                     Do yo           re e              er recei in           t at        ro      enni er

    21      McCa        erty

    22             A.          e .

    23             Q.      And yo              res onded                an        yo ,        enni er,           or a

    24      t oro                  date.             ere are           any        nanswered            estions

    25      and we do need                     ll        M     en a e ent to                 et t e


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     1      answered.

     2                        Did I read t at correctly

     3             A.         Correct.

     4             Q.         And yo              a t ori ed        enni er to           o        orward.

     5      Correct

     6             A.          ea .           I     ean,        enni er was not re ortin                      to

     7          e directly,                  t I         s re t at I enco ra ed                    er to       o

     8          orward.        Alt o               , i     I recall, t ere was an iss e o

     9          aternity           or        er.

    10             Q.          i        t.          e was        re nant at t e ti e.                   B t

    11      yo , in           act, said,                  e do need        ollow-             M

    12      en a e ent to                    et t e        answered.           Correct

    13             A.         Correct.

    14                              ere           on, t e doc           ent was        ar ed as

    15                              i it 30              or identi ication.

    16      B     M .          MA :

    17             Q.          et s           o now to             i it 30.        And t is is an

    18      e ail        ro        -- w o is Ma aly                 o itaille

    19             A.         My assistant.

    20             Q.         And so s e sent an e ail, dated Dece                                     er 19

    21      at 9:07 a. . on                       e al     o     yo .     Correct

    22             A.          es.

    23             Q.         And it reads                 Donna, Below are t e                    irst

    24           ase o        deli era les                 ro      M , t e        ro         t at

    25      re iewed t e M I, IM                          and           as s      ari ed           y


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     1       enni er.               ese re orts are           ra ed in a way to

     2       ro ide          ers ecti e and raise              ey      estions -- t e

     3       ro           was rel ctant to           t s eci ic,             ote,     n        ote,

     4           d    ental co        ents in t is           irst re ort.

     5                       Did I read t at correctly

     6               A.       es.

     7               Q.        at did yo         ean w en yo           wrote          e        ro

     8      was rel ctant to                 t s eci ic         d     ental co        ents in

     9      t e       irst re ort

    10               A.        et er t ey t o              t t at it was a            ood

    11      or ani ation, an or ani ation t at co ld                              e tr sted on

    12           .    B t I         ess     rior to M I, IM           and now in t e                      .

    13               Q.       As a s         ary o     t e     ey ta eaways,              it        oes

    14      on,       t e     ana e ent o        t e M I        as     een a        ro le .

    15                       Do yo        see t at

    16               A.       es.

    17               Q.      I read t at correctly.                 Correct

    18               A.       es.

    19               Q.         ere are        any     inancial cond ct o                      siness

    20           estions raised a o t IM                   ractices,         ot     in ser ice

    21      to       atients and to t e                .

    22                       Did I read t at correctly                   o        a e to say

    23      yes or no.

    24               A.       es.

    25               Q.       And t e         siness       ractices o         t e IM           and


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     1      t e            a e res lted in e traordinary re en e                           rowt

     2       ene ittin           t e de art ent o            s r ery.

     3                     Did I read t at correctly

     4             A.          es.

     5             Q.      And yo        t en said           e ne t         ase will           e a

     6      detailed a dit o                 ills, c ar es and             ay ents        or

     7      ser ices t at              low t ro           t e IM .         Correct

     8             A.      Correct.

     9             Q.      And t ese          inancial or cond ct o                  siness

    10           estions raised a o t t e IM                     ractices, t is was d e

    11      to     any o        t e     ro le s identi ied            y      il C en and

    12      ot ers in t e de art ent o                      at olo y.        Correct

    13                     M . I IC           :          ect as to        or .

    14             A.           at was t e concern, yes.

    15             Q.      In        act, t ere was concern a o t

    16      ina     ro riate and             nnecessary and red ndant testin

    17       ia     rotocols.           Correct

    18             A.          es.

    19             Q.           ere was concern a o t t e IM                     s r ery.        I

    20      set         a one clic           order a       ro al and        ro ider si n-in

    21      w en accessin              t e        I    syste .     Correct

    22             A.      I     a en t       sed it,        t I     eard a o t it.

    23             Q.           at also t e IM            -- t ere were also concerns

    24      a o t t e IM               er or in          any ro tine la           tests on

    25       ac son        atients w en               ac son s own la        o     ered


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     1      identical ser ices at                            c     lower cost.     Correct

     2                A.           at one I             less        a iliar wit ,            t I tr st

     3      w at yo              -- I        ess yo              a e in or ation on t at.

     4                Q.         And t ere was also concern t at t e IM                              s lit

     5      t e test              etween t e                A la     and t e IM     la        to     a e

     6      t e syste , w ic                   too          ad anta e o        cost- ased

     7      re ortin               oin        ro        i        er cost tests and           se o     IM

     8          or direct Medicare                     illin        on tests wit         i     er

     9      rei            rse ents.          Correct

    10                           M . I IC          :              ect to t e     or .

    11                A.           ese were t e concerns.                       at is not           art o

    12      t is en nciation o                     iss es is w at ty ically

    13          rans lant Instit te do across t e co ntry.

    14                           I don t       now i             t is was an     n s al        e a ior

    15      or a standard                e a ior on t e                art o     de art ents o

    16          rans lant Instit te or trans lant de art ents.                                       And

    17      t at s t e reason w y we needed to                                 a e additional

    18      re iew           y     eo le w o do t at                  ro essionally.

    19                Q.          ell, did yo                a e -- was t ere a trans lant

    20      di ision at D                e     ni ersity

    21                A.           ere was a            ery stron           trans lant center at

    22      D     e        ni ersity, yes.

    23                Q.          as t ere a trans lant                     at olo y testin           in

    24      t e de art ent o                   s r ery at D             e     ni ersity

    25                A.         I don t       now.


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     1                Q.         ad yo        e er     eard o        trans lant testin

     2       ein           in t e de art ent o                s r ery at any ot er

     3       ni ersity

     4                A.        I ne er c ec ed.              In     eneral, loo , t e

     5      correct t in                to do is always to              a e testin        done        y

     6      t e de art ent o                       at olo y.          e de art ent o

     7       at olo y is                 nda entally res onsi le                 or t e

     8       ro ision o                testin , and t at incl des anyt in                        ro

     9       l cose, yo r                l cose le el, to              ery so     isticated

    10       io sy res lts.

    11                               ese de art ents are t e center iece o

    12      la oratory testin                      in any     edical center.        And any

    13      ti e yo             detac        t e     at olo y res onsi ility to a

    14      non- at olo y ser ice, yo                         enco nter di        ic lties.

    15                          And so        ac     and I     ery stron ly        elt t at t e

    16      IM        s o ld          e in t e de art ent o               at olo y.         e were

    17       retty o en a o t t at wit                         Dr.     i in stone, and Dr.

    18       i in stone                ery stron ly o              osed to it.

    19                           o      now, it s an iss e o              co     liance.     It s

    20           st         c        ore di        ic lt to        a e s re t at yo         a e

    21      co        liant          ractices w ene er a la oratory is o tside

    22      t e de art ent o                       at olo y.

    23                          In t e case o           t e IM , t at str ct re

    24      e isted in t e de art ent o                            s r ery w en I ca e.           It

    25      was a           o    and     o     or ani ation.             ere were so e


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     1      researc        st dies t at were done, to et er wit                      t e

     2      clinical st dies.              It needed to        e - to       e re ised

     3      s     stantially.

     4                     I t in        t at -- I t in        t at t e de art ent

     5      o     s r ery cleaned t at               ite a     it,        t ne er a reed

     6      to     o e it to t e de art ent o                  at olo y.

     7             Q.      Dr.     oldsc     idt, t e ot er -- in yo r letter

     8      or in yo r e ail to              resident         alala, it re erences

     9          And t e      siness        ractices o        t e IM       and         a e

    10      res lted in e traordinary re en e                    rowt           ene ittin

    11      t e de art ent o              s r ery.

    12                     And, a ain,            st so t e record is clear, w o

    13      was r nnin           t e de art ent o        s r ery

    14             A.        o was leadin           t e de art ent o             s r ery

    15             Q.       es.

    16             A.      Dr.     i in stone.

    17                           ere     on, t e doc     ent was          ar ed as

    18                           i it 31     or identi ication.

    19      B     M .       MA :

    20             Q.       ow I d li e to t rn yo r attention to

    21            i it 31.        Dr.     oldsc     idt, t is is an e ail             ro

    22      yo     to     resident         alala res ondin           to    er e ail to

    23      yo     at 12:14        . .     Do yo     see t at

    24             A.       ea .

    25             Q.        is is t e day a ter sendin                   t e assess ent


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     1           date t at we              st went o er in                i it 30.          is is

     2       resident               alala e ailin          yo     t e     ery ne t day.        Can

     3      yo     read w at s e wrote.

     4             A.           o     need to co e alone to orrow.

     5             Q.      And res onded

     6             A.               ay.     ill do.

     7             Q.      And did yo             s ea     to     er a o t w at s e

     8      wanted to see yo                a o t

     9             A.          o.

    10             Q.      And did yo , in                act,     o to see        er t e ne t

    11      day, on Dece              er 21st

    12             A.      I        res    e I did,        eca se, ot erwise, I wo ld

    13       a e said so.

    14             Q.           ay.       Do yo     re e        er w at yo r        eetin     was

    15      a o t

    16             A.          o.

    17             Q.      Do yo          re e     er w et er           resident      alala at

    18      t at        eetin        told yo       to ter inate Dr.           ord

    19             A.      I don t t in             so.     My recollection is t at it

    20       a     ened early in              an ary.

    21             Q.          o w at do yo          recall a o t t is              eetin , i

    22      it wasn t a o t t at

    23             A.      I don t re e             er t at        eetin .     I      sorry.

    24                              ere    on, t e doc           ent was     ar ed as

    25                              i it 32       or identi ication.


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     1      B    M .       MA :

     2            Q.        ay.         et        e s ow yo        w at s        een     ar ed as

     3           i it 32.        I      s owin        yo , Dr.           oldsc     idt,          i it

     4            er 32.        Do yo        see t at            It s a Dece           er 21st,

     5      2012, e ail.

     6            A.       ea .

     7            Q.    It says               e     resident        as directed t at,

     8      e    ecti e i        ediately, t e in esti ation o                          t e IM      e

     9      led and     ana ed          y internal a dit.

    10                  Do yo          see t at

    11            A.       es.

    12            Q.    Did yo           now t at e ail was co in                       o t

    13            A.       o.

    14            Q.    Did t at ta e yo                    y s r rise

    15            A.       ot totally, no.

    16            Q.        y

    17            A.    Beca se, ty ically, w en t in s escalate in

    18      iss es t at          a e to do wit              co     liance, t en t e a dit

    19      de art ent ta es care o                   t e .

    20            Q.    And sittin                 ere today, do yo              re e     er

    21      w et er yo r             eetin        t e day        e ore     ad anyt in          to

    22      do -- or, I              sorry, stri e t at.

    23                  Accordin             to       i it 31, yo           told        resident

    24          alala t at yo           wo ld co e and see                 er t e        ollowin

    25      day, w ic       wo ld        a e        een Dece        er 21st.           Correct


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     1             A.      Correct.

     2             Q.      And on t at                       ery sa e day --               i it 32 was

     3      e ailed at 4:40                       . .        Does t at re res             yo r

     4      recollection as to w at yo                                 s o e to      resident         alala

     5      a o t

     6             A.          ot really.

     7                     M .                MA :             y don t we ta e a             rea .

     8                                   ID             A          :     is    ar s t e end o

     9              ideo           ile n            er        o r.        e ti e is 2:20            . .

    10              e re           oin        o         t e record.

    11                             ere            on, a        rie      recess was ta en, a ter

    12             w ic        t e        ollowin                  roceedin s were          ad:

    13                                   ID             A          :    e re    ac     on t e       ideo

    14             record.                is is t e start o                     ideo       ile n      er

    15              i e o           t e de osition o                     Dr.    ascal       oldsc     idt.

    16                  e ti e is 2:31                       . .

    17                             ere            on, t e doc            ent was       ar ed as

    18                             i it 33                  or identi ication.

    19      B     M .          MA :

    20             Q.      Dr.           oldsc              idt, I       s owin      yo     w at s        een

    21          ar ed as             i it 33.                 And      e ore we      et to t at, Dr.

    22          oldsc     idt, was t e IM                          still in t e de art ent o

    23      s r ery w en yo                       le t as dean

    24             A.      I       elie e so.

    25             Q.          o         elie e it re ained in t e de art ent o


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     1      s r ery t ro                o t yo r ten re as dean o                      t e Miller

     2       c ool o            Medicine

     3            A.        I t in        so, yea .

     4            Q.        I         s owin        yo           i it 33, w ic           is an e ail

     5       ro        o as           eBlanc to Donna                  alala, dated Dece              er

     6      22, 2012.            Do yo     see t at

     7            A.            e .

     8            Q.        And, act ally, let                    e     o to t e 9:45 a. .

     9      e ail      ro        Donna         alala to               o as     eBlanc.     Do yo

    10      see t at             It says            ascal intends to              a e a        inal

    11      con ersation wit                   ac        on t e 31st.            ot in          st

    12      lea .       ac            ay want to tal              to     e on t e 2nd.

    13                      Do yo        see t at

    14            A.             ay.

    15            Q.            o does it re res                 yo r recollection, Dr.

    16       oldsc      idt, w et er yo                     ad        et t e     resident t e day

    17       e ore, on t e 21st, and s e instr cted yo                                    to

    18      ter inate Dr.               ord on t e 31st

    19            A.        My recollection is t at we                          ad a      one call.

    20      B t I do not re e                  er t at it was a one-on-one

    21      con ersation.

    22            Q.             ay.     B t yo           see w at s e wrote to Mr.

    23       eBlanc.             o     don t deny t at ti eline, do yo

    24                      M . I IC            :           ect as to           or .     Co ld yo

    25            clari y w at yo                    ean     y t at.


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     1                    M .             MA :         re.       Dr.        oldsc          idt testi ied

     2            t at        e didn t re e                er w en          e        et wit        t e

     3             resident on Dece                   er 21st a o t.                   I      as in              i

     4            w et er t e Dece                   er 22, 2012, e ail                      ro     Donna

     5                 alala to           o      eBlanc indicatin                     t at        ascal

     6            intends to              a e a       inal con ersation wit                             ac       on

     7            t e 31st, not in                     st lea , w et er t at

     8            re res ed              is recollection as to w at                           e     et wit

     9            Donna         alala a o t on t e 21st.

    10                               I           :         ay.     o aro nd t at ti e I

    11            re e        ered t at I was ta in                     a        a ily        acation.

    12            And it is              ossi le t at Donna                     ad     entioned

    13            so et in           to       e at t at          eetin .

    14                    My recollection is t at I recei ed a                                           one

    15            call w en I was -- w en I was on                                    a ily        acation

    16             ro     Donna and t at s w en s e indicated to                                             e

    17            t at s e           ad decided to se arate                           ro     Dr.        ord.

    18      B    M .          MA :

    19            Q.           ay.        And w et er it was a                       eetin         or

    20      w et er it was a                   one call, w at do yo                        re e         er       er

    21      tellin       yo     was t e reason w y s e was -- instr cted

    22      yo    to ter inate Dr.                   ord

    23            A.          ea .        Beca se s e said t at it                           ad     eco e

    24      i    ossi le to deal wit                       i     t at           e was not --                 e was

    25      not wor in          wit           oint a t ority and t e c air an o


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     1      t e        oard, and t at s e                    ad co        laints     ro    Carlos

     2      Mi oya,           ro        t e     ac lty, and t at t ere was no way we

     3      co ld contin e to wor                          wit      i .

     4                Q.      And it was all d rin                       t e tele       one call or

     5      was t at t e                 eetin

     6                A.      A ain, it           ay        e at t e          eetin .     B t t ere

     7      was also a                  one call a o t ti in .                   Beca se I

     8      re e           er I was as ed to                 o to        er    o se w en I was

     9      ret rnin               ro     t e     acation.           And I       et wit         ac

    10      a ter t at              eetin .

    11                Q.       o did yo            o to           resident         alala s       o se on

    12      t e 21st

    13                A.      I t o            t it was w en I ret rned                   ro

    14          acation.

    15                Q.           ay.        B t yo        saw t e e ail tra             ic

    16      re erencin              -- let s           o     ac     to         i it 31.        Do yo

    17      see on Dece                 er 20 at 12:14              . . Donna           alala writes

    18           o     need to co e alone to orrow.                             And yo     res onded

    19               ay.      ill do

    20                A.       es.

    21                Q.           ay.         ow, seein                 i it 31 and now t at

    22      I        e s own yo                 i it 33, does it re res                   yo r

    23      recollection as to w et er yo                                 et wit     Donna           alala

    24      concernin               ac        s ter ination or w et er yo                      s o e to

    25          er on t e               one


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     1             A.           ay.            o, a ain, w at I recall is t at t ere

     2      was a           eetin        wit        Donna and       o      eBlanc, and I

     3      t o         t t at           eetin        was a ter t e          a ily           acation, to

     4      disc ss ne t ste s.                       And t at t ere was a                    one call

     5      wit        Donna w ere we disc ss t e se aration                                  ro     Dr.

     6          ord.

     7                        I don t           now i       t e         one call was on t e

     8      21st or 22nd.                 B t I        now t at t ere was -- t ere was

     9      a     eriod o           one wee            etween --          etween t e 21st and

    10      t e date o              t e        eetin       wit      o      eBlanc and Donna

    11           alala, d rin                 w ic     I was on          a ily     acation.

    12             Q.          o do yo              re e    er t e se        ence, w et er yo

    13          et wit         er on t e 21st                    Do yo     re e     er        eetin

    14      wit         er on t e 21st, in li                      t o           i its 31 and 33

    15             A.         I do re e              er -- I don t re e             er        eetin

    16      wit         er on t e 21st.

    17             Q.           ay.

    18             A.         I re e           er     eetin       wit      er and        o         eBlanc

    19      on     y ret rn              ro         acation.

    20                        And I also re e                 er t at       e ore t at              eetin

    21      wit         o      eBlanc and              resident           alala, Donna              ad

    22      s ared wit               e        er decision to se arate wit                      Dr.       ord.

    23             Q.           ay.

    24             A.         I can t           e     ore s eci ic a o t             y

    25      recollection o                    t e s ccession o             e ents.           I a ree


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     1      wit     t e s ccession o                       e ents     t e s eci ic dates at

     2      w ic        t ey occ rred is a little                       it     l rred, I              st

     3      say.

     4             Q.       o w en yo                 said in          i it 31 -- act ally,

     5      stri e t at.

     6                     In             i it 31, w en s e said                    o     need to

     7      co e alone to orrow                       and yo        said, res onded,                  ay.

     8       ill do,        t at doesn t tri                     er a recollection t at

     9      yo , in        act, went to                    er   o e on Dece         er 21st.

    10             A.      It co ld                 a e     een to     er o     ice.

    11             Q.           ay.

    12             A.      It was not -- I don t t in                          it was t e

    13       eetin        wit         o         eBlanc at t at ti e.

    14             Q.           ay.         o yo           don t t in        t at s e told yo

    15      to ter inate Dr.                    ord on t e 21st.              Is t at       air

    16             A.       o, I didn t say t at.                            at I        sayin        is

    17      t at I a        not s re t at t e act al                          eetin       wit        Donna

    18      was on t e 21st or w et er it was a                                 one call and

    19      t en we        et wit               o         eBlanc w en I ret rned                ro

    20       a ily        acation.

    21             Q.           et er it was a                   one call or a            eetin , did

    22      yo     recei e an instr ction                        ro    t e     resident to

    23      ter inate Dr.                 ord

    24             A.       es.

    25             Q.      And t at was on Dece                       er 21st.          Correct


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     1                A.      I ass              e it was,       ased on t ese e ails, yes.

     2                Q.      And yo r instr ction was to ter inate                                 i

     3          ro         is C             osition or all             ositions

     4                A.      My recollection it was to ter inate                               i       as a

     5      C        , not as a              ac lty.

     6                Q.              ay.        And w y did yo             -- w y were yo

     7      waitin            ntil t e 31st to                   a e t at con ersation, t e

     8          inal con ersation, wit                          ac

     9                A.      I        elie e I was on                a ily     acation.

    10                Q.              ay.        And w ere did yo              o to

    11                A.      I didn t want to                   a e t at con ersation on

    12      t e            one wit               i .        eedless to say, I was           ery           set

    13      wit        it.

    14                Q.          o     were           set a o t           resident      alala s

    15      decision to ter inate Dr.                            ord

    16                A.      I was               set.       I was         set a o t losin              ac ,

    17      yes.

    18                Q.      Bac           to         i it 33        or      st a     o ent.            y do

    19      yo        t in            resident              alala told Mr.           eBlanc t at

    20      not in                st lea

    21                        M . I IC                 :        ect as to        or .

    22                A.              at always w at Donna does w en t ere s

    23      so et in              i     ortant.

    24                Q.      Do yo               now w y yo          were instr cted to

    25      ter inate Dr.                    ord       ro      is C          osition


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     1                     M . I IC                  :              ect as to        or .

     2             A.      Beca se                 e was           y direct --        y direct re ort.

     3             Q.              ay.

     4             A.          e e           er t at           ac     and I were        riends.          is

     5      was not anyw ere easy                             or     e.

     6             Q.      And it was not easy                             or yo ,     eca se yo

     7          al ed     i .              Correct

     8                     M . I IC                  :              ect as to        or .

     9             A.          e was a              riend and I              al ed     i , yes.        ac

    10          as wonder              l      alities.

    11                                 ere        on, t e doc              ent was     ar ed as

    12                                 i it 34           or identi ication.

    13      B     M .          MA :

    14             Q.      I               s owin        yo        w at s     een     ar ed as         i it

    15      34.         is is an e ail                        ro      o      eBlanc to Donna

    16           alala.

    17             A.      It s              ro          alala to           eBlanc.     I     sorry.

    18             Q.              e        irst e ail is at 4:51.                    Do yo     see t at

    19             A.          ea .                ay, o ay.

    20             Q.      Can yo                 read t at           or     s.

    21             A.          I            st s o e wit              Alan.         e was     ali ied to

    22          ear t at o ersi                    t o        t e IM        in esti ation was          o ed

    23      to     C internal a dit and t at                                e wo ld     a e     i en a

    24      c ance to e                    lain     is        osition on t e           atter.      e

    25      wo ld       re er t at we not initiate any ot er


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     1      in esti ation re ardin                   t reats, real or i           lied, as

     2      t ere is e ery              ossi ility t at t is w ole e isode was

     3       ood intentions              oorly deli ered, and              rt er

     4      in esti ation wo ld only ca se                      ore     ro le s     or t e

     5      Miller        c ool o        Medicine.          e is loo in          orward to

     6       eetin        wit     t e in esti ators and e                lainin      is

     7       osition.

     8             Q.      And do yo        see w at         resident          alala s

     9      res onse was                Correct

    10             A.      Best --

    11             Q.       Correct.        Best concl sion.

    12                     Did yo        e er see t is e ail             e ore

    13             A.       o.

    14             Q.      Did yo         now t at Alan            i in stone was            i en

    15      t ese        ro ises

    16                     M . I IC         :          ect as to        or .

    17             A.       o, I didn t.             By t e way, t is is not t e

    18      way it s s            osed to       o.     I was t e direct -- I was

    19      t e direct s           er isor o           ot    Dr.      ord and Dr.

    20       i in stone and, as a conse                     ence, I s o ld         a e --

    21      t is        ind o     co      nication s o ld             a e co e to        e     ro

    22      Mr.     eBlanc.        Co     osed,       eBlanc.

    23             Q.       ell, sittin              ere today and readin           t is,

    24      yo     don t        eel t at t is was            ro erly done.         Correct

    25             A.      In ter s o           y in ol e ent, no.              In ter s o


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     1      t e     act t at               e went to internal a dit, t at is

     2      co     letely e            ecta le        or so et in           t at escalate to

     3      t e le el o            serio sness, as t is deal did.

     4             Q.        ell, t e e              ect o        t at, Dr.     oldsc              idt,

     5      was t at         M     wo ld no lon er                 e in ol ed in t e

     6      in esti ation.                  Is t at correct

     7                   M . I IC               :           ect as to        or .

     8             A.    I ass              e t at internal a dit wo ld c ose

     9      w ate er co            any t ey t o                  t wo ld     e t e           ost

    10      a     ro riate, yes.

    11             Q.        o t e answer to                 y      estion is        M        wo ld no

    12      lon er      e in ol ed.                 Correct

    13             A.        ot necessarily.

    14             Q.        as        M     in ol ed a ter t is              oint

    15             A.    I         sorry

    16             Q.        as        M     in ol ed a ter t is              oint

    17             A.        ot t at I              now o .

    18             Q.            ey were not reen a ed.                    Correct

    19             A.        ot t at I              now o .        B t t ere was anot er

    20      or ani ation t at was in ol ed.

    21             Q.        i     t.         e ll     et to t at.

    22             A.            ay.

    23             Q.    And, a ain,                  st so t e record is clear,

    24      t ere was no               erit     e ind Dr.           i in stone s

    25      contention yo                  or Dr.     ord        ad t reatened           i     in any


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     1      way.        Correct

     2                     M . I IC                      :          ect as to        or .        e etiti e.

     3             As ed and answered.

     4             A.      I               sorry.                at is yo r         estion

     5             Q.          et           e as         a di       erent      estion.

     6                         o           see w ere Mr.              eBlanc says           e wo ld

     7       re er t at we not initiate any ot er in esti ation

     8      re ardin           t reats, real or i                          lied.     Do yo       see t at

     9             A.              -            .

    10             Q.      And, a ain, t at re ers to Dr.                                   i in stone s

    11      contention t at t ere was t is i                                   lied or real t reat

    12      deli ered to                    i       t ro           C arlie     e ero        .    Correct

    13                     M . I IC                      :          ect as to        or .

    14             A.              at s a s ec lation.

    15             Q.          ell, do yo                        now w at Mr.        eBlanc is

    16      re errin           to, t at                  e wo ld          re er t at we not

    17      initiate any ot er in esti ation re ardin                                           t reats to

    18      Dr.     i in stone s contention t at yo                                   and Dr.       ord

    19      t reatened                 i             i       t

    20                     M . I IC                      :          ect as to        or .

    21             A.      My              nderstandin               ro     t at is t at

    22       i in stone didn t want any                                    rt er in esti ation,

    23       eanin         y a t ird                     arty.

    24             Q.              ay.

    25             A.      It              as not in              to do wit        C arlie       e ero     .


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     1                           ere     on, t e doc          ent was      ar ed as

     2                           i it 35           or identi ication.

     3      B        M .    MA :

     4                Q.    et     e s ow yo           w at s     een    ar ed as           i it

     5      35.

     6                A.     ay.

     7                Q.    et s        o to t e 13t          asteris      down.

     8                A.   Can yo            el      e co nt.

     9                Q.   I ll        et t ere.         e ll     ind it.     It s     nder

    10          ro ress, I t in .

    11                A.     at dates s on it

    12                Q.     is is dated Dece                er 22nd.

    13                A.     ay.

    14                Q.   Do yo        see t at         Can yo     read           is is

    15      yo r -- t is is yo r acti ity s                        ary     or Dece     er

    16      20t .

    17                A.    ea .

    18                Q.   And it s dated Dece                er 22nd.

    19                A.    ea .

    20                Q.   And do yo              recall a    ideo inter iew wit

    21          ac

    22                A.    o, I don t.              B t it doesn t        atter.

    23                Q.     ose are yo r words.                Correct        ideo

    24      inter iew wit               ac        re ardin    w at is a ead in 2013,

    25      aweso e        artners i


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     1             A.         es.

     2             Q.         o on Dece           er 22nd, 2012, w en yo                   wrote

     3      t at at 7:41             . ., yo         new t at yo          were     oin        to

     4       ire        ac     ro      is     osition as C           .    Correct

     5                       M . I IC         :           ect as to       or .         o

     6              o ndation.          Inconsistent wit                  rior testi ony.

     7             Q.         et s     o to t e to ,           lease.

     8             A.        Based on t e e ail t at yo                   s owed           e, it is

     9       ossi le, yes.

    10             Q.        All ri     t.         o do yo     see at t e to                it says

    11      acti ity s              ary, Dece        er 20.

    12             A.          ay.      o t at was -- t at was two days

    13       e ore.

    14             Q.        B t yo     sent t is e ail on Dece                   er 22nd, do

    15      yo     see t at, at 7:41                . .

    16             A.         es.

    17             Q.         o w en yo           sent t at e ail --             o down,

    18       lease -- yo             wrote        ideo inter iew wit              ac        re w at

    19      is a ead in 2013.

    20             A.         es.

    21             Q.         Aweso e        artners i              Correct

    22             A.         es.

    23             Q.         o w en yo           sent t at e ail, yo              new t at

    24      yo     were       oin     to ter inate Dr.              ord    ro      is        osition

    25      as C         on Dece       er 31st.           Correct


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     1                    M . I IC           :        ect as to    or .

     2            A.           at e ail was written on t e 20t .                   Beca se

     3      it relays e ents o               t e 20t , I wo ld           ro a ly not

     4      wait two days, de initely not wait two days to s ea

     5      to    i .     And, yes, yo             re correct I didn t c an e t e

     6      e ail t at I wrote on t e 20t .

     7            Q.       i     t.        o yo     sent it o t on t e 22nd.

     8      Correct

     9            A.      I a ree.          I did not c an e it, t at s

    10      correct.

    11            Q.      And, as a          atter o      act, can yo            o down to

    12      t e    otto ,        nder a          reciation, can yo        see t e t ird

    13      asteris        ro     t e       otto

    14            A.           , yes.

    15            Q.      And w at does it say

    16            A.       ac         or    est inter iew e er.

    17            Q.           at is a       reciation.     Correct

    18            A.      De initely.

    19            Q.      And, a ain, w en yo             wrote t at e ail, were

    20      t ere any          er or ance iss es or wor            lace iss es wit

    21      Dr.    ord

    22                    M . I IC           :        ect as to    or .

    23            A.      I told yo          a o t t e iss es wit            ac .       ay

    24      It doesn t -- it doesn t                  ean at all t at t ere was

    25      not    reat         alities a o t          ac , w ic     I     ery      c


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     1      a        reciated.

     2                            ac     was a             riend.             ay         I     new I was           oin

     3      to lose a              riend.             I     new I was              oin        to lose t e

     4          erson w o I was wor in                         wit           e ery day.             Do yo         t in

     5      t at t at wo ld                      e an a        ro riate t in                    to do        or        e

     6      to not           e     rate          l        or w at        e     ad done, e en i                    t ere

     7      were si ni icant li itation to, yo                                               now,     is wor

     8      since           cto er o             2012          e was           y     riend and           e        ad

     9      done a lot o                 really             ood wor .

    10                                 ere       on, t e doc                 ent was           ar ed as

    11                                 i it 36             or identi ication.

    12      B        M .          MA :

    13                Q.           ay.           et        e s ow yo           now w at s              een        ar ed

    14      as             i it 36.          I            s owin        yo , Dr.              oldsc     idt, an

    15      e ail           ro     Dr.       ord, dated Dece                       er 26, t e day a ter

    16      C rist as, at nine o cloc                               a. . to yo , and it reads

    17           ascal,           er o r con ersation,                         lease re iew t e

    18      attac ed.

    19                A.           ay.

    20                Q.         And yo          can see t e s                     ect is           lease re iew

    21      clinical la oratory                            olicy.            Do yo           see t at

    22                A.          es.

    23                Q.         Do yo       re e           er t e clinical la oratory

    24          olicy t at yo                and Dr.           ord and Dr. Cote, wit                              el

    25          ro     I     elie e Dr. C en,                      ad        re ared


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     1               A.       ea ,        a     ely.

     2                             ere        on, t e doc        ent was           ar ed as

     3                             i it 37        or identi ication.

     4      B       M .       MA :

     5               Q.       et     e s ow yo                 i it 37 and see i              t at

     6      re res es yo r recollection.                         Do yo        re e     er t is

     7      clinical la              olicy t at yo              and Dr.        ord and Dr. Cote

     8      intended to              t into e           ect in 2013

     9               A.       es, I do re e              er it     a        ely.

    10               Q.        ay.        Can yo          st     o to t e           otto ,     ac ie.

    11          o         a little        it.          ere yo      o.

    12                       And do yo           recall t at t e intent was to

    13      trans er la oratories in                      ario s de art ents

    14      t ro           o t t e        c ool o        Medicine to t e              at olo y

    15      de art ent

    16               A.       es.

    17               Q.      And it was to              e done in I            ess     rad al

    18      incre ents w ere t e                      oney wo ld        e     e t in certain

    19      de art ents,             rad ally           oin     e ent ally all to t e

    20      de art ent o                 at olo y, is t e              est way I co ld

    21      deci          er it.     Is t at           ow yo     re e        er it

    22               A.       ery         c     so.     It was a lon           ne otiation.

    23               Q.        ay.        And, in        act, it wasn t li ited to t e

    24      IM .          Correct

    25               A.       o.          ere were ot er s aller entities.


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     1                              ere     on, t e doc           ent was        ar ed as

     2                              i it 38        or identi ication.

     3      B     M .          MA :

     4             Q.          et     e s ow yo              i it 38, w ic              is an

     5      e ail -- let s                 o down -- t e e ail on Dece                    er 30 at

     6      3:17 a. .                e ti es        ay     e screwed         ,     eca se I

     7      t in        Dr. Cote was in                  ro e at t e ti e,               t yo

     8      wrote to Dr.              ord and to Dr. Cote              I antici ate t at

     9      co in        wee        will     e      sy wit        tal s a o t t e IM

    10      a ter t e s arin                 o     t e doc        ent on     M la oratories

    11      and t e on oin                 re iew o        t e IM      y     M .        It wo ld       e

    12          reat i         ic ard co ld              re are an ele ator s eec                 on

    13      t e     ey li itations o                 t e IM        as it is c rrently set

    14           , s o ld li it to t e to                     i e, alt o                I can t in

    15      o      any     ore, s c              t at t e t ree o            s can deli er a

    16      consistent              essa e.          e     irst     eetin        will     e on

    17      Monday wit              t e     resident.        It wo ld        e     reat i        we

    18      co ld        a e t e           essa e ready           y t en.        C eers,

    19          ascal.

    20                     Did I read t at correctly

    21             A.      Correct.

    22             Q.      And, a ain, t is was Dece                       er 30.         o     and

    23      Dr. Cote and Dr.                 ord intended to               t into e           ect t is

    24      new clinical la s                    olicy.     Correct

    25             A.          es.


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     1                                 ere     on, t e doc     ent was       ar ed as

     2                                 i it 39     or identi ication.

     3      B        M .          MA :

     4                Q.      I wo ld li e to s ow yo                      i it 39.          is is

     5      an e ail              ro        C ristine Morris to yo          re ardin        t at

     6          ideo and s e said                 I want to        a e s re it is o ay

     7      wit        yo     i        we lead t e newsletter t is             ednesday wit

     8      a        reat     ideo inter iew wit              yo     and    ac .

     9                        Do yo           see t at

    10                A.          es.

    11                Q.      And do yo           see yo r res onse                st   o      a

    12      little,           ac ie.              ay.      reat.

    13                A.              ay.

    14                Q.          o     res onded to        er on Dece       er 31st at 7:04

    15          . .        Do yo        see t at

    16                A.          ea .

    17                Q.          ad yo , in        act,     ad a con ersation wit

    18          ac         y t en t at t e              resident wanted to ter inate

    19          i      ro         is        osition as C

    20                A.      I do not           now t e s eci ic day t at we

    21      tal ed.           I t o            t it was ri     t aro nd t at ti e.

    22      May e Dece                 er 31st or t e 1st o            an ary.

    23                                 ere     on, t e doc     ent was       ar ed as

    24                                 i it 40     or identi ication.

    25      B        M .          MA :


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     1                Q.                 ay.            ell, let             e s ow yo        w at s           een

     2          ar ed as                      i it 40.             I        we can        o down.             is is an

     3      e ail           ro            oe        atoli to                 alala at 4:10              . .          ere

     4      is 4:10                       st        o         a little              it.

     5                               o        see        oe    atoli s e ail to                    resident

     6           alala at 4:10                          . .

     7                A.                 ay.

     8                Q.         I direct yo r attention to t e sentence                                               nce

     9          ascal        as s o en wit                             ac     and ti in           and ne t ste s

    10      are clear, I wo ld li e to                                        ra     yo     one     ore ti e.

    11                           Do yo              see t at

    12                A.             ea .

    13                                    ere           on, t e doc                ent was        ar ed as

    14                                    i it 41             or identi ication.

    15      B        M .             MA :

    16                Q.             ow let              e s ow yo                   i it 41.

    17                A.         I            sorry.          I need to close                 y s        tter,

    18          eca se t ere s too                             c        li     t co in        in        y eyes.

    19          old on               st one second.

    20                Q.                 ay.

    21                A.         Bac           wit        yo .

    22                Q.                 an     yo , Dr.                oldsc        idt.

    23                           I            s owin          yo              i it 41, w ic              is an e ail

    24          ro     yo        to           resident                 alala at 6:03              . .     Do yo        see

    25      t at


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     1                A.              ay.

     2                Q.      It says               reat.     I tal ed to      ac       and t en

     3      also wit                      eri.     Con ersations were di            ic lt,        t

     4          ery ci ili ed.

     5                A.          es.

     6                Q.          I also           ollowed          wit    oe and       erissa.

     7                        Do yo              see t at

     8                A.          es.

     9                Q.          o        y 6:03       . . yo       ad   ad t e con ersation

    10      wit            ac .           Correct

    11                A.          ea .           Correct.

    12                Q.      And, in              act, yo       ad act ally s o en to                i

    13      earlier in t e day.                           o ld yo     a ree wit      t at

    14                A.      De initely.

    15                Q.      Do yo              recall a     ro i ately w at ti e yo

    16      s o e to              i

    17                A.          o.

    18                Q.          o ld it           a e     een closer to noon on t at

    19      day

    20                A.              ,     y     od, I really don t re e            er t e ti e

    21      o        t e day.              I re e       er it was e tre ely di            ic lt.

    22                Q.      And so at t e ti e t at yo                     s o e or were in

    23      e ail corres ondence wit                          C ristine Morris wit             re ard

    24      to t e           ideo, yo               ad or were a o t to           ire     ac      ro

    25          is     osition as C                 .     Correct


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     1             A.          es.         e e     er t at I was not s            osed to

     2      tal     a o t it to anyone.

     3             Q.      I     nderstand.              B t yo     still a t ori ed

     4      C ristine to               t o t t e           ideo.     Correct

     5             A.          es.     I a ree wit           t at.

     6             Q.      Dr.        oldsc        idt, yo        also     ad a con ersation

     7      wit          eri     eit .           Correct

     8             A.          es.

     9             Q.      And did           resident         alala also instr ct yo

    10      to ter inate               eri        eit

    11             A.      I t in           t at -- let           e t in      or a second.        I

    12      t in        t at     erissa Morris is t e one w o tal ed to                       e

    13      a o t         eri,        eca se s e was in                  an reso rces and

    14       erissa was in c ar e o                          an reso rces.         o I t in

    15      t at relati e to                     eri s ter ination, t e con ersation

    16      was wit            erissa Morris.

    17             Q.      B t yo           in or ed        resident         alala t at yo

    18      tal ed to           ac     and t en also wit                   eri.

    19             A.      Correct.

    20             Q.           y did yo           tell     resident         alala t at yo

    21       ad also s o en to                     eri,     res     a ly re ardin      er

    22      ter ination

    23             A.      Beca se --              eca se, o        io sly, Donna      alala

    24      was aware o              it.

    25             Q.          ow, at t is              oint in ti e, on Dece        er 31st,


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     1          ew     ear s            e, 2012, yo                   e   ected Dr.       ord wo ld

     2      re ain in so e ca acity.                                  Correct

     3                A.      I was              o in        so, yes.

     4                Q.      And -- well, we ll                          et to t at.

     5                                 ere        on, t e doc                ent was     ar ed as

     6                                 i it 42              or identi ication.

     7      B        M .          MA :

     8                Q.          et        e     o to            i it 42 and as              yo     i    yo      e

     9      e er seen t is e ail                             ro       Alan     i in stone to Donna

    10              alala and           o         eBlanc.

    11                A.      I don t t in                    t at I was co ied on any o                       t e

    12      e ail o               i in stone to                   o       eBlanc or Donna                alala,

    13      w ic           was,        y t e way, strictly ina                         ro riate in ter s

    14      o        re ortin           or ani ation.

    15                Q.      Do yo               now w y             resident         alala        a e Alan

    16          i in stone t e a ility to contact                                     er directly wit

    17      re ard to s                     ects li e t e one yo                      ll see w en yo

    18      read t is e ail

    19                        M . I IC                  :             ect as to        or .

    20                A.          o, I don t.

    21                Q.      Is t at              eca se             e was a        ery in l ential

    22          e     er o        t e           ac lty

    23                        M . I IC                  :             ect as to        or .

    24                A.           at s           ro a ly one o                t e     actors, yes.

    25                Q.          ow, Dr.           oldsc             idt, s owin        yo        t is e ail


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     1      t at yo           are not co ied on, written to                                   resident

     2           alala and              ro ost           eBlanc, I                    st     oin     to read

     3      sections and as                       yo       estions.               I         reac in       o t to

     4      yo         or         idance and s                  ort.        I a            ore t an a little

     5      s r rised wit                    t e attac ed doc                 ent.

     6                        And I ll re resent to yo , Dr.                                   oldsc          idt,

     7      t at t e attac ed doc                          ent is t e clinical la                         s

     8       olicy and t e ro te                          y w ic        it was deli ered.

     9                            I was           ersonally on t e                    edical ca           s

    10      yesterday                 ntil al ost si                  . .     oldin           a clinic at

    11       CC...           w ic           is     yl ester Cancer Center

    12             A.             i     t.

    13             Q.             ...and           a in         eetin s, and neit er t e dean

    14      nor        ac     e tended t e co rtesy o                             disc ssin           t is

    15      iss e wit                  e.        I e en        ad a     eetin              on C B-3 wit

    16           eri        eit        at 1:00           . .     Instead, t ey called                         y

    17      assistant,                 o erto          strada, to co e and                     ic             t e

    18      attac ed doc                    ent.          ey clearly                  st     a e disc ssed

    19      it wit           t e c air o                  at olo y, Dr. Cote, and it wo ld

    20      see        only reasona le t ey co ld                             a e as ed              or       y

    21      in     t.

    22                            As yo            now, on Dece              er 9t , C arlie

    23       e ero            deli ered an e                    licit t reat to                    e a o t          ow

    24      t e IM           wo ld           e     sed to ta e              e o t i           I did not

    25      endorse t e dean                       and     e re as es t at.


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     1                     Did yo         now, Dr.     oldsc          idt, t at Dr.

     2       i in stone           ad contacted        resident              alala a o t t e

     3      clinical la s           olicy t at yo , Dr.                   ord and Dr. Cote

     4       ad     ro osed to        o into e        ect in t e             e innin                 o

     5       an ary

     6             A.       o.     B t I         s r rised t at             e said t at                       e

     7      was s r rised,           eca se we        ad         lti le disc ssions

     8      a o t it.             is was a -- t ere was a                   or     o        a, yo

     9       now, t e res lt o              a     rolon ed ne otiation and

    10       i in stone was in ol ed wit                       it.

    11             Q.      Directin        yo r attention to                ara ra                  t ree

    12      w ere it says           Donna, a ter           y     eetin       wit           yo

    13      Dece        er 21st and,        o , a ter           y disc ssion wit                         yo

    14      Dece        er 22nd, I was relie ed to                   now     ow stron ly yo

    15       elt t at t is           or     o     inti idation was                nacce ta le

    16      and t at t e trans lant la                 re iew wo ld                e            t

    17      directly        nder Mi e Moloney and Aileen                          alde.                   en

    18      t o          t ey     a e styled t is is a                olicy c an ed, I

    19      dee ly tro           led a see a desire to i                   le ent it wit o t

    20      disc ssion wit in se eral days o er t e                               ew        ear s

    21       oliday.        Moreo er, it is e              licitly          ein        a        lied

    22      only to s r ery and not to t e analo o s clinical

    23      la oratories in der atolo y and o t al olo y.

    24                     It     oes on and ends wit                 I     ercei e t is to

    25       e a contin ation o                 t e t reat e          ressed           y Dr.


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     1          e ero            on Dece              er 9t           and I wo ld re              est yo r

     2      intercession.

     3                               ere yo           e er aware t at              e     ad        ade t ese

     4      alle ations to                          resident            alala

     5                A.             o.

     6                Q.             ittin            ere today, w at s yo r --

     7                A.             et        e say t is.              Donna     ad     entioned to                   e

     8      t at Alan                 i in stone was co                       lainin     o        t e       act t at

     9      I was              sin        t e re iew o                 t e IM     as a way to o tain

    10          ro         i     t at           e wo ld s               ort     e a ter t e                etition

    11      t at           e     ad or ani ed.

    12                               ince           i in stone           ade t at alle ation, it

    13      was creatin                    a con lict o                 interest, o              io sly,          or       e

    14      to        e directly in ol ed wit                             it, w ic           I was told                y

    15      Donna               alala.

    16                           And, yo               now, I told              er t at it was                    re

    17      in ention and lies                             ro         i in stone and I                 elie e t at

    18      s e        elie ed                 e.     B t it didn t sto                 t e        act t at,

    19      o        io sly,              e,        a in        doc     ented an o           io s con lict

    20      o        interest, i                     e was ri           t, was creatin                 a    ro le

    21          or t e           resident.

    22                Q.              e ne t to t e last                       ara ra        :             e ti in

    23      o        t is encyclical is                          ran ly s r risin                 to       e,

    24          eca se wit                 e eryt in              t at        ad already           een          oin

    25      on, I wo ld                    a e antici ated t e dean                          er a s reac in


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     1      o t in a conciliatory                anner in an atte                 t to

     2      co     ro ise a reconciliation.                    n ort nately, t is is

     3      re resentati e o               c     o     w at        as     een     oin     on

     4      across o r ca           s     or too lon           a        eriod o     ti e.

     5      Ar itrary decisions are                   ade in a dictatorial                 anner

     6      wit     no disc ssion wit                t e in ol ed           ac lty and t e

     7      contrary         ers ecti es are cr s ed r t lessly.

     8          rans arency, sta ility, colle iality and

     9      incl si eness are no lon er                   resent and              ac lty are

    10      s      ressed wit       inti idations.

    11                       I   a e not res onded to t e dean or                          ac

    12          ord and await yo r              idance and s               ort.

    13             A.    I a      not s r rised           y t e li es o

    14          i in stone.       And it is o           io s t at           i in stone does

    15      not     a e w at I          a e, w ic        is a dee           concern        or t e

    16      sa ety and t e wellness o                   o r c sto ers, w ic                    are

    17      o r     atients.       And e eryt in              t at I        e done to

    18      reor ani e t e la s was in t e e                            ort o      a i i in

    19      t e sa ety and t e                 ality o        care o        o r     atients,

    20          eriod.   I       e didn t        nderstand t at, it s

    21          n ort nate.

    22             Q.    Beca se t e c an e in t e                        olicy, t e

    23      clinical la s           olicy t at yo , Dr.                    ord and Dr. Cote

    24          ad en isioned, was not                 st a re en e sit ation, it

    25      in ol ed t e sa ety and                    ality o           care o         atients.


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     1      Correct

     2             A.         Correct.

     3             Q.         And do yo              see w at t e                 resident s res onse

     4      to Alan           i in stone was on                          an ary 1 at 3:50                 . .

     5             A.          it ti           t.

     6             Q.         Did t at s r rise yo

     7             A.          o, no.           Beca se it wo ld                       e a way to              re ent

     8       ro         i in stone to contin e                             is         lls it and to, yo

     9       now,        a e        ore ti e to                 re are t e ne t ste s.

    10                         e e        er t at Donna was dealin                                wit     a

    11      con lict o              interest on                 y        art raised           y     i in stone.

    12         e was dealin                wit           an     n a        y     ac lty.                e was

    13      dealin           wit     two        or er dean, tryin                       to        noc         e o

    14       y seat.

    15                             e needed              e in        y     osition and needed                       e to

    16       e stron           in     y        osition.              And s e was tryin                    to sa e

    17      so e ti e to              e a le to react to it                             ore e           ecti ely.

    18             Q.          o ld yo              a ree, Dr.                 oldsc     idt, t at s e

    19      was also           i in        a        oice to t e                 erson w o was at t e

    20       oc s and t e                 ocal           oint o           t e     M     in esti ation

    21                        M . I IC               :              ect as to           or .

    22             A.          ea , yo              can loo              at it t at way.                 I t in

    23      it s         c         ore co           le        t an t at.

    24                              ere        on, t e doc                 ent was           ar ed as

    25                              i it 43              or identi ication.


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     1      B     M .          MA :

     2             Q.         I want to s ow yo                   i it 43.            is is an

     3      e ail        ro         resident         alala to yo          at 3:51       . . at

     4      t e        otto .           Do yo     see s e wrote yo          at 3:51 on

     5          an ary 1

     6             A.           ait        or t e a dit to             inis .        it draw t e

     7          e o.

     8             Q.         And t e s            ect line is re la .               Correct

     9             A.          et        e see.

    10             Q.         Do yo        see w ere it says --

    11             A.          ea , yea , yea .

    12             Q.          o, in e           ect, s e was tellin            yo     to

    13      wit draw t e clinical la s                         olicy     e o and to wait             or

    14      t e a dit to                 inis .     Correct

    15             A.         As I told yo , Donna                 alala needed             e and

    16      s e was concerned t at wit                         t e con lict o          interest

    17      raised        y Alan           i in stone, it wo ld             e    etter to wait

    18          or t e re iew o                 t e a dit co       ittee and t e co             any

    19      t at told t ey wo ld select to                         e done wit          t e re iew

    20      o     t e IM        to        a e      rt er decisions.

    21             Q.         Dr.        oldsc     idt,    y      estion s a little

    22      di     erent.           I      st wanted to          now w et er Donna

    23           alala was instr ctin                 yo       to wit draw t e clinical

    24      la s        e o t at was s               osed to       a e     one into e          ect

    25      in     an ary.


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     1                A.         I ass       e so.

     2                                ere        on, t e doc              ent was     ar ed as

     3                                i it 44           or identi ication.

     4      B     M .             MA :

     5                Q.          et s       e s ow yo                 now w at s     een       ar ed as

     6            i it 44.                  is is an e ail                 ro     -- let    e     o to t e

     7          irst one at 3:55                   . .             is is an e ail at 3:55             . .

     8      on        an ary 1st, 2013, to Dr.                            ord.

     9                           Be ore I as             yo        a      estion a o t t at, Dr.

    10          oldsc           idt, do yo          see t e e ail address

    11                A.          ea .

    12                Q.         Is t at yo r             ersonal e ail address

    13                A.          ea , t at is                y        ersonal e ail address.

    14                Q.          e e       er earlier in t e de osition w en yo

    15      told           e t at yo             didn t           se yo r        ersonal e ail

    16      address              or     ni ersity                 siness co         nications

    17                           M . I IC           :              ect as to        or .    It s

    18                inconsistent wit                    is           rior testi ony.

    19                A.          ea , I do re e                   er.     I t o      t t at I didn t

    20          a e        y e ail,          y     ersonal e ail,                 e ore 2015.

    21                Q.         And yo          see t at t is was act ally on                      an ary

    22      1, 2013, a                  ll two years                   e ore.     Correct

    23                A.          otally.          And I was wron .

    24                Q.         In t at e ail at 3:55                      . . yo     wrote to Dr.

    25          ord,        B         -- I        elie e t at s                 y t e way --       Donna


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     1      re    ested to recall e ails relati e to IM                              and no

     2      c an es s o ld               e considered or i              le ented       ntil

     3      internal and e ternal in esti ations are co                                leted.

     4                      Did I read t at correctly

     5            A.        Correct.

     6            Q.        And Dr.           ord res onded            ow did s e e en          now

     7      a o t t ose e ails                      A       Are yo     s re t at yo        want

     8      to stay in t is en iron ent                         Are yo        worried a o t

     9      t e inte rity o                  t e re iew

    10                      And yo           res onded           co rse A .          B t s e        as

    11      a reasona le               oint.            e s o ld not initiate c an es

    12      t at i         ly a concern                 e ore t e end o         ot

    13      in esti ations.

    14                      And Dr.           ord res onded at 4:29              . .    It was

    15      not IM -s eci ic, and as a                        olicy     oin      orward, it

    16      wo ld a         ly to all la s.

    17                      Did I read t at correctly

    18            A.         o     do read t at correctly.

    19            Q.             ay.         it     re ard to t at recall o             t e

    20      e ails relati e to t e IM , and no c an es s o ld                                   e

    21      considered or i                  le ented, t e con ersation t at

    22      yo    re       a in        wit        Dr.     ord is act ally concernin             t e

    23      intended         olicy c an es                 or all o     t e la s to        e

    24       ro        t    nder t e              at olo y de art ent.           Correct

    25            A.        Correct.                at was o r        oal.


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     1             Q.      Dr.        oldsc     idt, do yo           recall a            ro i ately

     2      aro nd t e sa e ti e t at                    resident             alala also

     3      ordered yo             to sto      t e e ec ti e daily                      dates

     4             A.          ea , I do recall t at it was aro nd t at

     5      ti e.

     6                             ere      on, t e doc        ent was         ar ed as

     7                             i it 45      or identi ication.

     8      B     M .          MA :

     9             Q.      I s ow yo           w at s        een     ar ed as              i it 45,

    10      w ic        is a       an ary 1 e ail on               e al   o        yo     to Dr.

    11      Cote.        And act ally t e             irst one is t e Dece                      er

    12      31st, 2012 e ail t at attac ed t e con idential dra t

    13      to clinical la s.                 Do yo     see t at

    14             A.          es.

    15             Q.      And t en, i           yo      o         , on   an ary 1 at 4:03

    16          . ., a ter yo              recei ed instr ction               ro         resident

    17           alala, yo           in or     Dr. Cote t at yo               needed to recall

    18      t is e ail.               o       rt er stated            o c an e o                lan,

    19           t we s o ld not consider or i                       le ent c an es                  ntil

    20      internal and e ternal in esti ations o                                 IM     are

    21      co     leted.

    22                     Did I read t at correctly

    23             A.          o     do.

    24                             ere      on, t e doc        ent was         ar ed as

    25                             i it 46      or identi ication.


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     1      B     M .          MA :

     2             Q.          ow I               s owin     yo     w at s           een        ar ed as

     3            i it 46.              Its start o t, Dr.                 oldsc           idt, wit        an

     4      e ail        ro        C ristine Morris.                 Do yo           re e        er w o

     5      C ristine Morris was

     6             A.          es.                e was in c ar e o              co         nications.

     7             Q.          i        t.        And so s e writes                  ere is t e

     8      anno nce ent, incl din                          dean s in           t.          r     lan is to

     9      send o t toni                    t.      lease let        e        now i        yo      a e any

    10          eed ac .                 e dean is yo .              Correct

    11             A.         It is           e.

    12                              ere           on, t e doc        ent was           ar ed as

    13                              i it 47           or identi ication.

    14      B     M .          MA :

    15             Q.          et s           o to          i it 47, w ic              is t e

    16      attac        ent.           Do yo        re e     er, Dr.           oldsc           idt, I

    17      directin           yo r attention to t e state ent t at yo

    18      attac ed and sent to C ristine Morris.                                         Do yo

    19      re e        er t is state ent co in                           ro     yo

    20             A.              ic        one in        artic lar

    21             Q.          ell, s eci ically, I                        re erencin               ara ra

    22      two.

    23             A.          es.

    24             Q.          o e en a ter yo                    were instr cted                 y t e

    25          resident to ter inate Dr.                          ord as C           , yo         elie ed,


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     1      at least as o              t e date o          t is e ail, t at Dr.                       ord

     2      was        oin     to re ain on in so e ca acity                         ossi ly as a

     3      senior ad iser to yo                  or       ealt           care inno ation and

     4          lannin .        Correct

     5             A.         Correct.

     6             Q.         And t at was -- t at was o err led                               y

     7          resident         alala.        Correct

     8             A.         I don t re e        er e actly                ow it        a     ened.

     9             Q.         I ll s ow yo        an e ail to re res                         yo r

    10      recollection.

    11             A.           ay.

    12                           ere     on, t e doc             ent was           ar ed as

    13                           i it 48        or identi ication.

    14      B     M .          MA :

    15             Q.          et s     o to 47.       I         sorry.            et s        o to 48.

    16          o yo     see t e ori inal e ail                   ro        C ristine Morris

    17      t at attac ed t e              re io s doc                ent, w ic              was 47, and

    18      t e state ent.              And i     yo       can        o      ,     ac ie.           Do yo

    19      see        resident         alala s res onse at 2:53                         . .

    20             A.          ea .

    21             Q.         It reads -- s e said                I        assed     y co           ents on

    22      to     o         ara ra      two is o t.

    23                        Do yo     see t at

    24             A.           ay.

    25             Q.         Do yo     re e     er    er in or in                 t e        eo le in


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     1      t at e ail t at                 ara ra            two o              i it 47 was o t

     2             A.      I         sorry.             at wit           re ards to           ara ra

     3      two

     4             Q.           re.         et s        o     ac     to          i it 47.

     5          ara ra         two reads           A ter           el in         s acco        lis in

     6      all t is,           ac        will     e ret rnin              to     is role on t e

     7          ac lty o        t e de art ent...

     8             A.           ay.         o a ead now.

     9             Q.          et s        o to 48.           And yo        see t at           resident

    10           alala at 2:53 said                 I        assed        y co     ents on to           o .

    11          ara ra         two is o t.

    12             A.           ay.

    13             Q.          o do yo           re e        er     resident            alala

    14      in or in           t e        eo le on t at e ail t at                       ara ra         two

    15      o     yo r state ent was co in                          o t

    16             A.          o.     I     ro a ly           loc ed t at in              y     e ory.

    17             Q.      B t yo           don t deny t at t at                    a     ened

    18             A.      I don t deny it                    a     ened.

    19             Q.      And yo           see t at Dr.                 ord res onded at 2:54:

    20            at does t at              ean             Do yo        see t at

    21             A.          es.

    22             Q.          o to t e to ,                 lease.        And yo        res onded to

    23      Dr.     ord         indin        o t        ro         o .      Do yo        see t at

    24             A.           ay.

    25             Q.      And        e res onded                  e need so e transition


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     1      state ent.               And yo           wrote     De initely

     2                       Did I read t at correctly

     3                A.       o     do.

     4                              ere     on, t e doc              ent was          ar ed as

     5                              i it 49           or identi ication.

     6      B        M .       MA :

     7                Q.       ow let s           o to          i it 49.           It s t e sa e

     8      e ail c ain.                  oin          ,     lease.

     9                A.           ay.

    10                Q.     Contin e             .        Can yo     read yo r res onse

    11      to t e --

    12                A.       Can we at least say t at                         e s        oin      ac        to

    13          is     rior role            Do not want              or     eo le to t in                 e

    14      was        ired.

    15                Q.       i     t.         o at t is           oint, on          an ary 2, 2013,

    16      at 2:56          . ., yo            wrote to        o         eBlanc and as ed                i

    17          Can we at least say t at                       e s        oin      ac       to     is     rior

    18      role           Do not want            or        eo le to t in               e was       ired.

    19      Correct

    20                A.       ea .

    21                Q.     And, as it t rned o t, Dr.                           ord was          ired

    22          ro     all o         is     ositions.           Correct

    23                       M . I IC             :           ect as to           or .

    24                A.     I re e         er t at           e was        ired       ro         is roles

    25      in leaders i .                 I do not           now     or s re t at                e was


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     1      also        ired        ro      is       ac lty     osition.

     2             Q.          o     wo ld not contest                resident         alala s

     3      testi ony on t e s                       ect, wo ld yo

     4                     M . I IC              :        ect as to           or .

     5             A.          o.        B t t at was not             art o      y con ersation

     6      wit     Dr.        ord.

     7             Q.      I        nderstand.          At t is        oint, Dr.

     8          oldsc     idt, yo           were concerned a o t t e                   erce tion

     9      t at        eo le wo ld t in                t at Dr.        ord was        ired.

    10      Correct

    11             A.          es, de initely.

    12             Q.      And w y was t at

    13             A.          oo , I t in             t at I     e     een e        licit wit

    14      t at.          ile t ere were iss es t at e isted in t e

    15      leaders i              style and so e o             t e c aracter iss es t at

    16      I     entioned earlier wit                   Dr.     ord, I t in           t at Dr.

    17          ord ca e to              ro ide a s           ort to t e        edical sc ool

    18      at a        ery di           ic lt ti e.

    19                     I t in           t at so e o           is wor         as     een

    20      in al a le.              And Dr.          ord was a        riend.        I was dee ly

    21      sad, saddened                 y t e e ents.          And w at else can I say

    22             Q.      And, in           act, yo          wanted     i     to stay on in

    23      t e ca acity as senior ad iser to yo                                or     ealt    care

    24      inno ation and                 lannin .       Correct

    25             A.      Correct.              ac      as a     ery well           nown


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     1      re        tation o               ein     an inno ator, so it                ade a lot o

     2      sense.

     3                                 ere        on, t e doc        ent was          ar ed as

     4                                 i it 50        or identi ication.

     5      B        M .          MA :

     6                Q.          et     e now t rn to                i it 50.          And t is

     7               i it 50 is              ro     yo ,     essa e       ro     t e dean.             is

     8      went o t              ro     yo        to t e Miller          c ool o           Medicine.

     9      And yo           can see t at it s al ost t e sa e state ent,

    10      e ce t           ara ra               two was ta en o t.             Correct

    11                A.      Correct.               ote t at        ara ra           two in t is

    12      e ail was              ery res ect              l to     ac        ord.

    13                                 ere        on, t e doc        ent was          ar ed as

    14                                 i it 51        or identi ication.

    15      B        M .          MA :

    16                Q.      I         s owin        yo     w at s       een     ar ed as             i it

    17      51.        Dr.        oldsc           idt, I         s owin    yo           i it 51.

    18      It s an e ail c ain,                           t t e     irst e ail on t e c ain

    19      is dated              an ary 3, 2013, at 4:59 a. .                         ro     Dr. Cote

    20      writin           to        is collea           es.     I don t       now w et er t is

    21      went to t e Miller                       c ool or         st to t e             at olo y

    22      de art ent,                  t do yo           re e     er t is e ail

    23                A.      I do.

    24                Q.      And do yo              re e        er t e reaction t at it                ot

    25          ro         resident               alala


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     1             A.         I t in        -- I             elie e t at s e t o                             t it

     2      was --

     3             Q.             ell, I ll s ow yo , and                           ay e it will

     4      re res        yo r recollection.

     5             A.         I     elie e s e t o                    t it was not                      is role to

     6      send t at e ail.

     7             Q.         Do yo        see          er res onse on                   an ary 3rd at

     8      1:21        . .

     9             A.              ic     one

    10             Q.         At 1:21           . .

    11             A.             ea .          -        .

    12             Q.         Do yo        see t at                   ere yo              o.           Do yo        now

    13      w at s e              eant w en s e said                       o       need -- t is was to

    14      Dr. Cote, o                 co rse,          ro         resident              alala -- s e

    15      wrote         o        need to              lly        nderstand o r o li ations

    16       nder        ac        s contract.                 e     as no          ac             a        oint ent

    17      and we owe              i     only si              ont s salary.                   I        we     ay     i

    18       eyond t e end o                    A        st, we tri                er anot er                 ay ent.

    19       e need to              e care          l        ere,     ery care             l.

    20                        Do yo        see t at

    21             A.             ea , I see t at.

    22             Q.         Is it aro nd t is ti e t at yo                                       reali ed t at

    23      Dr.     ord was, in                 act,          oin     to       e     ired              ro     all o

    24       is     ositions

    25                        M . I IC              :              ect as to             or .


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     1             A.       as I co ied on t at e ail

     2             Q.      I can t -- I don t                   now.

     3             A.           ay.

     4             Q.      I ass       e t at yo              were,            t I can t -- yo

     5       now, it s           ard to tell             ro     t ese e ails, doctor.                         It

     6      loo s li e yo             were,        eca se           ro     t e to        it went          ro

     7      yo     -- it        oes to -- I              sorry.           Can yo         o          a

     8      little         rt er,        ac ie.          It     oes        ro     Dr. Cote to

     9       resident            alala and co yin                   yo .         o I     elie e t at

    10      yo     did recei e t is entire c ain.

    11             A.       ea , o ay.                 ot it.

    12             Q.       o does it re res                   yo r recollection at all

    13      w et er it was aro nd t is ti e t at yo                                      o nd o t

    14      t at Dr.        ord was, in                act,     ired and not co in                       ac

    15      at all

    16                     M . I IC           :           ect as to              or .

    17             A.       ell, yes,             ro     t is e ail, de initely.                         B t

    18      I don t        now i       t e        inal -- w at was t e                       inal

    19      arran e ent o             wit     Dr.        ord s           osition wit           t e

    20      de art ent o              at olo y.           I don t t in                 I was        ri y o

    21      t e corres ondence                etween Dr. Cote and Dr.                          ord.

    22      May e I was and I                loc ed it,                  t I      st don t

    23      re e        er it.

    24             Q.       ell, yo          can see           ro        t is e ail t at                e was

    25      only        ettin     a si        ont         ay ent.              Do yo         nderstand


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     1      t at

     2                        M . I IC               :           ect to t e     or .

     3                A.          ro     t is e ail I do.

     4                Q.           an        yo .

     5                                 ere     on, t e doc           ent was     ar ed as

     6                                 i it 52           or identi ication.

     7      B        M .          MA :

     8                Q.          ow I         s owin        yo        i it 52.          is was a

     9          an ary 3rd article entitled                                er 2 e ec ti e at           M

    10          edical sc ool ste                    in     down, written        y     o n

    11      Dorsc ner on                 an ary 3rd.

    12                        Do yo           re e        er a series o        article in

    13          an ary o           2013 reco ntin                 not only Dr.        ord s

    14      de art re,                  t also t e           ac lty        etition

    15                A.      I did do.

    16                Q.      And t e           irst sentence o              t e story says

    17          A id roilin                  ac lty an er o er drastic                  d et c ts,

    18      t e        ni ersity o              Mia i anno nced t at t e n                        er two

    19      e ec ti e at t e Miller                          c ool o        Medicine,        ac      ord,

    20      is ste           in        down.

    21                        Did I read t at correctly                        And it        oes on.

    22               e c an e anno nced                    y Dean     ascal     oldsc        idt co es

    23      as a           etition circ lates a on                    ten red        ac lty,

    24          edical sc ool                 ac lty, e           ressin     no con idence in

    25          ot         oldsc        idt and           ord.


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     1                        Did I read t at correctly

     2             A.             es, yo       do.

     3             Q.         And t e tenor o                 t e article was t at Dr.

     4       ord was ste                 in    down ostensi ly o er                  ac lty

     5      dissatis action wit                       t e May 2012            d et c ts.

     6      Correct

     7                        M . I IC            :           ect as to        or .

     8             A.             es.     I do        a e so e concern relati e to

     9      Mr. Dorsc ner.

    10             Q.         I        nderstand.           I want to     et t ro             --

    11      t at s           air, Dr.          oldsc         idt,      t let     e try to answer

    12       y      estions and I will                       i e yo     a c ance to air yo r

    13       rie ances a o t Mr. Dorsc ner later.                                B t I want to

    14      as     yo        so e s eci ic                  estions a o t t is article.

    15             A.              re.

    16             Q.              e      d et c ts t at are re erenced                       ere in

    17      t is article, t ose were t e sa e                                 d et c ts t at we

    18      tal ed a o t earlier t at were a                             ro ed not only              y

    19      yo ,         t        y t e       resident and            y t e     oard o

    20      tr stees.              Correct

    21             A.         Correct.                e n      ers are        a e.     It was not

    22      900         ll-ti e and              art ti e -- well, o ay.

    23             Q.         I        nderstand.           Correct.      it     t at ca eat, I

    24       nderstand t at t ere s errors in t is article,                                          t I

    25      need to as                 certain         estions a o t t at, so I                    o e


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     1      t at yo               nderstand.

     2             A.         Most o           t e    ac lty t at was              n a     y was t e

     3          ac lty t at              ad     ore alle iance             or t e        ac son

     4          ealt      yste           t an t e          ni ersity o           Mia i.

     5                                 ere     on, t e doc          ent was        ar ed as

     6                                 i it 53       or identi ication.

     7      B     M .             MA :

     8             Q.         I         s owin       yo          i it 53.           is was an

     9      e ail        ro           Irene.     Do yo       re e        er w o Irene            n     was

    10             A.             ea .

    11             Q.         And s e is             ro idin        yo     wit     t e         dated

    12          ersion o              t e or ani ational c art                   or t e e ec ti e

    13      tea

    14             A.             e .

    15                                 ere     on, t e doc          ent was        ar ed as

    16                                 i it 54       or identi ication.

    17      B     M .             MA :

    18             Q.             ow, let        e s ow yo          -- s e act ally

    19      attac ed -- well, let                         e s ow yo        t e ne t e           i it,

    20      w ic        is 54.               ow, t is was t e, correct                   e i     I

    21      wron ,            t t is was t e or ani ational c art                               e ore

    22      Dr.        ord was ter inated                   ro      is     osition as c ie

    23      o eratin              o     icer

    24             A.             e .

    25             Q.         And ot er t an -- stri e t at.


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     1                            as t is an acc rate or ani ational c art

     2          e ore Dr.              ord was ter inated

     3                A.      It loo s li e it, yea .

     4                Q.      Do yo           see anyw ere on t is or ani ational

     5      c art o           any re              ire ents or any s            estion t at Dr.

     6          ord        ad re ortin              re        ire ents to any ody           t yo

     7      and or           resident               alala and or t e           oard o       tr stees

     8                A.          o e.

     9                                 ere        on, t e doc           ents were    ar ed as

    10                                 i it 55 and 56              or identi ication.

    11      B     M .             MA :

    12                Q.      I            s owin        yo     w at is     ar ed as         i it 55.

    13            i it 55 attac es, it s a little con                               sin ,      t t e

    14      Bates sta                 s act ally              o in se     ence o    t is e ail,

    15      w ic , i              yo         o to t e           otto ,     ac ie,    lease, is

    16      Bates sta                  n      er, do yo           see,     M- ord 00042851.

    17                        I        we     o to             i it 56 and we       o to t e

    18          otto , it s 00042852.                           o t is is t e ne t one, and,

    19          res        a ly, w at was attac ed to                         i it 55.         is is

    20      t e -- I will re resent to yo , Dr.                                oldsc     idt, t is

    21      is t e re ised or ani ational c art in                                     i it 56.

    22                            et s        o to 56.           And t is s ows t e

    23      re lace ent o                     oe     atoli in t e interi             c ie

    24      o eratin              o        icer     osition.        Do yo     see t at

    25                A.          ery well.


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     1                              ere     on, t e doc           ent was           ar ed as

     2                              i it 57     or identi ication.

     3      B        M .          MA :

     4                Q.          ow I d li e to s ow yo                          i it 57.        And

     5      t is is yo r e ail to Irene                           n     on        an ary 6t        at

     6      5:17           . .      Irene, It s i           ortant to              a e     oe in t e

     7      interi           C      role on t e c art ri                 t away.             o on            .

     8      And s e res onds                  i, Dr.        oldsc        idt.            ere is a

     9      re ised or              c art as        er instr ction                 elow.         sed t e

    10      sa e set               as d rin     t e Dr.           ord Donelan transition.

    11           an s.           Irene.

    12                           And yo     res onded,           Irene,           rders     ro     t e

    13          resident are              ery clear.         lease re o e Dr.                    ord        ro

    14      t e or           c art        or now.         e will re isit at t e end o

    15          an ary.

    16                            o did I read t at correctly

    17                A.          ea .

    18                              ere     on, t e doc           ent was           ar ed as

    19                              i it 58     or identi ication.

    20      B        M .          MA :

    21                Q.          et s     o to 58.        Dr.        oldsc        idt, I         s owin

    22      yo        an e ail to Ma aly              o itaille, yo r secretary or

    23      assistant, indicatin                     Ma     ie,        lease disin ite                 ac

    24          ro     all o        icial     eetin s, t at incl des Core and all

    25      ot er C-s ite                 eetin s and re lace                 i     wit      oe        .


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     1                    Did I read t at correctly

     2             A.     Correctly.

     3                          ere     on, t e doc              ent was          ar ed as

     4                          i it 59           or identi ication.

     5      B     M .         MA :

     6             Q.         ow I d li e to s ow yo                         i it 59.           I will

     7      s ow Dr.          oldsc     idt t e e             i it n         er.

     8                    Dr.        oldsc        idt, I         s owin          yo         i it 59,

     9      w ic         r orts to           e a        ednesday,          an ary 9t , 2013,

    10      Mia i       erald article, a ain written                         y        o n Dorsc ner.

    11           is one entitled             ac         ord s        t re at           M   nclear.

    12                    I     yo          st     o to t e to .             Did I read t at

    13      correctly

    14             A.         es.

    15             Q.     And, a ain, anot er article                            e ins         ac      ord

    16      ste     ed down last wee                   as t e n           er two e ec ti e at

    17      t e     ni ersity o             Mia i Miller             c ool o           Medicine,            t

    18      is     e really lea in                 M          at s        nclear a wee              a ter

    19      t e anno nce ent.

    20                    And t en it reco nts,                       n t e e enin              o

    21          an ary 2nd, Dean             ascal        oldsc       idt wrote a letter to

    22          ac lty t at          ord wo ld           e no lon er -- wo ld no

    23      lon er       e c ie        o eratin           o     icer,        t        a e no

    24      indication o             w at        ord s        t re wo ld              e,   and t en

    25      re erences t e 4:59 a. . e ail                           ro     Dr. Cote


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     1      indicatin                   e are        ery        ro d to       a e        ac     as a      e     er

     2      o        o r     ac lty and are                    ort nate t at             ac     will re ain

     3      a        ital     e     er o        o r de art ent to                   el         o e o r

     4      e        orts     orward.               is e        ertise in       ealt           care

     5      deli ery and                 ana e ent will contin e to                            ene it t e

     6      de art ent and sc ool.

     7                        Did I read t at correctly

     8                A.          ea .

     9                Q.           e article              oes on and says t e                   ollowin

    10      day,           an ary 4t ,                e        erald as ed          ord and           M        lic

    11      a        airs de art ent w et er                         e was     oin        to     at olo y.

    12              o eswo an C ristine Morris e ailed,                                   ote,

    13      res ondin              on     e al        o        t e instit tion and Dr.                    ord,

    14          e     a e not in           to say,              n    ote.

    15                        A ain, did I read t at correctly

    16                A.          es.

    17                Q.      And t en, i                 yo        o down to t e              ara ra

    18      t at           e ins wit            Meanw ile, a                etition contin es to

    19      circ late a on                  ac lty t at decries,                          ote, t e

    20          ailed leaders i                 o         ascal       oldsc     idt and           ac          ord.

    21          e want to           a e clear t at t e                      ac lty        as lost

    22      con idence in t e a ility o                               t ese     en to lead t e

    23      sc ool.

    24                        Did I read t at correctly

    25                A.          es.


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     1             Q.          ow, a ain, t is is t e second article, t e

     2       irst        ein         an ary 3rd, t is is             an ary 9t , and,

     3      a ain, re erencin              t is       etition contin es to

     4      circ late.

     5                     At t at ti e             ad t e        etition -- it see s as

     6      t o          t e     etition was contin in                to circ late.          At

     7      w at        oint did yo        learn a o t any action or

     8      resol tion wit              t at       etition

     9                     M . I IC            :          ect as to     or .

    10             A.           en was t e article                  lis ed

    11             Q.          an ary 9t .

    12             A.      I     ean, t e in or ants o                Mr. Dorsc ner

    13      didn t        now w at t ey were tal in                   a o t.

    14             Q.          ow is t at

    15             A.           ey      st didn t          now,     eca se t ey       ad no

    16      idea t at t e              etition       ad     een s      itted       ont s

    17       e ore to t e              ac lty senate and was             istory.            ere

    18      was no        etition        oin       on at t e ti e.

    19             Q.      And, a ain, it re erences                   Many    ac lty are

    20      an ry a o t t e              edical sc ool layin             o     900         ll and

    21       art-ti e e              loyees, c ts t at were de ised s ortly

    22      a ter        ord too        o er as C           in t e s rin       o     2027.

    23                     Did I read t at correctly

    24             A.          ea .      o w at

    25             Q.      My         estion is w at was yo r reaction to


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     1          a in    yo r na e circ lated in t is article, a ain,

     2      re erencin           t e     ailed leaders i              o     yo     and Dr.       ord

     3             A.      A ain, I           a e     ery stron           concern relati e to

     4      t e con lict o              interest o           Mr. Dorsc ner.

     5             Q.        ay.        B t were yo           -- o        io sly, t is is t e

     6      second article t at re erences yo r                             ailed leaders i

     7      as well as Dr.              ord s        ailed leaders i .              Correct

     8             A.        e da a e is done.                      at di        erence does it

     9          a e at t at        oint

    10                           ere     on, t e doc           ent was           ar ed as

    11                           i it 60        or identi ication.

    12      B     M .       MA :

    13             Q.       et     e s ow yo                 i it           er 60.        et s      o

    14      to t e       otto .         Dr.     oldsc        idt, I ll re resent to yo

    15      t at i       edded in t is e ail is a                     an ary 14t          article,

    16          an ary 14, 2013, article entitled                           ar e n        er si n

    17          M Med    c ool         etition,         y     o n Dorsc ner.

    18                     Do yo        see t at

    19             A.       ea .

    20             Q.      And, a ain, t is is anot er article a o t,

    21      and I ll read t e                 irst sentence,              A lar e n         er, in

    22           otes, o         ac lty at t e              ni ersity o           Mia i     c ool

    23      o     Medicine si ned a                 etition co        lainin        a o t t e

    24      sc ool s leaders i , t e                    ead o        t e     ac lty senate

    25      said in an e ail Monday.                        ic ard        illia son, a law


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     1       ro essor w o s c air o                       t e senate sent t e e ail to

     2       ac lty ass rin                 t e     anony ity i             t ey si ned and

     3      sayin        t at t e deadline                 or s           ittin     co ies o     t e

     4       etition is           riday,            ote, in order to                a e a     inal

     5      re ort in a ti ely                    anner,       n     ote.

     6                     Do yo           see t at

     7             A.        -         .

     8             Q.       ow, do yo              still       elie e t at t e iss e

     9      concernin        t e           etition        ad       een cons         ated     e ore

    10      t is        eriod o        ti e

    11             A.      I do        elie e t at t e da a e was done, yes.

    12             Q.       ell --

    13             A.       oo , loo , loo .                   I     yo      ollow w at was

    14       oin        on in 2013 aro nd t e                      nited     tates, t e

    15       resident o                     was     nder -- and t e                resident o

    16         ory were in a o t t e sa e sit ation as I was.

    17                       ere was an increasin                         tendency        or t ese

    18       etitions to           a        en in        ni ersities,             ostly     eca se o

    19      t e     act t at t ere                 ad     een, yo           now, t e leaders i

    20       ad     een in t e              iddle o        t e co          le ities and

    21      c allen e o           t e econo ic downt rn o                         2008.

    22                     And w at t e                 ress will tell yo                as well is

    23      t at, w ile t ese                 etitions n              er were increasin ,

    24      t e i        act o     t ese           etitions was             oin     to     e -- was

    25      clearly        eco in           less and less i                act     l in s c     a way


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     1      t at, yo           now,     ac lty were                     set,        eca se, yo              now,

     2      w at t ey want to see is a                         ead        all down, and w en

     3      t ey don t see it, t ey contin e to re olt.

     4                     nless t ere s                    een an iss e wit                    yo

     5      stealin       or wit        yo        creatin           a s        stantial disorder

     6      in t e or ani ation, t e                         ac lty does not                    a e t e

     7       eans o       re o in           yo         ro     yo r        ost        t e        oard o

     8      tr stee does.

     9            Q.      Can we        o          to a little                 it      rt er.           Be ore

    10      we    o       any         rt er, t ere is an e ail                             ro        C ristine

    11      Morris to yo          at 5:22,                   I, I          oin        to tell           i     we

    12       a e no co          ent.         lease let              e     now i        yo        wo ld li e

    13      to disc ss.

    14                    And yo        t en           orwarded t is e ail at 5:32

    15       . . to       resident               alala.        It reads              Donna,            is is

    16      t e t ird article on t e sa e to ic.                                     My wi e and              ids

    17      are       eco in      ery worried or                        set.        I t o            t t at

    18       o    was wor in           wit         ic .

    19                    And     resident                  alala co            nicated to yo

    20      later t at e enin ,                    o        need to co               nicate wit             yo r

    21       ac lty on yo r             riorities.                  And yo            ad as ed                at

    22       or           own     all        eetin              ne de art ent at a ti e

    23                    Do yo        see t at

    24            A.       e .

    25            Q.      In     act, yo           res onded to                 er at 5:01 a. . on


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     1       an ary 15t .              Correct

     2             A.       ea .

     3             Q.      And s e res onded to yo                             at 6:40 a. .            o

     4       a e        isited only wit               ac .            o see e ery de art ent

     5       y yo rsel .              Meet wit        yo r        ac lty co ncil and ta e

     6      Alt an to l nc .               oc s on t e de art ents t at are

     7       i ,        edicine, s r ery.                      ey need to           now yo r

     8      strate y.           I     et wit        eac        de art ent c air                 or an

     9       o r and I learned a lot.                           et o t o           yo r o           ice and

    10      listen to yo r              ac lty.            o     need i           ediately to

    11      co      nicate wit           t e        in writin .

    12                     And yo        res onded to                 er         ood ad ice.               ill

    13      do,     at 11:00 a. .              And s e, at 8:27, said                           et     oin

    14           ic ly.         Correct

    15             A.      Correct.

    16             Q.       ow, correct              e i        I a        wron ,         t it see s

    17      li e t is was really                    ot erin           yo .

    18                     M . I IC            :           ect as to              or .

    19             A.       ell, loo , w ene er yo                             trans or        an

    20      or ani ation, yo              ta e a s              stantial ris .                      e ris

    21      was, yo         now, t e           edical sc ool a dri                       lin        down,

    22      t e ed cation o              all residents is on                       inal ste s

    23       e ore        ein        closed down.                e clinical enter rise was

    24      not     a in            oney as it needs to                    a     en in order to

    25       inance t e researc                    and t e ed cation, w ic                          lose


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     1          oney.

     2                        And we needed to                 eco e a        etter researc

     3          lace to           ind o t new treat ents and sol tions                                  or

     4          atients wit              co     le     illnesses.         o        y c oice was a

     5      I     oin     to        e         st a, yo         now, carrier dean t at is

     6          ic in     t e can down t e road or a                          I     oin       to        a e

     7      so e si ni icant c an es

     8                        I decided to              a e si ni icant c an es.                         I

     9      create 15 instit tes.                       I      rc ase a           os ital.          I        ade

    10          yl ester a ain an                    CI-desi nated co              re ensi e cancer

    11      center.           I     a e t rn aro nd t e researc                       enter rise o

    12      t e        edical sc ool.

    13                        I     e increased t e              ac lty wit           a o t 255

    14          ac lty t at were at a                       ery di    erent le el t an t e

    15          rior     ac lty.              And i     yo     t in    t at t at can                    e done

    16      wit o t e              eriencin           so e c allen e alon                 t e way, yo

    17      are drea in .

    18             Q.         I         not --

    19             A.              is is an e tre ely di                 ic lt transition to

    20      o erate.                ay         B t it was        or t e           ene it o          so        any

    21          eo le in           o t         lorida and        eyond, t at it was wort

    22      t e c allen e, t e di                       ic lties.

    23                        I     ean, yo           read it as I did.                   e    en in t e

    24      arena.        I        ean, tell           e one indi id al t at                   as        ade

    25      si ni icant and                    se     l c an es t at is not                   ein


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     1      tras ed at one                   oint o           t eir e istence.

     2                        And i          yo     as        t e tr stees today, as                         t e

     3      e ec ti e co                ittee were t e c oices t at                               ascal

     4       oldsc           idt       ade        or t e           edical sc ool and t e

     5      or ani ation                ood             ere t e c an es t at Donna

     6           alala        ade       or t e           ni ersity s art                         ey will tell

     7      yo     yes.

     8             Q.         Dr.       oldsc           idt, I           not         i     lin        wit        yo

     9      a o t t at at all.                      It a           ears to          e is t at yo                 were

    10       ein         nder ined                y a     erson w o is t e                      oc s o           t e

    11       M     in esti ation, Alan                            i in stone.             Do yo        a ree or

    12      disa ree

    13                        M . I IC              :              ect as to             or .

    14             A.          e was t e director                        or a cra y re olt, yes.

    15                        M . I IC              :         e     , we       a e        een     oin        a

    16             really lon                ti e and it s                 ettin          late, so           ay e

    17             we s o ld ta e a s ort                            rea .

    18                        M .            MA :        A sol tely.                And,        ric, I

    19                 oin     to try to wra                      t is          y        i e.     I     e        oin

    20             to do           y     est.            ay

    21                        M . I IC              :         e re       oin        to     old yo           to

    22             se en           o rs.          A ain, yo              r n yo r own s ow and

    23             I         not         arrelin          wit        yo ,           t t ere s no

    24             reason on              od s          reen eart              or t is de o to                    o a

    25                 in te           eyond t e allocated ti e.                           I     now yo           ll


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     1           do yo r             est.     B t I                  oin     to        i e yo       a     ard

     2           ti e i          yo        want to             o     eyond t e se en                o r,

     3            eca se t is de o does not warrant it.

     4                     M .             MA :           ell, yo            now t e se en                o rs

     5           incl des r nnin                      ti e.          Correct

     6                     M . I IC               :       I        nderstand t at.                B t, a ain,

     7           we try to             e reasona le wit                      eac        ot er       ere and

     8           I don t want to waste ti e disc ssin                                         w at I

     9           wo ld do or wo ldn t do.

    10                     I           st si          ly sayin              t is de o does not

    11           warrant anyt in                       ore t an t e                a i             er itted

    12            y t e r les.

    13                     M .             MA :           o        and I     ot        a ree.

    14                     M . I IC               :            ay,     ood.

    15                     M .             MA :       I            loo in     towards t at.

    16                     M . I IC               :            an     yo .

    17                                ID          A            :      e ll        o o        t e record.

    18                is       ar s t e end o                       ideo     ile n           er     i e.

    19                e ti e is 3:55                   . . and we re                   oin    o         t e

    20           record.

    21                           ere        on, a             rie     recess was ta en, a ter

    22           w ic          t e     ollowin                 roceedin s were                ad:

    23                                ID          A            :      e re        ac     on t e         ideo

    24           record.               is is t e start o                          ideo       ile n            er

    25           si        in t e de osition o                        Dr.     ascal          oldsc        idt.


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     1                  e ti e is 4:03                    . .

     2                              ere     on, t e doc                ent was        ar ed as

     3                              i it 61           or identi ication.

     4      B     M .          MA :

     5             Q.         Dr.     oldsc           idt, I           s owin        yo    w at s        een

     6          ar ed as             i it 61, w ic                     r orts to          e an e ail

     7      c ain        ro         an ary 16t              t ro             an ary 17t .            e

     8          irst e ail in t e c ain is                            ro      oe     atoli to Alan

     9          i in stone, i              yo        can        st ta e a           o ent and read

    10      t at.

    11             A.          ea .

    12             Q.           ay.        Do yo           see t at            ow, do yo        recall

    13      t at Mr.           atoli        orwarded yo                    is e ail e c an e wit

    14      Alan        i in stone              ro        t e 16t          on t e     ornin     o

    15          an ary 17t                Do yo           see t at

    16             A.          e .

    17             Q.         And i        yo        can        st     o       a little       ore,

    18          ac ie.        And yo        res onded to Mr.                   atoli at 6:19 a. .,

    19           oe, yo        and I s o ld tal                      a o t t is.            an s,

    20          ascal.

    21                        Do yo        see t at

    22             A.          ea .

    23             Q.         And i        yo         o         a little            rt er, yo

    24          orwarded t e e ail c ain to                            resident           alala at 6:32

    25      a. .        Do yo        see t at


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     1            A.        es.

     2            Q.            e e ail to        resident            alala states:

     3       Donna,        e s o ld tal           a o t t is.           Alan is

     4      ca    ai nin         a ainst        e and yesterday at a              eetin        wit

     5       i er,          ars y and Cote was o                 osed to o r e           orts to

     6      wor     wit         te e     onenreic        to     rin         yl ester at

     7      M MC,       Mo nt      inai Medical Center.

     8            A.        es.

     9            Q.               ort     ro     t e     resident and tr stees is

    10      needed.         ascal.

    11                     Did I read t at correctly

    12            A.        es.

    13            Q.            at was Alan        i in stone -- let              e as .

    14       orry.        Alan is Alan           i in stone.           Correct

    15            A.        es, it is.

    16            Q.       And w at was           e ca        ai nin        a ainst yo

    17            A.        o, we were as ed              y Mo nt           inai, and     y

    18      recollection is t at Aaron                    od     rst was always tryin

    19      to    a e      s de elo        a relations i              wit     Mo nt     inai.

    20      And in t is case t ey wanted to                       eco e e        ansion o

    21      t e     yl ester Co           re ensi e Cancer Center.                    And so

    22      Alan o        osed it.

    23                      o      now, one t in               ery interestin           a o t

    24      Alan is t at t e w ole                 ess t at           e created        or t e

    25       ni ersity was related to one to two                             ercent o     o r


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     1      total re en es.                  e co ld ne er see t e                                i         ict re.

     2          e co ld ne er see                 eyond           is little de art ent.                             It

     3      was always, yo                  now, t e              illa e t at was t e                          ost

     4      i     ortant co           ared to t e co ntry.

     5                     And t at was                 ery        n ort nate,                    eca se we

     6      wasted so            c     ti e, so               c        ener y.              And t is was

     7      anot er e idence o                    it.

     8             Q.      And        resident            alala res onded to yo                                at

     9      9:07 a. .                e said        I tal ed wit                        oe.            e tal ed

    10      wit     Alan.        Alan        as always                 ated        inai           ased on           is

    11          re io s e        erience wit              t e .               e        now t at and                 e

    12      says t e sa e t in                    w ene er t e na e is                                entioned.

    13      Don t tr st              te e     .         ot in           new in              is        osition.

    14      Did I read t at correctly

    15             A.       ea .            e s li e t at wit                          e ery ody.               te e

    16          onenreic         as done so               c            etter t an Alan

    17          i in stone.

    18             Q.         ay.          And t en t e e ail                          ro         resident

    19           alala concl des                   Alan           as     i         o        to        et

    20          rod cti ity            .

    21                     Do yo           see t at

    22             A.       ea .

    23             Q.         at did yo                 nderstand t at to                             ean

    24             A.       ell, I t in                 t at Donna reali ed t at Alan

    25      was     i   tin           or, yo            now, a co                 le o           cr         les w en


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     1      t ere was really i              ortant t in s to                     et done.

     2                   oo , we were tryin                     to reinstit te an                CI

     3      desi nation as co           re ensi e cancer center, and

     4      e tendin     to Mo nt           inai wo ld            a e        een a          e    el

     5      in t at     rocess, not to             ention t e                act t at we wo ld

     6       a e i     ro ed t e cancer care o                         atients        oin       to

     7      Mo nt     inai and t at           ay       a e sa ed a lot o                  li es,

     8      not to     ention t at t e researc                     t at we re doin                   in

     9      t e conte t o        t e        yl ester Co            re ensi e Cancer

    10      Center co ld        a e     a     ened at Mo nt                  inai as well and

    11       ene it     atients wit           new treat ent.                       at was not

    12       isi le to Alan.

    13           Q.      o did yo           disa ree wit                resident            alala

    14      w en s e says         e     as a       i        o     to        et     rod cti ity

    15           in t e sense t at s e was                       lacin            ore i     ortance

    16      on Dr.     i in stone s           rod cti ity t an s e was in t e

    17       i      ict re wit        re ard to            ettin        Mo nt        inai Medical

    18      Center as a        artner wit              M

    19           A.      o.     I t in        t at s e            eant t at Alan needs

    20      to do a     etter     o .

    21           Q.     And s e        sed t e words                   et        rod cti ity              .

    22      Correct

    23           A.      e .

    24           Q.     And yo         nderstood t at to                     ean     eneratin

    25       oney t ro          t e de art ent o                  s r ery.           Correct


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     1             A.       o.          st de elo             t e de art ent in a way

     2      t at wo ld           e     el      l to t e           ni ersity and to               o t

     3          lorida.

     4             Q.       ell,        rod cti ity also i                   lies, wo ld yo

     5      a ree, t at it in ol es                       oney.       Correct

     6             A.       ea , o           co rse.

     7             Q.       et s        o          a little        it       ore.       And yo r

     8      res onse to              resident            alala is        Alan is a

     9      destr cti e indi id al w o                         as raised           y    ac lty

    10      a ainst       e.         Did I read t at correctly

    11             A.       es.

    12             Q.     And do yo                eel t at t at was tr e at t e

    13      ti e

    14             A.     And it s still tr e now.

    15             Q.     And yo             o on and say               lenty o         witnesses to

    16      testi y to t is.                 Is r inin            y re       tation.

    17                      as t at tr e at t e ti e and is it tr e

    18      today

    19             A.     It s still s tr e today.

    20             Q.       o        wrote     I        a e    arents o            edical st dent,

    21      a     licants w o are callin                       e to      ind o t i         I       oin

    22      to     e    ic ed o t o                M.     Di en       are      does -- re          ses

    23      to     eet in t e           resence o             Alan,      eca se Alan is so

    24      ne ati e a o t w at Di en does and                                ts       is wor     down

    25      in     ront o        e ery ody.              As     i er a o t it.


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     1                A.      Di en        are        is a        or ida le indi id al w ic

     2      I       ad recr ited as t e                 ead o            rolo y, and                e s now

     3      t e c ie           e ec ti e o             icer        or      ealt , t e

     4          ni ersity o           Mia i       ealt            yste .

     5                Q.      And yo         o on and say                Alan is destroyin

     6      e eryt in           I     a e        ilt at           M.       ere is a decision to

     7          e     ade.

     8                        A ain, was it tr e t at Alan was destroyin

     9      e eryt in           yo         elt yo           ad         ilt at     M

    10                A.       e was certainly tryin .

    11                Q.      And w en yo             said             ere s a decision to                      e

    12          ade,        w at did yo           ean

    13                A.      I t in        t at I reali ed t at t ere was a

    14      co         nication, direct co                       nication,        oin              etween           o

    15          eBlanc, Alan, and Donna                          alala and Alan, and I t in

    16      t at decision s o ld                      a e        een     ade to sto                it.

    17                Q.      And do yo          t in        t at        e was        i en too              c

    18      enco ra e ent              y     resident              alala

    19                A.      I t in         e was          ein         i en way too                 c

    20      attention, yes.

    21                Q.       resident           alala res onded                     o    a        ointed

    22          i .        Contain     i .        e     as to lead              ore       rod cti ity.

    23                         ow did yo          inter ret t at

    24                A.       ell, I certainly didn t a                         oint          i     as c air

    25      o       t e de art ent o              s r ery.


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     1             Q.          i        t.     And        er directi e           to contain        i ,           e

     2          as to lead              ore     rod cti ity,                  ow did yo        inter ret

     3      t at

     4             A.          ot s re.                   e t o         t I s o ld control              i

     5          ore.     I     ean, yo               a e to           nderstand, Alan is so eone

     6      w o was t reatenin                           is     ac lty.         is     ac lty was

     7      constantly              eelin        insec re and inti idated.

     8                         inally I              ot Alan o t o               is        osition o

     9      c air o           s r ery and re laced                       i      y one indi id al

    10      na ed            aida        ela         e        and t e de art ent is

    11      co     letely di                 erent        ro     t e day it was              nder Alan.

    12                              ere        on, t e doc              ent was        ar ed as

    13                              i it 62              or identi ication.

    14      B     M .          MA :

    15             Q.          et        e s ow yo              now w at s           een     ar ed as

    16            i it 62.                   is is an e ail              ro     Dr.        ord to certain

    17      indi id als on t e                       M        oard o     tr stees, dated           an ary

    18      18, 2013.              I d li e to                 o to          i it 63        e ore we        et

    19      to t is to              o        t is e ail.

    20                              ere        on, t e doc              ent was        ar ed as

    21                              i it 63              or identi ication.

    22      B     M .          MA :

    23             Q.               i it 63 is t e attac                       ent to t at e ail

    24      sent        y Dr.           ord.     Do yo           re e        er t e e ail and t e

    25      attac        ent, Dr.              oldsc           idt


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     1             A.       es,     ery well.

     2             Q.      And w at do yo                 re e     er a o t it

     3             A.       ell, it was -- it was a                         it s r risin ,                       t

     4      not entirely           ne        ected.

     5             Q.        y do yo              t in     it was s r risin

     6             A.        r risin ,              eca se -- s r risin ,                         eca se

     7       ac     was a        riend.           I e     ected t at,                eca se        ac        as

     8      a tendency to           i        t.

     9             Q.       ell, so let s                 rea     t at down.                 et     e

    10      direct yo r attention --                       o down a little                   it,

    11       ac ie -- do yo              see t e sentence                   I wo ld not                 e

    12           l illin         y d ties as c ie                 co       liance o              icer       or

    13      t e     edical center i                 I didn t           i    li        t     ey

    14      co     liance iss es t at are                       endin       co        letion.

    15             A.       es.

    16             Q.      And were yo              s r rised t at                   e wrote t is to

    17      t e     oard o        tr stees or to certain                         e        ers o     t e

    18       oard o        tr stees

    19             A.        ay, I was s r rised,                          t it was not

    20       ne     ected.

    21             Q.      Did yo            eel t at t ere was anyt in

    22       ntr t         l a o t w at                 e incl ded in t is                   artic lar

    23           llet   oint

    24             A.       o.          at        artic lar            llet          oint didn t

    25       ot er      e at all.


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     1             Q.              ay.      et        e as        it t is way.            at a o t

     2      t is e ail and t e attac                          ent     ot ered yo , i

     3      anyt in

     4             A.        I t in         it was           ery --

     5                       M . I IC             :           ect as to           or .     o     can

     6             answer.

     7             A.        I t o          t it was              ery dero atory.

     8             Q.          o w o

     9             A.          o     e.

    10             Q.          o yo

    11             A.          es.

    12             Q.              at a o t it

    13             A.        It      resented           e and        y ad inistration as

    14       ein         ery         c      ind o        not        nowin     w at t ey were

    15      doin .

    16             Q.          ell, can yo               oint to an e a              le

    17             A.          oo , I don t              a e t e entire letter in                      y

    18       ind.        I           st tellin           yo         ow I reacted to it.

    19             Q.        Do yo         want to ta e a              o ent and read it and

    20      tell        e w at           artic lar as ects o                 it     ot ered yo

    21      Do yo        want to start at t e to ,                          ac ie.

    22             A.          ee         oin .         or e a        le, indirect,

    23      inco        lete or inacc rate co                        nications o               siness

    24       lans, in est ents and strate ic o erational --

    25             Q.        Can I          st sto           yo      or one second.             Can yo


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     1          oint to w at yo           re re erencin .

     2             A.      Acco nta ility and co              liance, second               oint.

     3             Q.        ay.

     4             A.       ee         oin .

     5             Q.       o down.

     6             A.       ee         oin .     It doesn t        ention any o            t e

     7      t in s t at are              ein     ac ie ed, s c           as t ere was no

     8          ention o     t e        act t at we too           t e e traordinary

     9      ris s and e           ort to reen ineer entirely electronic

    10          lat or      or     edical record and e eryt in                     attac ed to

    11      t at, w ic           was a s        stantial e        ort.

    12                       ere was no           ention o        t e     act t at we            ad

    13          een a le to create a co              lete     ealt        syste      wit     an

    14          r ent care        os ital wit in t e syste , and,

    15      t ere ore, wit o t a                 a or lea     o         atients o t o            t e

    16      syste .

    17                       ere was really not in                  ositi e a o t it at

    18      all.        I t in     it co ld        a e    een at least o             ecti ely

    19          alanced.

    20             Q.      Anyt in        else t at yo        can t in         o

    21             A.       o.          is was t e       ey iss es.

    22                           ere     on, t e doc        ent was        ar ed as

    23                           i it 64        or identi ication.

    24      B     M .       MA :

    25             Q.       et     e     o to       i it 64.        I     yo       o to t e


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     1      to     o           i it 64, and i                    yo      o down a little                  it, a

     2      little         rt er, do yo                    see        resident            alala s

     3      res onse

     4             A.          ea .

     5             Q.           i e           i      is c ec           and t an            i        or    is

     6          ard wor        on o r              e al .

     7             A.          ea .

     8             Q.          ow did yo                 inter ret t at

     9             A.          ell, I               ess s e was not                 ery        a    y eit er.

    10             Q.      Are yo                 sayin        t at t ere is so e sarcas                           in

    11      t at state ent

    12                     M . I IC                  :           ect as to           or .

    13             A.          ea .           I     ean, yes.

    14                              ere           on, t e doc           ent was           ar ed as

    15                              i it 65              or identi ication.

    16      B     M .          MA :

    17             Q.          et        e s ow yo              w at s        een     ar ed as                 i it

    18      65.        Aside        ro        -- I a olo i e                 or t e        i       li    ts

    19          ere.      o e ow we added t e .                          B t, in any e ent,                        o

    20      down a little                 it,        ac ie, and I               st want to --                  o

    21      down         rt er,               rt er,            rt er.          ay.            et s      o to

    22      t e Bates sta                 .          is is Bates sta                      M- ord 00044671

    23      and I        elie e it s 672.

    24             A.      I        o e yo           don t e           ect     e to ca t re

    25      e eryt in           t at yo                   st     assed.


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     1                Q.          o, no, no.              I want to start at t e to .                             Dr.

     2          oldsc        idt, do yo                 re e     er dra tin           se eral

     3      state ents t at e ent ally went o t to t e Miller

     4          c ool o           Medicine on or a o t                    an ary 30, 2013

     5                A.          ea .

     6                Q.      And I ll re resent to yo                          t at t is was one

     7      o        t e     irst dra ts o                 yo r state ent t at e ent ally

     8      was edited and went o t so et in                                   di     erent.                ay

     9      B t I d li e to                       oc s on t is dra t, i                    yo        wo ld

    10          er it        e.             ay

    11                        Do yo              re e     er dra tin           se eral dra ts o                       a

    12      state ent t at wo ld                          o o t to t e              edical sc ool

    13      co         nity t at led                      to a        eetin     wit        t e        ac lty on

    14      or a o t              an ary 30t

    15                A.          a     ely.

    16                Q.              ay.        I want to           o t ro          a co        le o           t ese

    17          ara ra        s.        And t e           irst        ara ra         says        I        a e     een

    18      re lectin                 on t is           ast year.        A year a o in                    an ary

    19      o r e           enses were e ceedin                       o r re en es.                   e     M

    20          resident and tr stees                          eca e concerned.                      e tea        I

    21          ad     ro         t to start t e                 M     ealt         yste        was not

    22          re ared to              el         s     a e a        a or t rnaro nd.

    23                        Did I read t at correctly

    24                A.          es.

    25                Q.      And was t at essentially a tr e state ent


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     1      t at yo        wrote        ac       t en

     2           A.        I t in        t at it was correct t at t e                              M

     3       resident and t e tr stees                        eca e concerned.

     4           Q.        And, as a res lt, yo                     re erenced             e tea

     5      t at I     ro         t to start t e               M     ealt         yste     was not

     6       re ared to           el         s    a e a       a or t rnaro nd.

     7           A.        I t o         t t at w at I               eant is t at t e

     8      tr stee        eca e        ery concerned and w at t eir concern

     9      was t at t e tea                 I    ad     ro        t to start t e              M        ealt

    10       yste     was not           re ared to            el      s     a e a        a or

    11      t rnaro nd.

    12           Q.          ay.        And t en it            oes on, and yo              said

    13         oday we       a e acco             lis ed one o             t e     ost i           ressi e

    14      t rnaro nds in t e                   istory o           odern acade ic

    15       edicine.

    16           A.         ea .

    17           Q.        Did yo            elie e t at to               e a tr t         l

    18      state ent

    19           A.         ea , I           elie e it.

    20           Q.         oin        on it says             e en        ont s in t e year we

    21      are ei     t     illion in t e                lac , nine             illion a ead o

    22       lan, 36        illion           a ora le to            rior year, well on o r

    23      way to s r ass o r co                      it ent o       deli erin           27           illion

    24      to t e     M     alance s eet and still                        a e     n sed

    25      contin ency line, and t is is a ter                              ayin        o r two


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     1          ercent contri             tion to t e       ni ersity and a ter

     2      reser in              or   ay ent o       all     on ses and clinical

     3      incenti es t at we                a e     led ed to o r             ard-wor in

     4          ac lty.

     5                            e also intend to i           le ent a t ree             ercent

     6          erit increase             or o r     ac lty and sta              on      ne 1st

     7      o     t e new acade ic year.

     8                       Is t at essentially correct

     9             A.             at was correct at t e ti e, yes.

    10             Q.        And t en yo            o on and say            e     est way I

    11      can c aracteri e t e                   ast nine     ont s is wit             an

    12      analo y to a cr ci le e ent, one t at c an es t e

    13      nat re o             so et in .

    14                       In t e dra ts t at I              e seen, one o             t e

    15      dra ts t at yo                 ad re erred to war and warti e

    16      e ents, and t is was I t in                     one o     yo r analo ies to

    17      a cr ci le e ent.

    18                       B t, in any e ent, it              oes on           it     a ra id

    19          rowt     o       t e   ast si       years, we       e acc         lated a

    20      wor        orce wit           any red ndancies and d                licati e

    21      layers,          n     nded     ro ra s, and we si           ly co ld no

    22      lon er a             ord t e .

    23                           as t at correct at t e ti e

    24             A.            ea , I t in        t at was correct.                  ere was

    25      ne er a recali ration o                   t e or ani ation                ntil t at


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     1          oint.

     2             Q.        ay.   And yo         went on and said                  ere is

     3      li ited        re aredness on           art o       y de art ents -- o

     4          any de art ents.            I     sorry.       I will reread t at.

     5                        ere was li ited             re aredness on t e                art

     6      o      any de art ents and instit tes to                        a e to

     7      decisions we were con ronted wit                      t e need o          ra id

     8      action.         e needed to create o r own cr ci le e ent.

     9                      it o t re erencin             t e need          or a cr ci le

    10      e ent t ere, yo           wo ld a ree t at             any o       t e

    11      de art ents in t e instit te were s                         ect to to

    12      decisions and t e need                or ra id action to address

    13      t e .        Correct

    14             A.       ea .

    15             Q.      And t en t e ne t             ara ra        says     A     ew

    16          ont s     e ore, we     ad recr ited Dr.               ac      ord as o r

    17      c ie        inno ation o        icer.        ac     ad e        erience        ro

    18          rior roles in restr ct ration and in s ccess                           lly

    19      t rnin        aro nd   edical centers t at were e                       eriencin

    20      a     inancial crisis.

    21                     Did I read t at correctly

    22             A.       ea .

    23             Q.        e was willin           to    el      s, too       t e     osition

    24      o     c ie     o eratin     o       icer, and led t e o eration o

    25      sa in         inancially o r          edical sc ool and             ealt


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     1      syste .

     2                              Did I read t at correctly

     3                   A.             ea .

     4                   Q.              e also red ced o r leaders i                                tea        wit

     5      de art re o                        any leaders w o                 ad        een instr              ental in

     6      la nc in                    o r     ealt     syste           and        any ot ers.

     7                              Is t at a correct state ent or state ents in

     8      t at              ara ra

     9                   A.             es.

    10                   Q.         I     we can        o down,           ac ie.           I             oin     to s i

    11      down               rt er in t e doc                 ent on Bates sta                           endin          in

    12      72.                ere it says t en.                 I             oin        to s i           down to

    13      t e           ara ra                e innin        wit        t en at end o                    Dece       er.

    14                              It says             en at t e end o                    Dece           er, w en we

    15      reali ed t at o r                          er or ance              ad, indeed, i                    ro ed

    16      and was sta ili ed, it was ti e to re ert to a

    17      creation-dri en and                          eace        l     ode.                e     lan t at was

    18      care              lly        resented to t e entire leaders i                                      tea    o

    19      o r Miller                    c ool and        ealt           syste           at t e           e innin

    20      o        Marc           2012        ad     een e ec ted                  lly.                e cr ci le

    21      e ent created to sa e                          s     inancially co ld no lon er

    22          e        rolon ed and all o                     s were              ed             wit     t e stat s

    23              o.         r strations o              t e        ac lty              ani ested wit

    24          etitions, re olts a ainst t e                                   oin            od s o erandi,

    25      a ainst decisions t at, e en i                                      t ey were t e ri                      t


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     1      decisions,             ailed to         e co      nicated wit        t e e     ected

     2      concerns           or clarity and a              ro riate lin s to o r

     3          rinci les.

     4                        Did I read t at correctly

     5                A.       es.

     6                Q.      And did yo            elie e t at to        e tr e

     7                A.       es, I do.           I t in     t ere is one area w ere

     8      we        is er or ed.           It was in t e area o           co      nication.

     9                             ere      on, t e doc        ent was     ar ed as

    10                             i it 66         or identi ication.

    11      B        M .       MA :

    12                Q.       et s        o to       i it 66.     And, as yo           can see,

    13      Dr.        oldsc       idt, I          ess t ere were        ario s     eo le w o

    14      were           el in     yo     words it        t is and one o        t e     was

    15      t e        resident.           Do yo     see t at

    16                A.       ea .

    17                Q.      And as I re resented to yo                  e ore, I

    18          elie e, t at in one o                 t ese dra ts t ere was a war

    19      analo y and a                 arently     resident      alala didn t li e

    20      war analo y.

    21                        B t w at I            interested in is        er state ent

    22      to yo ,            o     also o erdo t e t an s to              ac     and         eri.

    23          o     don t need to do it in                   lic tal     a o t        a in

    24      to             decisions to ac ie e a t rnaro nd.                     a e credit

    25          or     rin in        in a new transition tea .               o t ro


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     1      anot er dra t.

     2                        Do yo        see t at

     3             A.         I do.

     4             Q.         And I t in              yo     a reed.           ay.     I will

     5      c an e t e analo y.                        ed ce t e role o                 .

     6                          at s        ac         ord.        Correct

     7             A.          e .

     8             Q.          And        ass it to           oe w en done.

     9                        Did I read t at correctly

    10             A.          es.

    11             Q.           ay.

    12                              ere     on, t e doc              ent was     ar ed as

    13                              i it 67           or identi ication.

    14      B     M .          MA :

    15             Q.          et     e s ow yo              67.     67 is a     an ary 21st

    16      strin        o     e ails, wit                 a re ised      ersion at 4:55, at

    17      5:27        atoli wrote              In        ascal s note, I d           e care        l

    18      a o t sayin              today we acco                 lis ed one o        t e     ost

    19      i     ressi e t rnaro nds in t e                          istory o         odern

    20      acade ic           edicine.           Better to           e   nderstated

    21      t ro         o t t e note.

    22                        And t en, a              arently, yo           redra ted it a ain

    23      and too           o t t e state ent a o t it                       ein     one o     t e

    24          ost i        ressi e t rnaro nds in t e                       istory o         odern

    25      acade ic           edicine.           Do yo        a ree wit        t at


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     1             A.          ea .

     2             Q.         B t yo      elt it was an i              ressi e t rnaro nd.

     3       ow w et er it was t e                    ost i     ressi e t rnaro nd in

     4      t e     istory o            odern acade ic           edicine, yo          still

     5       elie ed it was an i                 ressi e t rnaro nd.              Correct

     6             A.          o.     In ten years we tri le t e re en es o

     7      t e     edical center.              And, a ain, t e IM              was     etween

     8      one and two              ercent o     t at.         o we did t in s t at

     9      were a sol tely instr                 ental in de elo in              t e     ealt

    10      syste        to     a e it a        ealt     syste     o      al e t at        eo le

    11      were see in              and t at was ser in           t e     eo le o         o t

    12       lorida in a              a or way.

    13                        And t at      rt er also i           acted on ot er

    14      or ani ation, li e              ac son, li e Ba tist and li e

    15      Mo nt        inai in t e way t at t ey                 ad to          rade t eir

    16       a e to contin e to co                    ete wit      s.

    17                        And w at     ad     a     ened is t at in t e e ents

    18      t at        ollowed 2008, t e in and o ts were                       isali ned,

    19      and we needed to              a e a recali ration o                 t e

    20      or ani ation, w ic              we did, and           ac      ad     layed a

    21      critical role in t at.

    22             Q.         And w et er it was in t e                 inal dra t or not,

    23      it was certainly a              ery i        ressi e t rnaro nd in t e

    24       istory o               odern acade ic        edicine.        Correct

    25                        M . I IC      :           ect as to        or .


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     1                Q.       o ld yo           a ree wit      t at

     2                A.       es, I do.

     3                              ere     on, t e doc         ent was     ar ed as

     4                              i it 68        or identi ication.

     5      B     M .          MA :

     6                Q.       et        e s ow yo     now        i it 68.       Dr.

     7          oldsc        idt, instead o            e readin        t is one, I d li e

     8      yo        to read it, and w en yo                   inis    readin        it, I t en

     9          a e a series o                   estions     or yo .

    10                             e orter clari ication.

    11                Q.       o     can read it to yo rsel , Dean

    12          oldsc        idt.

    13                A.           ay.     I t in     we     issed a little           iece.

    14          e .

    15                Q.      Dr.        oldsc     idt, yo      wo ld a ree wit           e t at

    16      Dr.        ord     as        een e cised       ro    t is state ent.

    17      Correct

    18                A.       es.

    19                Q.      And re ardin           t e     inancial res lts, t ey             e

    20          een te        ered to re lect t at -- sorry.                     et     e stri e

    21      t at.

    22                             e re erence to it            ein    one o     t e     ost

    23      i     ressi e t rnaro nds in t e                     istory o      acade ic

    24          edicine, t at              as     een ta en o t as well.              Correct

    25                A.      Correct.


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     1             Q.         I d li e to, i           yo       can     o       a little          it,

     2       ac ie,                t ere, do yo        see t e          ara ra            t at says

     3            en at t e end o           Dece        er

     4             A.          es.

     5             Q.               en, at t e end o             Dece        er, w en we

     6      reali ed t at o r              er or ance             ad indeed i              ro ed and

     7      sta ili ed, it was ti e to re oc s.

     8             A.          e .

     9             Q.          I listened to t e concerns o                          ac lty and

    10      sta             ia t eir c airs.                e    edical        ac lty co ncil

    11      re resentati es and t eir                       etition and t ro                  direct

    12      one-on-one con ersations.

    13                        And t en t e last sentence.                            is     ade     e

    14      decide t at a c an e in co rse and tea                               was

    15      warranted.

    16                        Did I read t at correctly

    17             A.          es.

    18             Q.          ow correct        e i        I     wron , Dr.              oldsc     idt,

    19         t it wasn t yo             t at     ade t e decision to c an e t e

    20      tea     at t at ti e.           Correct

    21                        M . I IC      :           ect as to             or .

    22             A.          o, it wasn t.           B t, yo              now, t e        ro le

    23      wit         i     or ani ations is t at w en yo                      in c ar e o

    24      t e , yo           s      osed to ta e res onsi ility, and I

    25      didn t want to not ta e                    y res onsi ility.


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     1             Q.      I        nderstand t at.                    B t t e state ent t at

     2            is     ade        e decide t at a c an e in co rse and tea

     3      was warranted,                 t at was not tr e.                    Correct

     4             A.          oo     --

     5                     M . I IC               :           ect as to           or .

     6             A.              ere were           any     ni        e contri           tors to t e

     7      s ccess t at we                 ad.        Bill Donelan              ad        een a

     8       or ida le leader initially.                                 ac     was a           or ida le

     9      leader at a critical ti e o                                t e or ani ation, and

    10      Donna         alala        layed a              ery i        ortant role.                  t art

    11      Miller        ad        een instr           ental in              el in         s        ein      ore

    12      s ccess        l.          ere were se eral c airs t at were

    13      instr        ental in o r s ccess as well.

    14                     I        ean, yo            now, it s ne er a o t                           st one

    15       erson        it s a o t -- it s a o t t e or ani ation.

    16      And t ere were -- I can see t e                                   oint o        Donna, yo

    17       now, i        we t an           one        erson, we really need to

    18      reco ni e t e ot er                       eo le t at were                 ni        e.

    19                         o     et Cedars t e way we                       ot it, I              ean, I

    20       ad         one calls t e day                    e ore to tell                 e t at t e

    21       ni ersity was ne er a le to                                 y eit er so t                     os ital

    22      or doctors, it wo ld ne er                             a     en,     eca se t e

    23       ni ersity was not ca a le o                                doin     so.

    24                         e     ad a             e iss e at t e le el o                          t e

    25      tr stees, wit              tr stees, t at it always                             oted


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     1          nani o sly on t in s, w o were                        ery di ided a o t

     2      t is.         is was          ery c allen in , and                    any,     any

     3          eo le were instr             ental in          a in        -- in allowin           t e

     4      t rnaro nd.

     5                      it       all d e res ect, w ile I totally

     6      reco ni e t at t e contri                     tion o            ac      ord was an

     7      essential one at a                ery critical ti e, t ere were                         any

     8          eo le t at contri             ted to t e s ccess o                   t e

     9      or ani ation, and t at                   ade it now a                ery s ccess        l

    10          edical sc ool, not only in ter s o                           ed cation,

    11      researc       and clinical care,                       t also        inancial.

    12             Q.     Dr.        oldsc        idt,    y         estion was a little

    13      di     erent.

    14             A.          ay.

    15             Q.     My         estion is wit             re ard to t e last

    16      sentence o           t e      ara ra          e innin                 en, at t e end

    17      o     Dece    er,        yo    stated             is     ade     e decide t at a

    18      c an e in co rse and tea                     was warranted.

    19             A.       es.

    20             Q.          at is not a tr e state ent.                         Correct

    21                    M . I IC            :          ect as to           or .

    22             A.       ell, at t e end o                  t e day, I co ld              a e

    23      re     sed.

    24             Q.     Did yo          decide to c an e t e tea                       at t e end

    25      o     Dece    er           as it yo r decision


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     1             A.     I a reed to c an e t e tea .                                B t since I was

     2      in c ar e o             t e c an e, I ta e                        ll res onsi ility

     3          or it.

     4             Q.     Dr.           oldsc        idt, yo           did not        a e t at

     5      decision.          Correct                o      e testi ied              ere all day --

     6                    M . I IC               :           ect to t e           or .

     7             A.     I         not dis           tin        t at     oint.             ay         It was

     8      not     y decision to re o e                         ac      ord.     I         not

     9      dis     tin       t at.

    10                    B t w en it co es to tal in                             to t e           ac lty,

    11      I     a e to stand                or w at        a        ened and ta e               ll

    12      res onsi ility                   or it.       May e I didn t e                  ress t at

    13      correctly,              t t at was t e intent.                       Is t at -- can

    14      yo      nderstand t at

    15             Q.     A ain, Dr.                 oldsc        idt, I         as in           t e

    16           estions.           o         a e to answer t e .                 I don t answer

    17           estions.

    18             A.         et        e     nderstand s eci ically w at yo                             want

    19          e to answer.

    20             Q.     I want yo              to ac nowled e t at t e last

    21      sentence o             t at        ara ra        ,        e innin     wit        -- t at

    22      starts wit                      en, at t e end o              Dece        er.         Do yo

    23      see t at          ara ra

    24             A.         es.

    25             Q.          e last sentence:                          is     ade     e decide t at


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     1      a c an e in co rse and tea                                was warranted.

     2                A.              ay.

     3                Q.              at is not a tr e state ent.                          Correct

     4                           M . I IC               :           ect as to     or .

     5                A.          o.        I t in           t at it s -- it s an ade                ate

     6      way to e              lain a series o                    e ents t at           ad occ rred

     7      wit in           y tea .

     8                           At t e end o                 t e day, I do        elie e t at it

     9      was        y c oice to re                       se to     o alon     wit        t e decision

    10      o        Donna            alala and t e                 oard and to        e     ired.     I was

    11      not done wit                        y --        or so e reason t e screen

    12      disa           ear        ere.

    13                Q.          e see yo .

    14                A.              ay.            ot it.

    15                            oo , I was not done wit                       w at I ca e to

    16      acco           lis        at        M.     And t e tea        was c an ed.           And at

    17      t e end o                 t e day, w et er yo                 li e it or not, w ile

    18      it was not                 y res onsi ility or decision to se arate

    19          ro         ac , w o was                 y     riend and was        y        artner at

    20      wor , it was -- it, ne ert eless,                                   alls on        e t e

    21      res onsi ility t at t e tea                                 as c an ed.

    22                Q.         B t yo              did not        a e t at decision.           Correct

    23           at was Donna                        alala s decision.           Correct

    24                           M . I IC               :           ect as to     or .

    25                A.          o        re         set a o t t e ter           decide.        And I


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     1      a ree wit           yo , it was not t e correct ti e.                          I s o ld

     2          a e said I was res onsi le                    or t at c an e in co rse.

     3             Q.      Dr.        oldsc        idt, w o s         ested t at sentence,

     4      do yo       recall

     5             A.      I don t.           It     ay     a e     een     oe     atoli.        I

     6           st -- I         st don t -- I               st don t re e           er w o           ade

     7      t e c an e in it.

     8             Q.      Do yo         now w y it was so i                 ortant to

     9      incl de in yo r state ent to t e                          ac lty

    10                     M . I IC            :           ect as to        or .

    11             A.           at I was concerned is t at I wanted to                                a e

    12      s re t at I was              ery clear t at anyt in                    t at     a        ened

    13      in t e       edical center was                  y res onsi ility, yes.

    14                      o     re correct t at I s o ld                       a e said -- I

    15      was res onsi le              or t e c an e, o                 co rse, and tea

    16      t at was -- t at too                     lace.

    17             Q.       o     were res onsi le,                  t yo        did not        a e

    18      t e decision.              Correct

    19                     M . I IC            :           ect as to        or .

    20             A.           at is correct.

    21                           ere     on, t e doc              ent was        ar ed as

    22                           i it 69           or identi ication.

    23      B     M .       MA :

    24             Q.       et        e s ow yo           now w at we        e     ar ed as

    25            i it 69.        I     we can        o to t e        otto ,        lease.             is


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     1      is an e ail                    ro         o n Dorsc ner to C ristine Morris.

     2       I now           a e            lti le so rces sayin                       s e -- re errin

     3      to     resident                     alala -- s o e to t e senate                                or a o t

     4      30     in tes, incl din                       ta in           o       estions.                      e said

     5      t at to                   decisions           ad to           e     ade to           i        t e

     6      sc ool s              inances.                e says t e sta es                          ad     een     ade,

     7           ote     n        ote,               t w en as ed, wo ldn t na e

     8      s eci ics.                      e said retaliation                    ad,            ote        n     ote,

     9      a sol tely no                       lace in an acade ic settin                                and s e

    10      wo ld not tolerate it.

    11                            e        oes on.            I ll wait a              ew        in tes           e ore

    12      addin        to t is to t e online story i                                      yo        want to

    13      co     ent.                o         ,     ac ie.        And        resident                  alala

    14      indicated                  o let it           o.         ascal s letter s ea s                          or

    15      itsel .

    16                        Dr.           oldsc        idt,        y         estion is, yo                    were at

    17      t at        eetin              wit         resident               alala.        Correct

    18             A.             o, I don t t in                    I was at t e                    eetin .

    19             Q.             ell, t is was t e -- so yo r state ent --

    20             A.         It was                 etween         alala and t e                    ac lty

    21             Q.             es.            ere yo        t ere

    22             A.         I was not t ere.

    23             Q.         I            sorry.        I t o            t yo     were.

    24             A.             o.

    25             Q.                 ay.        I was        oin        to as     yo        w et er s e


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     1          ade any re erence to retaliation and w o s e was

     2      re errin        to or w o t e              ro         was re errin           to in

     3      ter s o        retaliation.

     4             A.      I was not at t e                 eetin .

     5                     M . I IC         :              ect as to        or .

     6             Q.       ittin         ere today, do yo                  now w o t e

     7      re erence to retaliation was ai ed towards

     8             A.       o idea.

     9                           ere     on, t e doc              ent was     ar ed as

    10                           i it 70        or identi ication.

    11      B     M .       MA :

    12             Q.       et     e s ow yo                 i it 70.        Dr.     oldsc        idt,

    13      I ll re resent to yo                 t at             i it 70     as     ot     o n

    14      Dorsc ner s           an ary 31st, 2013, article w ere it says

    15           oldsc     idt con ronts an ry                    M Medical        c ool

    16          ac lty.         And i     edded in t e e ail is t e                       ersion o

    17      t at article.

    18                          e article         oted           resident      alala as

    19      re erencin           t is -- let           e     ind it -- in t e article

    20      it says -- let              e see i        I can        ind it --        o       a

    21      little        it,     ac ie.        Down.        I      sorry.

    22                     At t e        otto     it says t at yo              told t e

    23          at erin     t at yo         ad ne er               nis ed anyone w o s

    24      s o en o t a ainst              i     or        is actions.

    25                     Do yo        see t at


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     1            A.          at     eetin        I was        art o .           I was tal in

     2      a o t a di         erent        eetin .

     3            Q.          ay.         o a     I correct in ass                    in     t at yo

     4      and     resident          alala addressed t e                       ac lty

     5            A.          ay, t at s t e              eetin        I        entioned w ere

     6      Donna       alala addressed t e                    ac lty, tal ed to t e ,

     7      and t en, w en I was alone,                        o el        et          on        is        eet

     8      and start attac in                   e.

     9            Q.      o        said     o el.        Bernard           o el

    10            A.      ea .

    11            Q.      e s t e dean

    12            A.      wo deans              e ore.

    13            Q.      wo deans              e ore yo .

    14            A.      ea .

    15            Q.     And were yo              acc sed at t at                    eetin        o

    16         nis in     critics

    17            A.      ot t at I re e                 er.          at was not t e                       ey

    18      to ic.

    19            Q.          ay.     B t at t e           otto        t ere it says

    20         oldsc     idt told t e                 at erin     t at           e     as ne er

    21         nis ed anyone w o                 as s o en o t a ainst                       i        or        is

    22      actions.

    23                   Do yo        see t at

    24            A.      ea , t at s correct.

    25            Q.     Do yo        recall t at co in                          at t e           eetin


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     1      wit     t e        ac lty

     2             A.         It s one o              t e t in s t at ca e                  at t e

     3       ac lty           eetin .           It was a        orri le        eetin .

     4             Q.         And        resident            alala was         oted d rin       t at

     5       eetin           as sayin           t at retaliation a ainst t e

     6       ac lty,               ote,     ad a sol tely no              lace in an acade ic

     7      settin ,           n     ote.

     8                        Do yo        re e        er     er sayin     t at at t e

     9       ac lty           eetin

    10             A.          a     ely, yes.

    11             Q.         And do yo               now w o t ey were re errin                to

    12      a o t retaliation a ainst t e                            ac lty

    13                        M . I IC            :           ect as to        or .

    14             A.          o.        B t I ass           e t at it was -- it was

    15      so et in           related to              i in stone.

    16             Q.          i     t.     In        act, t is was all carried o er

    17       ro         i in stone s acc sations a ainst yo                            and Dr.

    18       ord.           Correct

    19                        M . I IC            :           ect as to        or .

    20             A.         It     ay     e, yes.

    21             Q.         Can yo            o down         rt er,     ac ie.       I      sorry.

    22       o      .         o down.

    23                             ay.      o               st a tiny     it.         ay.

    24                        And it says -- I                  sorry.         o down a tiny

    25       it.        I          ettin          nc        dr n .       ay.      i    t t ere.


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     1                               ear t e              otto , Dr.              oldsc     idt, yo        re

     2           oted as sayin                        At t e end o                 Dece     er, w en we

     3      reali ed t at o r                             er or ance              ad indeed i        ro ed and

     4      sta ili ed, it was ti e to re oc s, I listened to t e

     5      concerns o                     ac lty and sta                         ia t eir c airs, t e

     6       edical              ac lty co ncil re resentati es and t eir

     7       etition, and t ro                                  direct one-on-one con ersations.

     8           is        ade        e decide t at a c an e in co rse and tea

     9      was warranted.

    10                               o t is was t e state ent t at yo                                 ad

    11      earlier a                 ro ed and now                    a e        ade it into        o n

    12      Dorsc ner s article, dated                                   an ary 31st, 2013.

    13      Correct

    14                A.             es.         o         now, it s              ery interestin .              e

    15      two indi id als w o were recr ited to re lace                                                  e

    16      lasted a o t 18                          ont s.           Mia i is a           ery c allen in

    17      en iron ent.                    I t in              way     ore di          ic lt t an e en             ew

    18       or        w en it co es to leadin                                a     i     acade ic

    19      enter rise.                    And        eo le li e              o n Dorsc ner are

    20       artic larly a le to create s c                                         a dis i     red i a e o

    21      w at is act ally                          a     enin        in t e          ni ersity.

    22                           I     ean, i              yo     loo        at t e c an es t at were

    23      o erated, we were doin                                e tre ely well.              B t     e was

    24      listenin                 only to Alan                 i in stone,              is cli     e and a

    25      co        le o            eo le w o                 ad not in           to do really wit            t e


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     1          edical sc ool,                   t       ad     ery s eci ic a enda.                         at s

     2      t e reason w y it s so di                             ic lt to lead a                    i

     3      enter rise in Mia i.

     4              Q.      Dr.        oldsc             idt, earlier in t e de osition I

     5          elie e yo            -- and it s                een     o rs, so correct                    e i

     6      I       wron        --         t I       elie e t at yo                 attri           ted so e o

     7      yo r         ro le s to Dr.                   ord.        Can yo        e        lain t at to           e

     8      once         ore.

     9              A.          ea .

    10                      M . I IC                 :           ect as to              or .

    11              A.          o I        entioned             any ti es, yo                  a e seen it

    12      in t e doc               ents t at yo                 a e re iewed,                    y ad iration

    13          or critical                alities o              ac         ord.             ere are so e

    14      iss es t at               ac         as in ter s o                co         nication, in

    15      ter s o         lac        o     res ect             or     ro     s o           indi id als

    16      t at         e sees as not doin                      so et in           i        ortant, and

    17      t at created so e si ni icant                                   ro le s in t e

    18      or ani ation.

    19                      And so, yo                    now, I        a e to           e     ran .        It    ad

    20      a lot to do wit                  t e re olt t at ens ed.                               It was

    21      not -- it was not Alan                             i in stone alone.                    Alan

    22          i in stone too               ad anta e o                a     ilie           w ere act ally

    23          e   ad a c ance to t rn                         eo le a ainst                 s.

    24                      And I t in                   t e     act t at t ere was, yo

    25          now,       ite a           it o          attit de t at              eo le           ercei ed as


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     1      dis ara in                and de eanin                 and disres ect                l     ad a lot

     2      to do wit             t e c allen es t at we enco ntered later.

     3             Q.        B t yo            a e no recollection o                            any e ail

     4      w ere yo             doc        ented t ose              ery concerns.                   Correct

     5                       M . I IC               :              ect as to          or .

     6             A.        As I said, I                    re er not to                 t t in s in

     7      writin           I        re er to e              ress t e              ace-to- ace.              And

     8      t ere is once a year a re iew o                                     t e indi id al w ere,

     9      i     t ere are iss es t at need wor , t ey end                                                  in t e

    10      record.

    11                                  ID          A          :     Mr.        lo an, 30             in tes.

    12                       M .             MA :        I         al ost done.

    13                                ere     on, t e doc                 ent was          ar ed as

    14                                i it 71A           or identi ication.

    15      B     M .            MA :

    16             Q.            et     e s ow yo              w at        as       een        ar ed as

    17            i it 71A.             Dr.     oldsc              idt,     o to          a e 16.        I      st

    18      want to          o o er so e o                    t e     inancials to                   eri y yo r

    19      inco e d rin                2012, 2013, 2014 and 2015.

    20                           o to        a e 16.                ere it is.                  ay.          ere it

    21      is.     All ri             t.

    22                       Dr.        oldsc           idt, I            s owin          yo     w at s        nown

    23      as a        or       990.        It s a re ortin                    I         or     t at t e

    24          ni ersity             a es.     Are yo               a iliar wit                t is

    25             A.            ery.


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     1             Q.              ay.        It indicates          ere t at            or t e

     2      re ortin               eriod o          2012, w ic         I     elie e act ally

     3      ends in 2013, t at yo                          re orted        -2 inco e o

     4          1,199,905, and t ere was a                         ro i ately an esti ated

     5      a o nt o           ot er co             ensation o             45,635.        Is t at

     6      correct

     7             A.              at so nds ri              t.     o yo         now     now i     yo

     8      co     are     y salary wit                    ot er leaders o              si ilar     ealt

     9      syste , I was                    nder aid.

    10                              ere        on, t e doc          ent was            ar ed as

    11                              i it 72           or identi ication.

    12      B     M .          MA :

    13             Q.      I         s owin           yo     w at s        een     ar ed as             i it

    14      72, w ic           is t e           M     or     990    or 2013.             o to     a e 16

    15      a ain.        And I              elie e t is is           or t e year endin                 in

    16      2014.        It re orted a                 -2 inco e t at will yo                    recei ed

    17      o      1,299,866, and an esti ated a o nt o                                   ot er

    18      co     ensation o                  46,994.        Is t at correct

    19             A.              at s correct.

    20                              ere        on, t e doc          ent was            ar ed as

    21                              i it 73           or identi ication.

    22      B     M .          MA :

    23             Q.      I         s owin           yo     w at s        een     ar ed as 73,

    24      w ic        is t e           M     or     990, 2014, w ic              I     elie e ends

    25      in 2015.           I     we        o to        a e 16 a ain, I              elie e yo


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     1          ade sli        tly less t at year, two          illion -- I

     2      sorry --           -2 inco e o        1,277,879,         t        ade        76,969 in

     3      esti ated a o nt o              ot er co       ensation.              Is t at

     4      acc rate

     5                A.       ea .

     6                           ere    on, t e doc        ent was           ar ed as

     7                           i it 74     or identi ication.

     8      B     M .          MA :

     9                Q.      And s owin     yo        i it 74, w ic                is t e 990

    10          or 2015, and I          elie e t is ends in 2016, w ic                        wo ld

    11          a e        een yo r last year at t e          ni ersity,                 -2

    12      inco e, re orted              -2 inco e o        1,558,915 and

    13      esti ated a o nt o              ot er co       ensation o               94,273.      Is

    14      t at acc rate

    15                A.        at see s to       e a little        it        i     .     B t,

    16      w ate er.

    17                Q.        ic     art was a little        it        i

    18                A.        e 1.58.     I t o      t it was closer to 1.2

    19      t at year.

    20                Q.      B t t is is w at t e          ni ersity re orted.

    21                A.        ay.

    22                           ere    on, t e doc        ent was           ar ed as

    23                           i it 75     or identi ication.

    24      B     M .          MA :

    25                Q.       ow I d li e to       o to       i it 75.                 Dr.


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     1       oldsc              idt, t is is an e ail -- let                             e         st     o to t e

     2      Bates sta                 .       is was Bates sta                 ed        ord-001298.

     3           st        o to t e to .                      is is an e ail dated                        ly 3rd,

     4      2013, written to yo ,                             ascal,     oe and              o .        And it

     5      says           Co        liance Conce ts, t e o tside inde endent

     6      a ditin              co        any, tas ed wit              re iewin              certain

     7      alle ations o                    ina     ro riate           illin        at t e IM               as

     8      co        leted its re ort.                        irt ally all o                 t e

     9      alle ations a ainst t e IM                             are     n o nded.

    10                           Do yo        see t at

    11                A.             ea .

    12                Q.              at was yo r reaction w en yo                             saw t at

    13                A.         It was done              y a t ird        arty t at s s                     osed

    14      to        e, yo               now, a     ro         t at is        ery co              etent in

    15       a in           t eir ass               tions.         o w at do yo                    want     e to

    16      tell yo

    17                Q.             ere yo        s r rised           nowin        --

    18                           M . I IC            :           ect to t e              or .

    19                A.              r rised             o      now, I was s r rised,

    20       eca se I t o                     t t at t e e al ation t at I                                ad seen

    21      co in               ro        Dr. Cote were acc rate and I was a little

    22       it disa                 ointed        y t e res lt.

    23                Q.         And yo        were disa           ointed in t e res lts

    24       eca se w y

    25                A.         Beca se t ey were di                    erent.              I wo ld        a e


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     1      ass        ed t at Dr. Cote was                        ro idin           acc rate

     2      in or ation and, o                      io sly, t e e al ation was t at

     3      t e        ro le s were relati ely li ited.

     4                     I        I recall, it was -- we                           ad to rei                     rse

     5      so et in           li e          200,000 to Medicare, w ic                                  is

     6      re retta le,                  t was not a                    e deal.

     7             Q.      Did yo              ind o t             ro     any ody t at                       enni er

     8      McCa        erty        ernande             was as ed to si n so et in

     9       alidatin              t at a dit

    10             A.          o.       I was -- yo                 now, it              ad        een        o ed to

    11      t e a dit              ro     , w ic            was not re ortin                       to        e.     I    I

    12      recall correctly, it was Mic ael Moloney w o was in

    13      c ar e o           t e a dit.

    14                     M .               MA :           ric,        i e     e        i e        in tes and I

    15             t in        I        done.           I     st want to                 a e s re t at

    16             I      done.               ay

    17                     M . I IC                 :        tandin            y.

    18                                  ID          A         :         e re        oin        o         t e

    19             record.                e ti e is 5:06                  . .

    20                              ere       on, a          rie        recess was ta en, a ter

    21             w ic        t e        ollowin             roceedin s were                       ad:

    22                                  ID          A         :         e re        ac        on t e              ideo

    23             record.                e ti e is 5:13                  . .

    24                     M .               MA :           lainti            Dr.        ac         ord doesn t

    25                 a e any ore                 estions.


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     1                  M . I IC             :       an      yo .     I don t       a e any

     2                estions at t is ti e.                   e are     oin     to ta e a

     3           co y o       w ate er is ordered, incl din                         t e    ideo,

     4           i     ordered.        And we will read and si n.

     5                  M .           MA :       I        orderin     t e de osition and

     6           t e     ideo.

     7                    Disc ssion             eld o       t e r e c o r d.

     8                           ID          A       :        is concl des today s

     9               ideo de osition o               Dr.     ascal     oldsc        idt.      is

    10           consists o           si         ideo dis s.           e ti e is 5:13

    11               . . and we re           oin      o      t e record.

    12                     eadin           and si nin         not wai ed.

    13                    De osition concl ded at 5:13                        . .

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25


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     1                                C      I ICA         A

     2

     3           A                  IDA

     4      C                  B     A D

     5

     6                  I, t e       ndersi ned a t ority, certi y t at

     7          A CA           D C MID       a   eared   e ore   e   ia   oo   on

     8      A ril 1, 2022, and was d ly sworn.

     9                   I            y     and and o    icial seal t is

    10      11t        day o       A ril 2022.

    11

    12

    13

    14

    15                                       Mary Ann Collier
                                             Co ission       078151
    16                                          ires 2 21 25

    17
                itness I.D.:              lorida dri ers license
    18

    19

    20

    21

    22

    23

    24

    25


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     1                                      D            I I        C       I ICA

     2

     3                      I, MA          A         C      I       , Co rt        e o r t e r, c e r t i y

     4      t at I was a t ori ed to and did steno ra                                          ically

     5      re ort t e de osition o                             A CA             D C MID , t at a

     6      re iew o            t e transcri t was re                       e s t e d, a n d t a t t e

     7          ore oin         t r a n s c r i t,        a es 1 t ro                242, is a tr e

     8      and co        lete record o                    y steno ra             ic notes.

     9

    10                      I        rt er certi y t at I a                        n o t a r e l a t i e,

    11      e     l o y e e, a t t o r n e y o r c o n s e l o              any o        t e     a r t i e s,

    12      nor a       I a relati e or e                       loyee o          any o     t e      arties

    13      attorney or co nsel connected wit                                    t e a c t i o n, n o r a

    14      I     i n a n c i a l l y i n t e r e s t e d i n t e a c t i o n.

    15

    16                      Dated A ril 11, 2022.

    17

    18

    19

    20

    21
                                                     MA         A       C    I
    22

    23

    24

    25


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     1                                 A A

     2      D          I           A    C I   .         C A                 .

     3       AM :   A CA     D C MID
               :  ord . ni ersity o Mia i
     4      DA      D    I I : 4 1 22
             a e ine C an e                                   eason
     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22
              nder enalty o    er ry, I declare t at I a e read
    23        y de osition and t at it is tr e and correct,
            s    ect to any c an es in or or s stance entered
    24      a o e.

    25      De onent s si nat re              Date         rint       a e


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     1              Mary Ann Collier & Associates, Inc.
                           2423    10t Co rt
     2                    o ano Beac ,      33062
                              305-371-2443
     3

     4                                            A ril 11, 2022

     5       ric Isico
            Isico   & a at
     6      isico   irlaw.co

     7                           e:    ord    .   ni ersity o     Mia i

     8      Dear Mr. Isico      :

     9       it re erence to t e de osition o   ascal oldsc idt
            ta en in connection wit t e a o e-ca tioned case,
    10       lease e ad ised t e transcri t is re ared and
            awaitin si nat re.
    11
             lease a e t e witness read t e transcri t, denotin
    12      any corrections y a e and line n    er on t e
            enclosed errata s eet.   is errata s eet   st e
    13      si ned y yo and a co y orwarded to e rey lo an,
            attorney or t e lainti .
    14
            I t is as not een ta en care o wit in 30 days o
    15      t is date or y t e ti e o trial, it s all t en e
            concl ded t at t e readin and si nin  as een
    16      wai ed.

    17                                 o rs   ery tr ly,

    18

    19                                Mary Ann Collier & Associates

    20      cc:     e   rey   lo an,    s .

    21

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    25
     Case 1:13-cv-22500-CMA Document 140-12 Entered on FLSD Docket 05/31/2022 Page 248
                                          of 255
Message
From:        Goldschmidt, Pascal J. [/O=UNIVERSITY OF MIAMI/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=PGOLDSCHMIDT]
Sent:        12/6/2012 8:54:47 PM
To:          Shalala, Donna E. [dshalala@miami.edu]
BCC:         Goldschmidt, Pascal J. [pgoldschmidt@med.miami.edu]
Subject:     Re: Re:



BTW, this is not a vote, it is propaganda of the worse type. Unacceptable. I will have my second official
Dean review during FY14, faculty can vote then ...
Sent from my iPhone
on Dec 6, 2012, at 6:52 PM, "shalala, Donna E." <dshalala@miami.edu> wrote:
> I believe you need to talk to groups of faculty to confront this and answer questions without Jack. I
will spend some time in January reaching out to people there is considerable confusion about the Jackson
agreement. I have warned you before your communication is weak with the entire faculty not the chairs.
The latest rumor is that children's is hiring the nurses we said weren't trained. We don't need a no
confidence vote just as things are turning around   Is it true we didn't invite anyone at Jackson to
meet with the candidate for bone marrow when he came?
>
> Sent from my iPhone
>
>
> on Dec 6, 2012, at 5:36 PM, "Goldschmidt, Pascal (Dean - school of Medicine)"
<PGoldschmidt@med.miami.edu> wrote:
>
>> Donna,
>>
>> We want to make you aware that the attached pet1t1on is being circulated by a someone at the Miller
school of Medicine. obviously, the issue relates to fear of changes in our relationship with Jackson. It
is not the first time that similar documents have been circulated to hurt the Dean of the Miller school.
You will remember the nasty anonymous letter that was circulated in 2009, just a few months before the
2010 official review of the Dean by faculty organized by the Faculty Senate came back with more than 70%
support.
>>
>> In this case, what is upsetting is that the authors are threatening our chairs and faculty to sign the
document, indicating that "when the change in leadership will have occurred, there will be consequences
for those who did not support the petition". obviously, this is all very disappointing, but the price to
pay for trying to make the changes that are necessary for the success of UM, the Miller school and
UHealth.
>>
>> Pascal and Jack
>> <20121206173258025.pdf.pdf>




                                                                                                    18
                                                                                               UMLORD - 00042419
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                                           of 255
Message
From:          Robitaille, Magaly [MRobitai@med.miami.edu]
on behalf of   Goldschmidt, Pascal (Dean - School of Medicine) [PGoldschmidt@med.miami.edu]
Sent:          12/19/2012 9:07:05 AM
To:            Shalala, Donna E. [dshalala@miami.edu]
CC:            Goldschmidt, Pascal J. [pgoldschmidt@miami.edu]
Subject:       Assessment Update
Attachments:   MTI Assessment Update - 12-18-2012.docx.docx; TMG Agenda - OPO Assessment 11-28.29-2012.pdf.pdf; TMG
               Agenda - MTI Assessment 11-7.9-2012.pdf.pdf; University of Miami -TMG Project Staff.pdf.pdf; TMG Agenda - IML
               Assessment 11-26.27-2012.pdf.pdf; IML revenue and transplant volume.xlsx.xlsx


Donna

Below are the first phase of deliverables from TMG, the group that reviewed the MTI, IML and OPO, as summarized by
Jennifer. These reports are framed in a way to provide perspective and raise key questions - the group was reluctant to
put specific, "judgmental" comments in this first report.

As a summary of key takeaways, the management of the MTI has been a problem; there are many financial/conduct of
business questions raised about IML practices-both in service to patients and to the OPO; and the business practices of
the IML and OPO have resulted in extraordinary revenue growth benefiting the department of surgery. The next phase
will be a detailed audit of bills, charges and payments for services that flowed through the IML.

Pascal




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                                                                                                           UMLORD - 00041246
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                                       of 255
From: McCafferty-Cepero, Jennifer <JMcCafferty@med.miami.edu>
Sent: Friday, December 21, 2012 4:40 PM EST
To: Ugalde, Aileen M <augalde@miami.edu>
CC: Shalala, Donna E. <dshalala@miami.edu>; LeBlanc, Thomas J <leblanc@miami.edu>; Natoli, Joe
<jnatoli@miami.edu>; Goldschmidt, Pascal J. <pgoldschmidt@miami.edu>; Lord, Jonathan <JLord@med.miami.edu>;
Moloney, Michael J. <mmoloney@miami.edu>
Subject: RE: IML investigation
Thanks, Aileen.

Can you please clarify whether this relates to the IML only or to the larger assessment that includes the MTI and the
OPO as well?

Best-
Jennifer


Jennifer McCafferty, PhD, CHC, CHPC, CHRC
Chief Medical Compliance Officer

305.243.6129 Office
305.439.9250 Cellular
jmccafferty@med.miami.edu

UNIVERSITY
OFMlAMI

LJ
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information protected by federal and state privacy laws. It is intended only for the use of the person(s) named
above. If you are not the intended recipient, you are hereby notified that any review, dissemination, distribution or
duplication of this communication is strictly prohibited. If you are not the intended recipient, please contact the
sender by reply email and destroy all copies of the original message.

From: Ugalde, Aileen M [mailto:augalde@miami.edu]
Sent: Friday, December 21, 2012 4:37 PM
To: McCafferty-Cepero, Jennifer
Cc: Shalala, Donna E.; LeBlanc, Thomas J; Natoli, Joe; Goldschmidt, Pascal J.; Lord, Jonathan; Moloney, Michael J.
Subject: IML investigation

The President has directed that, effectively immediately, the investigation of the IML be led and managed by
Internal Audit. Internal Audit will be contacting you to coordinate the transfer of all data gathered relative to the
investigation, as well as oversight of the retained outside consultant.

Aileen M. Ugalde
Vice President, General Counsel
 and Secretary to the Board
University of Miami
1320 South Dixie Highway
Penthouse Suite 1250
Coral Gables, Florida 33146
305-284-2700




                                                                                                                     32
                                                                                                                     LORD-001244
      Case 1:13-cv-22500-CMA Document 140-12 Entered on FLSD Docket 05/31/2022 Page 251
                                           of 255
Message
From:           dshalala@miami.edu [dshalala@miami.edu]
Sent:           1/1/2013 3 :50:40 PM
To:             Livingstone, Alan S. [alivings@med.miami.edu]
CC:             LeBlanc, Thomas J [leblanc@miami.edu]
Subject:        Re: Request from Dean - Draft Policy for Clinical and Anatomic Laboratory Test - Confidential



    Sit tight
Sent from my iPhone

on Jan 1, 2013, at 3:39 PM, "Livingstone, Alan" <ALivings@med.miami.edu> wrote:
> Dear President shalala and Provost LeBlanc,
>
> I am reaching out to you for guidance and support.
>
> I am more than a little surprised with the attached document, and the route by which it was delivered.
I was personally on the medical campus yesterday until almost 6 PM holding a clinic at sccc and having
meetings, and neither the Dean nor Jack extended the courtesy of discussing this issue with me. I even
had a meeting on CRB 3 with Sheri Keitz at 1 PM. Instead, they called my assistant, Roberto Estrada, to
come and pick up the attached document. They clearly must have discussed it with the chair of Pathology,
Dr. Cote, and it would seem only reasonable they could have asked for my input.
>
> As you know, on Sunday December 9th, Charlie Nemeroff delivered an explicit threat to me about how the
IML would be used to "take me out" if I did not endorse the Dean. I am including a contemporaneous
documentation of that conversation-I also apprised Judd Goldberg of what transpired shortly after I
received the call.
> [cid:image003.png@01CDE836.09D03350]
>
> Donna, after my meeting with you December 21, and Tom after my discussion with you December 22, I was
relieved to know how strongly you felt that this form of intimidation was unacceptable, and that the
transplant lab review would be put directly under Mike Moloney and Aileen Ugalde. Even though they have
styled this as a policy change, I am deeply troubled by the timing and sense of urgency (a desire to
implement it without discussion within several days over the New Year's holiday). Moreover, it is
explicitly being applied only to surgery and not to the analogous clinical laboratories in Dermatology
and Ophthalmology-I have verified with doctors schachner and Alfonso that they have not received a
similar letter. I perceive this to be a continuation of the threat expressed by Dr. Nemeroff on December
9, and I would request your intercession.
>
> The timing of this encyclical is frankly surpr1s1ng to me because with everything that has already been
going on, I would have anticipated the Dean perhaps reaching out in a conciliatory manner with an attempt
at compromise and reconciliation. unfortunately, this is representative of much of what has been going on
across our campus for too long a period of time. Arbitrary decisions are made in a dictatorial manner
with no discussion with the involved faculty, and any contrary perspectives are crushed ruthlessly.
Transparency, civility, collegiality, and inclusiveness are no longer present, and faculty are suppressed
with intimidations.
>
> I have not responded to the Dean or Jack Lord, and await your guidance and support.
>
> With respect and deepest concern.
>
> Alan Livingstone
>
>
>
>   From: Estrada, Roberto J
>   sent: Monday, December 31, 2012 2:34 PM
>   To: Livingstone, Alan
>   cc: warwar, Rafic; Namias, Nicholas
>   subject: Request from Dean - Draft Policy for clinical and Anatomic Laboratory Test - confidential
>   Importance: High
>
> Dear Sir:
>
> Good day.
>



                                                                                                                     42
                                                                                                                UMLORD - 00041622
    Case 1:13-cv-22500-CMA Document 140-12 Entered on FLSD Docket 05/31/2022 Page 252
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> I just got a call from the dean's office to pick up the attached document.   There is a specific
deadline to reply to this request:   01/04/2013
>
> I am copying Mr. Warwar and Dr. Namias for their information.
>
>
> I remain respectfully at your service,
>
>
>
> Roberto J. Estrada
> DeWitt Daughtry Family Department of surgery
> Leonard M. Miller school of Medicine
> University of Miami
> office: 305.243.5837
> Facsimile: 305.243.5863
> To learn more about the Department of surgery please v1s1t:
http://surgery.med.miami.edu<http://surgery.med.miami.edu/>
>
> [Description: Description: Description: surgery - logo - UHealth-Miller_The DeWitt Daughtry
Family_Text_Jetg]
>
> The information contained in this transmission may contain privileged and confidential information,
including patient information protected by federal and state privacy laws. It is intended only for the
use of the person(s) named above. If you are not the intended recipient, you are hereby notified that any
review, dissemination, distribution, or duplication of this communication is strictly prohibited. If you
are not the intended recipient, please contact the sender by reply email and destroy all copies of the
original message.
>
> [Description: everitas_07-09-07_green]
>
>
>
>   <image005.jpg>
>   <image006.jpg>
>   <oledata.mso>
>   <image003.png>
>   <20121231142350426.pdf>




                                                                                          UMLORD-00041623
     Case 1:13-cv-22500-CMA Document 140-12 Entered on FLSD Docket 05/31/2022 Page 253
                                          of 255
Message
From:          Shalala, Donna E. [/O=UNIVERSITY OF MIAMI/OU=GABLES CENTRAL
               EMAIL/CN=RECIPI ENTS/CN=STAFFFACULTY/CN=DSHALALA]
Sent:          1/1/2013 4:19:24 PM
To:            Goldschmidt, Pascal (Dean - School of Medicine) [PGoldschmidt@med.miami.edu]
BCC:           LeBlanc, Thomas J [leblanc@miami.edu]
Subject:       Re:Lab


Fine
Sent from my iPhone

on Jan 1, 2013, at 4:08 PM, "Goldschmidt, Pascal (Dean - school of Medicine)"
<PGoldschmidt@med.miami.edu> wrote:
> Just asked Maggie to recall the six emails. Pascal
>
>    Pascal J. Goldschmidt, M.D.
>    Senior Vice President for Medical Affairs and Dean
>    University of Miami Miller school of Medicine
>    chief Executive officer, University of Miami Health system (UHealth)
>
> on Jan 1, 2013, at 3:51 PM, "shalala, Donna E." <dshalala@miami.edu> wrote:
>
>> Wait for the audit to finish withdraw the memo
>>
>> Sent from my iPhone
>>




                                                                                                    43
                                                                                              UMLORD - 00041734
                     Case 1:13-cv-22500-CMA Document 140-12 Entered on FLSD Docket 05/31/2022 Page 254
                                                       Board of Trustees
            Administrative/                                of 255
                                                                                        I
                   Academic                                                  University President
                                                                           (Donna E. Shalala, Ph.D.)
                Organizational Chart
                  January 6, 2013                                                       I
                                                                           Senior Vice President for
                                                                            Medical Affairs and Dean
                                                                            Chief Executive Officer,
                                                                           University of Miami Health
                                                                                     System
                                                                          (Pascal J. Goldschmidt, M.D.)

                                                                        Chief Operating Officer, Medical
                                                                                    Center
                                                                          Vice President for Medical
                                                                                Administration
                                                                            (Jonathan T. Lord, M.D.)

                                                                                        I
                                                      I                                 I                               I
,....   Principal Business Officer       Executive Dean / Chief                                                                           1- Senior Associate Dean
            (Nelson Weichold)                                              Interim Executive Dean for                                                                    ,....
                                       Executive Officer for Clinical                                          Executive Dean/ Chief          6- Associate Dean
                                                                             Research and Research
                                         Affairs and the UHealth                                           Officer Education and Policy       2- Assistant Dean
                                                                                    Training
        Chief Medical Compliance             Clinical Practice                                              (Laurence B. Gardner, M.D.)
                                                                          (Omaida C. Velazquez, M.D.)
,-           Officer, UHealth            (Alan Livingstone, M.D.)
        (Jennifer Mccafferty, Ph.D.)                                                   T                                I                      Clinical Chairs
                                               Chief Executive,                                                                            Basic Science Chairs          e-
                                                                                                           3 - Senior Associate Deans

H        Chief Marketing Officer
              (Lee Phillips)
                                       -         UM@Jackson
                                             (Steve Falcone, M.D.)
                                                                          2- Senior Associate Deans
                                                                              1- Associate Dean
                                                                                                               6 - Associate Deans
                                                                                                                6 - Assistant Deans
                                                                                                                                          Center/ Institute Directors




                                       ~·
                                                                                                                 1 - Regional Dean          Chief Innovation Officer
     Chief Strategy Officer,                                                                                  4 - Assistant Regional           Vice Provost for      ,-
,-       Medical Center                                                                                                                            Innovation
                                            Clinical Service Chiefs                                                    Deans
   (Elaine Van der Put, Ph.D.)                                                                                                            (Norma Sue Kenyon, Ph.D.)


                                       -
-
        Chief Executive, UHealth               Vice Chairs for                                                                            Chief Medical Informatics
           Regional Alliance                Administration (UMMG                                                                                   Officer               1-

               (John Sary)                          Only)                                                                                   (David M. Seo, M.D.)

          Interim Associate Vice
           President for Human
e-                                                                                                                                        Senior Associate Dean for
                Resources
             (Marcia Beckford)
                                                                                                                                                 Faculty Affairs
                                                                                                                                          (Sheri A Keitz, M.D., Ph.D.)
                                                                                                                                                                         -
         Hospital Chief Executive
                 Officers
           UMH: (Daniel Snyder)                                                                                                               2- Assistant Deans
....      UMHC/SCCC: (Richard                                                                                                              1- Faculty Omsbudsman
                  Ballard)
          ABLEH/BPEI: (Michael
                Gittelman)




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                                                                                                                                                UMLORD - 00042850
Case 1:13-cv-22500-CMA Document 140-12 Entered on FLSD Docket 05/31/2022 Page 255
                                     of 255




      Begin forwarded message:

      From: "Augustyn , Cynthia Lou" <caugusty@miami.edu<mailto:caugusty@miami.edu»
      Date: July 3, 2013, 5:50:59 PM EDT
      To: "Goldschmidt, Pascal (Dean - School of Medicine)" <PGoldschmidt@med.miami.edu<
      mailto:PGoldschmidt@med .miami.edu » , "Natoli , Joe" ,qnatoli@miami.edu <mailto:jnat
      oli@miami.edu>>, "LeBlanc, Thomas J" <leblanc@miami.edu <mailto:leblanc@miami.edu>>
      Cc: "Ugalde, Aileen M" <augalde@miami.edu<mailto:augalde@miami .edu» , "Livingstone , Alan"
      <ALivings@med.miami .edu<mailto:ALivings@med.miami .edu» , "McCafferty-Cepero, Jennifer"
      <JMcCafferty@med.miami.edu<mailto: JMcCafferty@med .miami.edu », "Green, Rudolph H ."
      <r.green3@miami.edu <mailto:r.green3@miami.edu» , "Moloney, Michael J."
      <mmoloney@miami.edu <mailto: mmoloney@miami.ed u>>, "Malagon, Blanca Aurora"
      <bmalagon@miami .edu<mailto:bmalagon@miami .edu>>
      Subject: IML report

      Pascal , Joe and Tom, Compliance Concepts, the outside independent auditing company tasked with
      reviewing certain allegations of inappropriate bill ing at the IML, has completed its report. Virtually all
      of the allegations against the IML are unfounded . The independent auditor found no support for any
      of the allegations, with the exception of non-compliance with the extremely technical requirements of
      the "grandfather clause", and the dissatisfaction of one nephrologist with two of the multiple tests on
      the standard treatment protocols. As Internal Audit had found the other non-billing allegations to be
      unfounded as well , th is completes the review of the allegations raised about the IML.

      To cover the period from 2008 through May 2013, the lab will be asked to refund $136K for the
      billings that did not meet the technical grandfather clause requirements , and $227K for the two tests
      that the one nephrologist claimed he did not use in treatment of his patients.

      Please let me know if there are any questions.




                                                                                                                    75
                                                                                                                    LORD-001298
